     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 1 of 168   1


 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
 2       - - - - - - - - - - - - - - - x
         THE UNITED STATES OF AMERICA,
 3                                         Criminal Action No.
                       Plaintiff,          1:19-cr-00148-CKK-1
 4                                          Thursday, March 30, 2023
         vs.                               9:13 a.m.
 5                                         *MORNING SESSION*
         PRAKAZREL MICHEL,
 6
                       Defendant.
 7       - - - - - - - - - - - - - - - x
         ____________________________________________________________
 8
                           TRANSCRIPT OF JURY TRIAL
 9             HELD BEFORE THE HONORABLE COLLEEN KOLLAR-KOTELLY
                         UNITED STATES DISTRICT JUDGE
10       ____________________________________________________________

11       APPEARANCES:

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25       (Continued on Next Page)
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 2 of 168   2


 1       APPEARANCES (CONTINUED):

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     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 3 of 168          3


 1                                     I N D E X

 2
         WITNESS                                                              PAGE
 3
         SPECIAL AGENT ROBERT HEUCHLING
 4           (By Mr. Mulryne)....................................79

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     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 4 of 168   4


 1                               P R O C E E D I N G S

 2                   THE COURT:    This is United States of America vs.

 3       Prakazrel Michelle, 19-cr-148-1.          Counsel will identify

 4       themselves for the record starting with the government.

 5                   MS. LOCKHART:    Nicole Lockhart, Your Honor, on

 6       behalf of the United States, along with my colleagues John

 7       Keller and Sean Mulryne.

 8                   THE COURT:    All right.      Good morning.

 9                   And defense counsel?

10                   MR. KENNER:    Good morning, Your Honor; David

11       Kenner along with Alon Israely, Charles Haskell, and Kriss

12       Anne Carlstrom on behalf of the defense.

13                   I looked over and Mr. Michel went to the restroom,

14       and he's not in the courtroom.

15                   THE COURT:    Okay.     I'll wait until he comes back

16       before we start.      Good morning, everyone.

17                   IN UNISON:    Good morning, Your Honor.

18                   THE COURT:    All right.      All of the jurors came so

19       we're all set to go.

20                   Good morning, Mr. Michel.

21                   THE DEFENDANT:     Good morning.

22                   THE COURT:    So based on the emails back and forth,

23       I'm assuming that the issues potentially for opening

24       statements have been resolved.

25                   MS. LOCKHART:    Your Honor, I don't think they have
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 5 of 168    5


 1       been.    And if Your Honor will permit, I can explain a little

 2       bit.

 3                   THE COURT:    All right.

 4                   MS. LOCKHART:    As to Ms. Lum Davis, not included

 5       in the email to chambers this morning was a representation

 6       that counsel made to us yesterday that Ms. Lum Davis's

 7       counsel informed defense counsel that she would, in fact,

 8       assert her Fifth Amendment privilege as to that; and she

 9       hasn't been served, but if she were to testify, that is the

10       case.

11                   THE COURT:    My understanding, based on the email

12       that I sent, is that if they hadn't served them, and if they

13       were going to assert a blanket Fifth Amendment, that you

14       would not bring it up in your opening statement.             We can

15       deal with the issue at a later point, but it would not be

16       part of the opening statement.

17                   Is that correct, Mr. Kenner?

18                   All we're talking about is what you get to say to

19       the jury this morning.

20                   MR. KENNER:    No, I understand that, Your Honor,

21       and maybe this will make everybody more comfortable.

22                   After the exchange of emails last night and the

23       government's anticipating that I'm going to break Your

24       Honor's rules and putting it out there, and given the fact

25       that Your Honor is telling me that I can't talk about the
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 6 of 168      6


 1       fact that Mr. Michel was acting not on behalf of the Chinese

 2       government or Mr. Low, but rather on behalf of the United

 3       States, I've been told that I can't mention that

 4       notwithstanding the fact that there are two allegations in

 5       the superseding indictment that charge him with absolutely

 6       doing that.     And I'm being told I can't raise it.

 7                    THE COURT:    Let me just interrupt.       I'm not going

 8       to revisit it now.

 9                    What we're talking about is what you get to say to

10       the jury right now.       What we're not saying is -- I'm not

11       suggesting to you that that's not an issue for you to bring

12       up or for defense to bring up.        What I'm talking about is

13       what you get to say to the jury at the beginning before we

14       get into any of the evidence.

15                    There are issues associated with that that have

16       not been resolved, and so at this point I think they were

17       originally going to be brought up with one of the other

18       witnesses.    That witness is not going to be testifying.

19                    So this isn't foreclosing you from potentially

20       raising something at a later point, but not now as part of

21       the opening statement.      Okay?

22                    What I don't want you to do is to get into

23       things -- there certainly is enough to talk about as a

24       defense -- to get into things that, one, I precluded at this

25       point or that are in process and have not been finally
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 7 of 168   7


 1       determined.     Although that one, at least at this point, I

 2       believe -- I'd have to go back and look, but I think we

 3       don't have the record to support it.          And you may develop

 4       it, but I don't have it now.

 5                   MR. KENNER:    I believe -- Your Honor, the bottom

 6       line is I've thought about this all night and on the way to

 7       the courthouse today, and given the constraints on the

 8       opening statement and the anticipatory objections, I will

 9       choose to delay my opening statement until after the people

10       rest.

11                   THE COURT:    All right.     That's -- you know, that's

12       your right, to either do it at the beginning or to do it

13       later.

14                   In terms of the emails back and forth, it's to

15       just make sure that if you're doing opening statements, that

16       we eliminate as many of the objections so that it goes

17       freely in front of the jury.        Obviously there are a number

18       of motions in limine that have been filed, both by the

19       government and by you, and I have ruled on quite a number of

20       them at the beginning of the trial.

21                   So I don't have any problem with your deciding to

22       wait.    What I did not want you to do is to discuss something

23       I've precluded at this point or that we have not gotten the

24       record to be able to support it.         Okay?

25                   MR. KENNER:    Your Honor, just so the record is
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 8 of 168      8


 1       clear, I would not disobey the Court and refer to things

 2       that Your Honor has said that I can't.          I may disagree with

 3       your thoughts, but I will certainly follow them.

 4                   THE COURT:    Right.    And I told you you have a

 5       standing objection.      So all the rulings that I have, you

 6       don't have to get up and object about them.             The objections

 7       are on the record.      That's why I did them in writing.

 8                   You had an opportunity to file pleadings.             The

 9       government did, and I made a ruling in writing.              So it's

10       there, and you don't have to keep, you know, objecting.

11                   If something comes up to change that, you know, it

12       can be revisited, but at least for some of these there isn't

13       any support for it or they're inappropriate.             Okay?

14                   So it's your decision, your discretion, as to when

15       you want to do your opening statement.

16                   MR. KENNER:    Yes.

17                   THE COURT:    My preliminary instruction, which I

18       will give shortly, indicates that you can give an opening

19       statement at the beginning after the government, or wait

20       until your case, or not give one at all.             So they will be on

21       notice that you're not required to give one, so it's your

22       decision what you want to do.

23                   MR. KENNER:    Thank you, Your Honor.

24                   Just so the record is clear, I don't believe that

25       under the current circumstances I would be able to advance
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 9 of 168           9


 1       the position of my client doing an opening statement with

 2       these constraints, so I have chosen to not do it at this

 3       point.

 4                   THE COURT:    All right.     That's your decision.

 5                   MS. LOCKHART:    Your Honor, I have one additional

 6       clarification from the emails with chambers last night.

 7                   The last bullet point summarizing the orders

 8       governing the evidence in this case states that the

 9       defendant may not argue that he was not a foreign agent

10       under FARA or Section 951 because he was, in fact, serving

11       American interests from Your Honor's March 21, 2023 --

12                   THE COURT:    We talked about "argue," okay?             Argue

13       is the key part.      It may be that evidence will be developed.

14                   This was discussing some of the rulings that I've

15       made that are more than -- that are evidentiary in terms of

16       not presenting the evidence.        Some of them, as the last one,

17       related to what you get to argue at this point.             Okay?

18                   The record may develop, and they may be able to

19       argue it at some point.      But at this point what I was trying

20       to do is to make sure we don't get into an argument in terms

21       of opening statement about something you're objecting to,

22       and I think, at least at this point, we don't have the

23       record.

24                   MS. LOCKHART:    Understood.      Thank you for the

25       clarification.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 10 of 168   10


 1                    THE COURT:    It may be developed.

 2                    MS. LOCKHART:    Thank you, Your Honor.

 3                    THE COURT:    All right.    If we're done, then let me

 4        get the jury in.

 5                    (Jury enters courtroom)

 6                    THE COURT:    Good morning, members of the jury.

 7                    JURY IN UNISON:    Good morning.

 8                    THE COURT:    All right.    We're ready to proceed at

 9        this point.

10                    Counsel, you can go ahead and sit down.

11                    So what I'm going to do is I've already sworn you

12        in yesterday, and so I'm giving you what we call a

13        preliminary instruction, which sort of gives you rules of

14        the road, so to speak, at this point.          I want you to make

15        yourself comfortable.      I'm going to start with a few details

16        about how I run my courtroom, and then I'll get into the

17        instructions that you have in terms of some legal issues.

18                    I'm sure that we'll work cooperatively together.

19        For my part, I'll try and make sure that you do get regular

20        breaks so you're not sitting for too long a period of time.

21        If we do take breaks, I'd ask that everybody come back in a

22        timely manner.

23                    We will normally start at around 9:15 or 9:30.

24        There may be some -- you can come earlier.           We will have, as

25        we indicated, food for you.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 11 of 168        11


 1                    One thing I would ask is that when you come to

 2        push the buzzer, if you would turn around so we can see your

 3        juror badge.    Unfortunately they've set the cameras up so we

 4        get to see the back of your head.        I'm not sure why they did

 5        that, but they did.     So if you could, when you're at the

 6        door, if you turn around, we can see your juror badge, and

 7        then we can let you come in because we're trying to make

 8        sure that nobody comes back except those that are supposed

 9        to.

10                    Now I'll give you a schedule so you know

11        generally when we'll be stopping at the end of the day.                I

12        generally do lunches from 1:00 to 2:00.             If that's a problem

13        for somebody in terms of medical or otherwise, just let

14        Ms. Patterson know, our deputy courtroom clerk whom you've

15        met.    I can certainly do it at an earlier time.           Part of it

16        is to set it up so we -- in terms of witnesses.             I try and

17        set a particular time so that we can schedule witnesses in

18        terms of when they come in.

19                    Every once in a while that's going to get shifted,

20        but in general terms, that's going to be the time.              As I

21        said, if you've got any issues with that, please let her

22        know.

23                    I do the later lunch.      I think it's easier to pay

24        attention, frankly, longer in the morning.            As the day

25        progresses and you gather more information, shorter
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 12 of 168        12


 1        afternoons, I have found, work better.          So that's part of

 2        the reason for doing it.      And you're going to be given a lot

 3        of information.

 4                    When we do take breaks, we'll obviously be making

 5        an effort to be on time on our part.         Now, we try -- the

 6        parties and I -- to discuss matters that come up, and no

 7        matter how much we may try to do everything in advance,

 8        there are some issues that arise either because they could

 9        not be resolved beforehand and the testimony is needed or

10        they just come up in the natural course of the trial.                We

11        will try and discuss those at the beginning of the morning,

12        during breaks, at the end of the day, so that we're not

13        interrupting the trial, if we can.

14                    Sometimes that doesn't work so there may be times

15        that we'll tell you a little extra in terms of remaining on

16        a break.    We do have intercoms to discuss some things in

17        court, but occasionally we need a longer period of time to

18        really get through all of them.        So we'll let you know if

19        you're going to wind up in the jury room a little bit

20        longer.

21                    I'd ask that you be on time.        If one of you is

22        missing, then we can't go forward.         We need to have

23        everybody here.     So if it's a short break or a lunch break

24        or even overnight, it's important that you come in on time

25        so we can have the case moving along in an orderly manner.
     Case 1:19-cr-00148-CKK    Document 322    Filed 11/07/23   Page 13 of 168       13


 1                    If you have issues with the line, security line,

 2        make sure you have your juror badges on.              They should pull

 3        you out.    If you have some problem with that and you're way

 4        back in the line, call chambers, and we'll come down and

 5        pull you out.       But they should be giving you an opportunity

 6        to get in a little faster.

 7                    Now, you've been shown the jury room.            You seem to

 8        have figured out where it is.         Obviously this is the

 9        courtroom, and I would ask that you not come into the

10        courtroom at any time.       You can always, if you have a

11        question, push the buzzer.          Somebody's in chambers, and will

12        come and talk to you.       That's because we may not notice --

13        you can see there are other people in the courtroom, and we

14        may not notice that one of the jurors has come in, and we

15        may be discussing something in the case that you should not

16        hear.   So I'd ask that you not come into the courtroom, you

17        know, for the duration of the trial.

18                    Now, if you need a recess at any time, please put

19        your hand up.       I take regular ones, but, you know, you may

20        need one at a different time, and that's not a problem.                I

21        want to make sure that you're fully paying attention, and

22        you obviously -- your needs may be different than the way

23        I've set it up.      So I have no problem with that.

24                    If you're putting up your hand, I'm assuming

25        you're not going to ask a question, because you can't, and
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 14 of 168       14


 1        you're not going to make a comment about the evidence,

 2        because you also can't do that in my courtroom.             So it's

 3        either bringing something to my attention that I've asked

 4        you about, or that you need a break in terms of putting your

 5        hand up.

 6                    If you have trouble hearing us, please let me

 7        know.   We all have microphones.        There's no reason for you

 8        not to be able to hear us.

 9                    We also have earphones, so if somebody's having

10        some problem, if you'll let us know, we can loan you one so

11        that you don't have any problem hearing the evidence.

12                    If somebody is showing you something that counsel

13        wants you to actually look at, then, again, if you can't see

14        it -- you have little screens.         We have larger screens, and

15        we will be -- one is turned to the courtroom, but the other

16        one on the side there we can turn around and make that

17        clearer so you can see it.         Again, if you can't see it, let

18        me know.

19                    We're going to be using a combination of what we

20        call the ELMO, where you put the documents or whatever down

21        on a screen, and then it pops up, or they're actually going

22        to be using electronic equipment.

23                    All exhibits that are admitted into evidence will

24        be made available to you during your deliberations.              It may

25        be that counsel will want you to see certain exhibits during
     Case 1:19-cr-00148-CKK    Document 322   Filed 11/07/23   Page 15 of 168   15


 1        the course of the trial.       There may be others that they

 2        don't actually need to show you on the screen that are going

 3        to be admitted.      Everything that's admitted is part of the

 4        evidence and will actually be given to you during your

 5        deliberations.      And as you noticed, we can give you paper,

 6        and you noticed the screen in the jury room, so we can also

 7        put things on the screen for you during your deliberations.

 8                    Now, let me start with the more formal preliminary

 9        instruction.    I'm going to explain some of the legal rules

10        that will be important in this trial.           I want to emphasize

11        that these remarks are not meant to be a substitute for

12        detailed instructions, which I'm going to give you at the

13        end of the trial just before you start your deliberations.

14        These preliminary instructions are intended to explain the

15        procedures we'll be following, the rules of law that will be

16        important in this case, and your responsibility as jurors.

17                    Now, you've noticed that we have 15 in the box.

18        We have three alternates.       Only 12 will actually be

19        deliberating.       We have randomly selected the alternates at

20        the beginning of the trial so they're not automatically 13,

21        14, and 15.    You will not know if you're an alternate or not

22        throughout the trial.       At the end, we'll excuse the

23        alternates.    So I want you all to think of yourselves as

24        regular jurors.

25                    Now, when you took your seats, you should have had
     Case 1:19-cr-00148-CKK    Document 322   Filed 11/07/23   Page 16 of 168     16


 1        a notebook and a pencil waiting for you.             It's my practice

 2        to allow jurors to take notes during the trial, if they want

 3        to, and to have your notes with you during the jury's

 4        deliberations.      I want to emphasize that none of you are

 5        required to take notes, and, in fact, you shouldn't do so if

 6        you think that is going to distract you -- your attention --

 7        from the evidence or the testimony on the witnesses.

 8                     On the other hand, if you think that taking notes

 9        will help you remember particular testimony of the

10        witnesses, other evidence in the case, or might make you pay

11        more attention during the trial, you, of course, are free to

12        take them.

13                     You should remember your notes are only an aid to

14        help your memory.      They should not replace your own memory

15        of the evidence.      Those jurors who do not take notes should

16        rely on their own memory of the evidence and should not be

17        influenced by another juror's notes.

18                     Do not spend the whole time with your head down

19        taking notes.       You'll be deciding on credibility, so you

20        need to watch the witnesses.        You need to observe their

21        demeanor as they testify.

22                     Now, whenever there's a recess in the trial, you

23        should leave your notebooks and pencils on your seats.

24        They'll be collected by the clerk and given to me to keep.

25        No one, including me, is ever going to take a look at these
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 17 of 168     17


 1        notes.   These are your notes.      On the back should be your

 2        seat number, and that's how we know it's your notes, and

 3        when you come back into the courtroom, we will have

 4        collected them, and by looking at the back, we know what

 5        seat to put them on.      So we're not going to open them up or

 6        take a look at them.

 7                    Now, you, as jurors, must decide this case based

 8        solely on the evidence presented here within the four walls

 9        of the courtroom.     This means that during the trial you must

10        not conduct any independent investigation or research about

11        this case, the matters in the case, and the individuals

12        involved in the case.      In other words, you should not

13        consult, you know, dictionaries, reference materials, search

14        the Internet, websites, whatever, anything electronic, tools

15        to obtain information, or talking to people about the case

16        or to help you decide the case.        Please don't try to find

17        out information from any source outside of what you hear

18        within this courtroom.

19                    Now, at the beginning of the trial -- jury

20        selection -- you were introduced by name and some background

21        information to some of the witnesses.          If at any time during

22        the trial you suddenly realize you recognize or might know a

23        witness, a lawyer or somebody referred to in the testimony

24        or evidence or anyone else connected with the case in any

25        way, you should let me know immediately.            There were a few
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 18 of 168     18


 1        people -- obviously lawyers and people connected with the

 2        case -- that were introduced in person, but many of them

 3        were done strictly by name and some background.            So if you

 4        realize you're acquainted with somebody connected with the

 5        case while the witness is testifying, you should raise your

 6        hand and let me know, and I'll speak privately with you

 7        relating to what your knowledge is of that individual.

 8                    Now, this is a criminal case which began when the

 9        grand jury returned an indictment with the Court.             As I

10        explained to you as part of the process of selecting the

11        jury, the indictment charges what I characterize as four

12        categories of unlawful conspiracies in violations of

13        criminal law associated with those conspiracies.

14                    So this is -- what I'm going to do is go through

15        the background information.        And this is only to provide you

16        with some information -- again, now that you've been

17        selected -- so that you know what the background information

18        is relating to what the charges are and what the likely

19        defenses would be.

20                    They may not be all of the information, obviously,

21        that the government presents, and I'd remind you that the

22        defense does not have to present any evidence or put on a

23        case.   The burden is always going to be on the government to

24        prove the case beyond a reasonable doubt.

25                    So this is information to, again, remind you --
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 19 of 168      19


 1        and it's the same information from the voir dire of what the

 2        case is about in terms of introducing you so you have some

 3        idea before you start.      This is not evidence.        The evidence

 4        is going to be what's presented in the courtroom through

 5        either testimony of witnesses or exhibits that are admitted

 6        by the Court.

 7                    But first, just to give you an idea of the

 8        indictment -- and, again, the indictment is only to inform

 9        the defendant of what the charges are.          You should not infer

10        any guilt from it or assume any guilt based on that.

11                    So the indictment claims that Mr. Michel

12        unlawfully conspired with a foreign national, Low Taek Jho,

13        J-H-O -- I will call him "Mr. Low" -- to violate federal

14        election law prohibitions against making political

15        contributions using the name of another person and using

16        foreign funds.      The indictment claims that Mr. Michel did so

17        in order to contribute money to two campaign committees

18        associated with Former President Barack Obama's 2012 re-

19        election for president of the United States.            It further

20        claims that Mr. Michel used what the law terms straw donors,

21        individuals to whom Mr. Michel allegedly gave money, who

22        would then make contributions in their name when Mr. Michel

23        or another person was the true contributor.

24                    Second, the indictment claims that Mr. Michel

25        conspired with Mr. Low and others, including but not limited
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 20 of 168   20


 1        to Elliot Broidy, George Higginbotham, and Nickie Lum Davis,

 2        to lobby the administration of Former President Donald

 3        Trump to close an investigation into Mr. Low and others

 4        for the alleged theft of assets owned by a Malaysian

 5        sovereign wealth fund named 1MDB.        The indictment claims

 6        that Mr. Michel aided and abetted others in lobbying the

 7        Trump administration to do so and did not register with the

 8        Department of Justice before engaging in such activities

 9        knowing that he was required to do so by law.

10                    It further claims that Mr. Michel conspired with

11        Mr. Low and others to launder money from foreign sources

12        into the United States to support these alleged lobbying

13        efforts, and then conspired with others to launder the money

14        within the United States in an alleged effort to conceal the

15        true source and purpose of the funds.

16                    Third, the indictment claims that Mr. Michel

17        conspired with Mr. Low and others, including, but not

18        limited to, Elliot Broidy, George Higginbotham, Nickie Lum

19        Davis, and an official of the government of the People's

20        Republic of China to lobby the administration of Former

21        President Trump to return a Chinese national residing in the

22        United States, Guo Wengui, who I'm calling "Mr. Guo," back

23        to the People's Republic of China.

24                    The indictment further alleges that Mr. Michel, in

25        fact, agreed to assist the People's Republic of China as its
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 21 of 168    21


 1        agent in aiding and abetting others, in fact lobbying the

 2        administration of Former President Trump to return Mr. Guo

 3        to China.

 4                    Fourth, the indictment claims that Mr. Michel

 5        conspired with Mr. Higginbotham to make false statements to

 6        domestic financial institutions in furtherance of the

 7        alleged offenses.

 8                    Now, you should understand clearly that the

 9        indictment that I've just summarized is not evidence in the

10        case.   The indictment is just a formal way of charging a

11        person with a crime in order to bring that person to trial

12        and also to allow them to know what the charges are.             So

13        you musn't think of the indictment as any evidence of the

14        guilt -- it's evidence that I've simply stated before --

15        of Mr. Michel or draw any conclusions about the guilt of

16        Mr. Michel just because he's been indicted.

17                    At the end of the trial, you have to decide

18        whether or not the evidence presented has convinced you

19        beyond a reasonable doubt that Mr. Michel committed the

20        offenses with which he has been charged.

21                    As I explained how the trial will proceed, I'm

22        going to be referring to the government from time to time

23        and the defendant.

24                    When I mention the government, I'm referring to

25        the person who is presenting the evidence in support of the
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 22 of 168        22


 1        charges contained in the indictment.         So that will either be

 2        John Keller, Sean Mulryne, or Nicole Lockhart.            The trial

 3        attorneys are in the Public Integrity Section of the U.S.

 4        Department of Justice, and you've met them.           They've been

 5        introduced to you.

 6                     When I mention the defendant, I'm referring to

 7        Prakazrel Michel -- and you've met him -- or as to his

 8        attorneys, David Kenner, Alon Israely, Charles Haskell, and

 9        Kriss Anne Carlstrom, and you've met all of them.

10                     As the first step of the trial, the government and

11        the defendant will have an opportunity to make opening

12        statements.    The defendant may make an opening statement

13        immediately after the government's opening statement or can

14        wait until the beginning of the defendant's case.             And, in

15        fact, the defendant doesn't have to make any opening

16        statement.    That's because they're not required to prove

17        anything.

18                     The opening statements are only intended to help

19        you understand the evidence which will be introduced.                So

20        the opening statements are not evidence.

21                     After the opening statement or statements, the

22        government will put on what is called the case-in-chief.

23        This means that the government -- that will either be one of

24        the attorneys that I've introduced to you -- will call

25        witnesses to the witness stand and ask them questions.               This
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 23 of 168   23


 1        is called direct examination.

 2                    When the government's finished, the defense may

 3        ask questions.      This is called cross-examination.

 4                    When the defense is finished, the government may

 5        have a brief redirect examination.

 6                    After the government presents its evidence, the

 7        defendant may present evidence, but, again, he's not

 8        required to do so.     The law does not require a defendant to

 9        prove his innocence or produce any evidence.            If the

10        defendant does put on evidence, the attorneys, whom I've

11        introduced you to, will call witnesses to the stand and ask

12        questions on direct examination.        Then the prosecutors in

13        this case will cross-examine, and defense counsel, again,

14        may have a brief redirect examination.

15                    When the defense is finished, the government may,

16        but doesn't have to, offer a rebuttal case, which would

17        operate along the same lines as its case-in-chief.

18                    Then the government and the defense will make

19        their final closing arguments.        The lawyers' closing

20        arguments, just like their opening statements, are not

21        evidence in this case.      They're only intended to help you

22        understand the evidence.

23                    At the end of all of the evidence, I'll tell you

24        in detail about the rules of law that you must follow when

25        you consider what your verdict shall be.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 24 of 168         24


 1                    Finally, you'll leave the courtroom together, go

 2        to the jury room, elect a foreperson, consider the evidence,

 3        discuss it, and make your decision.         Your verdict for the

 4        defendant, when you reach it, must be unanimous.             All 12

 5        jurors must agree.     Your deliberations are secret, and you

 6        never have to discuss or explain your verdicts to anyone.

 7                    Now, I want to briefly describe my

 8        responsibilities as the judge and your responsibilities as

 9        the jury.

10                    My responsibility is to conduct the trial in an

11        orderly, fair, and efficient manner, to rule on legal

12        questions, which come up in the course of the trial, and to

13        instruct you about the law which applies in this case.               It's

14        your sworn duty as jurors to accept and apply the law as I

15        state it to you.

16                    Your responsibility as jurors is to determine the

17        facts in the case.     You and only you are the judges of the

18        facts.   You alone determine the weight, the effect, the

19        value of the evidence as presented in the courtroom as well

20        as the credibility or believability of the witnesses.                You

21        must consider and weigh the testimony of all witnesses who

22        appear before you.     You alone must decide whether to believe

23        any witness and to the extent to which any witness should be

24        believed.    And, remember, you must pay very careful

25        attention to the testimony of all of the witnesses because
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 25 of 168         25


 1        you won't have a transcript or summaries of the testimony

 2        available during your deliberations.

 3                    Now, we do have a court reporter that's here in

 4        the morning and the evening, and they're trying to make a

 5        complete record of the trial, but preparation of the

 6        transcript does take some time, and so it is usually not

 7        necessarily completed until after the trial itself.              So I

 8        don't want you to think because we have a court reporter

 9        that you cannot pay attention or not worry about it because

10        you're going to get a copy of the transcript.             That's not

11        going to happen.     You will have to rely on your memory and

12        your notes, if you choose to take any.

13                    Now, during this trial I may rule on motions and

14        objections by the lawyers, make comments to the lawyers.                I

15        will do only clarifying questions of the witnesses and

16        instruct you on the law.      You should not take any of my

17        statements or actions as any indication of an opinion on my

18        part about how you should decide the facts.            If you think

19        that somehow I've expressed or even hinted at an opinion as

20        to the facts in this case, you should disregard it.              It was

21        certainly not intentional.         The verdict, in this case, is

22        your sole and exclusive responsibility in terms of

23        determining the facts.

24                    You may consider only the evidence properly

25        admitted in the case.      And, again, that will include the
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 26 of 168       26


 1        sworn testimony of witnesses, exhibits, and maybe some other

 2        matters, but I'll instruct you on those at the appropriate

 3        time.

 4                    Now, during the trial, if the Court or a lawyer

 5        makes a statement or asks a question that refers to evidence

 6        that you remember differently, you should rely on your

 7        memory of the evidence during your deliberations.             The

 8        lawyers in the case may object when the other side asks a

 9        question, makes an argument, or offers evidence which that

10        lawyer believes is not properly admissible.           You musn't hold

11        any such objections against the lawyer who has made them or

12        the party that they represent.        It's the lawyers'

13        responsibility to object to evidence that they believe is

14        not admissible.     And I would indicate that the content of

15        questions is not evidence; it's the actual testimony from

16        the witnesses.

17                    Now, I may, when the lawyers object, hold a bench

18        conference.    We do have an intercom, if we can do it

19        quickly, and I'll put a husher on so there's some noise so

20        you can't hear what we're talking about.            I'm doing that

21        because we're discussing legal matters, and that's not a

22        concern of the jury.      That's what I need to decide.         So I'd

23        ask that you not attempt to listen.

24                    Now, I know these bench conferences are often

25        annoying, but sometimes they are necessary.           If it's going
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 27 of 168   27


 1        to take us longer, then I'll take a break so you're not

 2        having to sit there.      You are welcome to talk quietly among

 3        yourselves, even stand up and stretch when we have these

 4        bench conferences, just don't talk about the case.

 5                    Now, if a lawyer asks a question, and there's an

 6        objection, and I sustain the objection, the witness may not

 7        answer, and you should forget about the question because the

 8        question itself is not evidence.        You musn't guess or

 9        speculate as to what the answer to the question would have

10        been.

11                    If a question is asked and answered, and then I

12        ruled that the answer should be stricken from the record,

13        you must forget both about the question and the answer that

14        was stricken because it's no longer a part of the evidence.

15        And you should follow this same rule if this happens with an

16        exhibit.

17                    Now, if I overrule the objection to a question,

18        then the witness may answer, and you may consider the

19        witness's answer as evidence in the case.

20                    Every defendant in a criminal case is presumed to

21        be innocent.    This presumption of innocence remains with the

22        defendant throughout the trial unless and until he's proven

23        guilty beyond a reasonable doubt.        The burden is always on

24        the government to prove the defendant guilty beyond a

25        reasonable doubt, and that burden of proof never shifts
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 28 of 168    28


 1        throughout the trial.      The law does not require a defendant

 2        to prove his innocence, produce any evidence, or testify at

 3        trial.

 4                     If you find that the government has proven beyond

 5        a reasonable doubt every element of the offense with which

 6        the defendant is charged, it's your duty to find him guilty

 7        on that particular charge.

 8                     On the other hand, if you find that the government

 9        has failed to prove any element of an offense beyond a

10        reasonable doubt, then you must find the defendant not

11        guilty on that charge.

12                     You musn't be influenced by the nature of the

13        charge in arriving at your verdicts.         Your responsibility is

14        to decide this case solely on the evidence presented in the

15        courtroom.    As a result, you must not conduct any

16        independent investigation of your own of the case, such as

17        doing any kind of research of any kind.

18                     You are also not permitted to discuss this case

19        with anyone until this case is submitted to you for your

20        decision at the end of my final instructions.            This means

21        that until the case is submitted to you, you may not discuss

22        it even with your fellow jurors.

23                     Now, this is because we don't want you making

24        decisions until you've heard all of the evidence and the

25        instructions on the law because if you start to talk about
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 29 of 168          29


 1        it -- I don't mean that you can't process the information,

 2        but if you start to talk about it, you're starting to reach

 3        a decision, and we want you to hear all of the evidence and

 4        the law.    Also, you may be talking to just one or two

 5        jurors, and deliberations will involve all 12 of you.

 6                     In addition, you may not talk about the case with

 7        anyone else.    And it should go without saying that you also

 8        may not write about the case electronically through any kind

 9        of blog posting or some other kind of electronic

10        communication, social networking.        I won't go through what

11        all of them are, but you know what I'm talking about.                This

12        is because you must decide the case based on what happens

13        here in the courtroom and not on what someone may or may not

14        tell you outside of the courtroom.

15                     I'm sure that when we take our first recess, that

16        you may run into other people when you are out in the

17        courthouse itself or other places, so I would ask that you

18        not talk to people.

19                     If you see the parties or the attorneys, you can

20        say hello.    They will do the same thing.          They're not being

21        unfriendly.    They've been told not to stop and talk to you.

22        You may not be discussing the case, but if you're seen

23        talking to them and word gets back in the courthouse, then I

24        need to make an inquiry to make sure that you're not

25        discussing the case.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 30 of 168   30


 1                    So also, I know it's difficult with family and

 2        others or people you work with.        They're going to want to be

 3        curious about what you're doing.        Just tell them you're a

 4        juror in a criminal case, period, and the judge has told you

 5        you can't talk about it.

 6                    Now, when the case is over, you can discuss any

 7        part of it with anyone you wish, but until then, you may not

 8        do so.

 9                    Now, although it's a natural human tendency to

10        talk with people with whom you may come into contact, as I

11        said, I don't want you talking to the parties, attorneys,

12        witnesses in the case during the time you serve on this

13        jury.    If you encounter anyone connected with the case

14        outside of the courtroom -- and obviously there's the halls;

15        there's the atrium downstairs; there's the lunchroom,

16        elevators, other places -- I would ask that you should avoid

17        having any conversation with them, overhearing their

18        conversations, or having any contact with them.

19                    So if you find yourself in the courthouse

20        corridor, elevator, other location where the case --

21        although they've been told not to discuss it, by others,

22        attorneys, parties, witnesses or frankly somebody else who

23        has sat in the courtroom and is out there talking about, you

24        should immediately leave the area to avoid hearing such a

25        discussion.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 31 of 168   31


 1                    If you do overhear a discussion about the case,

 2        you should report that to Ms. Patterson as soon as possible.

 3                    Finally, if you see any attorneys or witnesses

 4        involved in the case -- and as I've said, if they turn, walk

 5        away, just say hello and don't do anything else, they're

 6        following my rules.     They're not being rude.         They're merely

 7        doing what I've asked them to do.

 8                    Particularly, since we do have people in the

 9        courtroom and there is evidently an overflow courtroom,

10        there are people listening to the trial, so you may find

11        that they are discussing things in the courthouse; so you

12        need to make sure that you do stay away from overhearing

13        anything about it.

14                    It's unlikely that somebody's going to come up and

15        talk to you about the case, but you should refuse to do so,

16        if that happens to you.      And we do have security people

17        around -- you have Ms. Patterson -- so if there's any issue

18        about it, you can certainly ask them for any assistance.

19                    I would also ask that you not let the other jurors

20        know that this has occurred so we don't have any information

21        spread to other jurors.

22                    Now, between now and when you're discharged from

23        jury duty you must not provide or receive from anyone,

24        including friends, co-workers, family members, any

25        information about your jury service.         You may tell those who
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 32 of 168    32


 1        need to know where you are, that you've been picked for a

 2        jury, and roughly how long the case may take.             And I did

 3        provide you with something in writing.           If you need

 4        something more, just let me know.         I don't have a problem

 5        doing that.    And you must not provide any information about

 6        the case or the people involved in the case, such as

 7        mentioning witnesses.

 8                    And you should warn people not to talk to you

 9        about it or write about it.        This includes face-to-face,

10        iPhones, communications.

11                    I know I'm sort of harping on this, but I do this

12        because I've had problems in other trials, which is people

13        occasionally don't understand how important it is not to get

14        other information.     So I've repeated it in different ways to

15        emphasize it with you.      I'm sure you'll follow my

16        instructions, but occasionally we've had issues.              Not so

17        much with the jury itself, but other people coming up and

18        trying to talk to you about it or those in your circle of

19        friends or family.

20                    So, in this age of electronic communications,

21        again, please don't use any electronic devices, computers,

22        iPhones to talk about the case or any of the various things

23        that I have identified.      And if I haven't mentioned it

24        specifically, you put it in and know that that electronic

25        device should not be used.         I also expect that you'll inform
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 33 of 168     33


 1        me, as soon as you can, if you become aware of another

 2        juror's violation of these instructions.

 3                    Do not send or accept messages about your jury

 4        service.    You must not disclose your thoughts about jury

 5        service or ask for advice on how to decide any case.

 6                    As I said, I've done all this because occasionally

 7        people reach out to you once they find out what case you're

 8        on.   So make sure that you don't pay any attention to it.

 9                    Now, you must decide the facts based on the

10        evidence presented in the court and according to the legal

11        principles about what I will instruct you.           You're not

12        permitted, during the course of the trial, to conduct an

13        independent investigation or do some research about the

14        case.   I will tell you all of the things you need to know,

15        both the law as well as any definitions.

16                    So that means you can't use the Internet to do

17        research about the facts or the law or people involved in

18        the case.    And "research" includes something even as simple

19        as just using the Internet to look up a legal term.             That

20        is -- I will define for you all the legal terms that you

21        need.

22                    Now, I want to explain the reasons why you

23        shouldn't conduct your own investigation.           All parties have

24        a right to have the case decided only on the evidence and

25        legal rules that they know about and that they have a chance
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 34 of 168      34


 1        to respond to.      Relying on information you get outside this

 2        courtroom is unfair to them because the parties would not

 3        have a chance to refute, correct, or explain.            So --

 4        unfortunately information that we get over the Internet or

 5        from other sources may also be incomplete, misleading, or

 6        just plain wrong.

 7                    So it's up to you to decide whether to credit any

 8        evidence presented in the courtroom and only the evidence

 9        presented in the court that may be considered.            If evidence

10        or legal information has not been presented in court, you

11        cannot rely on it.

12                    Also, if any of you do your own research about the

13        facts or the law, this may result in different jurors basing

14        their decision on different information.            And, again, you

15        can't do that.      Each juror must make his or her decision

16        based on the same evidence and under the same rules and

17        under the same legal instructions.

18                    Now, let me explain a little further this ban on

19        the Internet communications and research.

20                    Unfortunately courts around the country have

21        occasionally experienced problems, including in this

22        courthouse, with jurors ignoring this rule.           Sometimes

23        resulting in costly retrials.       Generally speaking, these

24        jurors have not sought to corrupt the process; rather,

25        they've been seeking additional information to aid them in
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 35 of 168   35


 1        what undoubtedly they view as a heavy and solemn

 2        responsibility.

 3                    Nonetheless, there are sound reasons, which I've

 4        explained to you, for this rule so we have developed --

 5        formed instructions around not communicating, not doing

 6        research, because we've had recent difficulties, both in

 7        this courthouse as elsewhere.       And if there are problems

 8        with this, it may mean that we go through the whole process,

 9        which means starting all over again, going through another

10        jury -- you know how long that took -- and going through the

11        rest of it.    So please take these rules seriously.

12                    Now, in some cases, including this one, there may

13        be reports in the newspaper or on the TV, Internet, radio

14        about the case while the trial is going on.           If there is

15        such media coverage, I'd ask that -- don't be tempted to

16        read or listen to it or watch it.        I'd ask, again, that you

17        turn off the program and listen to something else, put it

18        aside.

19                    Anybody who has written something about it may not

20        know everything about the case, may not have been here for

21        the whole thing, and it's their own opinion.            You don't need

22        that.    You will be making your own decision based on

23        information that you have gleaned from sitting through this

24        trial.

25                    So if there's any publicity about this case that
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 36 of 168        36


 1        inadvertently comes to your attention during the trial,

 2        don't discuss it with the other jurors or anyone else.

 3        Please let me know that it's occurred, and we can have a

 4        discussion about it.

 5                    After I submit the case to you, you may discuss it

 6        only when I instruct you to do so and only in the jury room

 7        and only in the presence of all of your fellow jurors.

 8                    Now, I have a few other practical things that I'm

 9        going to raise with you.

10                    I'm going to make you responsible for the jurors

11        on either side.     If you begin to see them appear to drift

12        off, please get their attention.        I think that's why they

13        put these barriers up.

14                    I meant what I said about needing a break.               You're

15        going to be getting a lot of information and that you'll

16        need to process, and if you need -- if your attention's

17        beginning to drift, please put your hand up.            Let us take a

18        break so that you're paying attention.          As I said, I do

19        regular ones, but, you know, what my view of when you should

20        take the break may not be what you need.

21                    We're going to be going all day, so we'll start in

22        the morning.    We'll have a morning break.         We'll have a

23        lunch break.    We'll have an afternoon break, and generally

24        we'll go close to 5:00.

25                    There may be some days when we'll stop earlier.
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 37 of 168          37


 1        Today is not one of those.         Tomorrow I do have a sentencing

 2        at the end of the day so we will be stopping at 4:00.

 3                    I do have a few matters.        This is a long trial,

 4        and I have other matters I need to do.           We'll either do them

 5        before we start the trial or at the end of the day.

 6                    So today we'll be going for the full day.

 7        Tomorrow we'll be stopping at 4:00.

 8                    Now, the reason I mentioned about, you know,

 9        paying attention, if you notice that your other jurors

10        around you are starting to drift off, make sure that you get

11        their attention or mine.

12                    Now, as part of my other job, I have to ensure as

13        much as I can that you're actually paying attention, so I

14        have one other request.

15                    Some people concentrate with their eyes closed.

16        Now, I have to say it's hard to see you with these masks,

17        but if I see your eyes closed, I don't know whether you've

18        drifted off or frankly whether you're concentrating, so I'm

19        going to ask you, if that's your habit, not to do it.                 I do

20        try and watch and try and make sense of whether -- if you're

21        fidgeting or whatever that you need a break; but, you know,

22        if somebody sort of looks down, closes their eyes, as I

23        said, I can't tell whether you're listening or not.

24                    Now, all of my comments about staying awake are no

25        reflection on the seriousness of the case.            This is a very
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 38 of 168         38


 1        serious case to everyone involved.         It's not going to be a

 2        reflection on the attorneys in terms of their being able to

 3        keep your interest.       I'm sure that they will.       But as I

 4        said, these trials take time.       There's a lot of information.

 5        It's a long trial that's going to be presented to you, so I

 6        want to make sure that at all times we have your full and

 7        complete attention.       So I hope that for all of you this case

 8        is interesting and noteworthy for you.

 9                     It's important that you keep an open mind, not

10        decide any issue in this case until after I submit the

11        entire case to you with my final instructions.            In the final

12        analysis, your job is to decide this case without prejudice,

13        without fear, without sympathy, without favor and based only

14        on a fair consideration of all of the evidence presented in

15        this courtroom.     And I want to thank you to start with on

16        behalf of the Court, the parties in the case, in advance for

17        your cooperation and attention in this case.

18                     We will be moving next to opening statement.            I'm

19        going to take a very quick break.        I need to discuss one

20        quick matter with counsel, and then we'll bring you back in.

21        All right.    So we'll be getting the -- yes?

22                     JUROR NO. 5:    May I talk to you?

23                     THE COURT:    I'm sorry?

24                     JUROR NO. 5:    May I talk to you?

25                     THE COURT:    All right.   Why don't we have others
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 39 of 168       39


 1        step out.    Ms. Patterson will have you step out, and we'll

 2        come and get you.     Leave your notebooks on the seat.

 3                    (Jury exits courtroom)

 4                    THE COURT:    All right.    I'll bring that juror back

 5        in in a moment.

 6                    I do want to check on something.         My email was a

 7        shorthand of rulings so I want to go back and look at what I

 8        wrote relating to the serving as an American interest.               As I

 9        said, I did a shorthand in the email, so let me go back and

10        look at my rule, and I will bring the juror out in a moment.

11        I want to see whether it's something we need to hear or

12        that, you know, doesn't actually have anything to do with

13        the case.

14                    I'll be right back.     So if you would wait for a

15        few minutes, I'd appreciate it.

16                    (Recess taken)

17                    THE COURT:    Okay.    Two things.

18                    The first thing is the email was obviously a

19        shorthand view.     I had an order that I cited to, so -- which

20        was the March 21st order, so let me go through exactly what

21        I ruled in the relevant order, which was this March 21st

22        order.

23                    The Court concluded that motive does not go to the

24        conduct prescribed by 18 USC Section 951 of FARA.             For this

25        proposition, the Court cited the U.S. v. Angwang when I set
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 40 of 168    40


 1        it out.   In other words, a defendant's subjective

 2        understanding that they further American interests at the

 3        direction of a foreign principal or government or even

 4        objectively furthered American interests -- we're talking

 5        about motive -- does not bear on the conduct criminalized by

 6        the two statutes acting on behalf of a foreign principal or

 7        government.

 8                    But I did allow the following argument in the

 9        order.    I've permitted the following argument:

10                    Because Mr. Michel believed that he was acting in

11        furtherance of American interests, he, one, did not know he

12        was acting at the direction of a foreign principal or

13        foreign agent and/or, two, he did not know he was first

14        required to register with the Attorney General as the

15        statute requires.     Additionally, the defense may certainly

16        argue that Mr. Michel was never acting under the influence

17        or control of a foreign principal or foreign government.

18                    So that's what my order said.           Now, I did it in

19        shorthand in terms of how you presented it, but that's why I

20        said -- and I'm not in any way suggesting that counsel --

21        I'm not being disrespectful in suggesting you read the

22        orders, but the orders have been very specific about

23        specific things, and so they require going back and looking

24        carefully at it.     I've allowed certain arguments, and not

25        others.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 41 of 168       41


 1                    And so those are the key parts of -- and I'll put

 2        this up again, but those are the key parts of my March

 3        order, just to make sure there's no misunderstanding.                Okay?

 4                    Based on what you had said, I realized that

 5        perhaps you had misunderstood what I had allowed or not

 6        allowed.

 7                    MR. KENNER:    I believe I -- Your Honor, just for

 8        the -- I have read every one of your --

 9                    THE COURT:    No, I'm not suggesting you haven't.

10        All I'm saying to you is they've been very -- that's why I

11        said I'm not being disrespectful in any way.            They're very

12        specific rulings, and so the idea that you can't argue it at

13        all, which is the way you indicated to me in making your

14        decision, is not correct.      That's why I'm pointing out what

15        you -- what the problem is in terms of the motive but what

16        you can actually argue.

17                    So I interpreted your comments in deciding not to

18        make your opening statement that you couldn't say anything,

19        and that's not what my ruling was.         It's a very narrow

20        ruling.

21                    What I can do is, if you'd like -- and it's up to

22        you; I don't know whether you want to -- you know, to

23        reconsider your making an argument -- making an opening

24        statement or not; but what I can do is I've done a shorter

25        order, which I just had portions read, which I can provide
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 42 of 168       42


 1        you to take a look at so that there is an argument that can

 2        be made.    You approached it, at least as I understood it,

 3        that you couldn't make any, and I'm just pointing out that

 4        you need -- there is an argument to be made, but not the

 5        complete argument that you might want to make, if that makes

 6        sense.

 7                     MR. KENNER:   It makes sense, Your Honor.         I got

 8        this, as you know, about ten minutes to 10:00 last night,

 9        and when I got down to "defendant may not argue" --

10                     THE COURT:    Well, the argument -- I mean, it's a

11        shorthand thing.     We're doing emails.       So it was a

12        shorthand.    And I put the order, which is very specific

13        about it, and I've just gone over what I think are the key

14        parts to it.

15                     So I leave it to you.     I can give you a copy of

16        exactly, you know, my sort of precis of what the order said,

17        if you want, if you want to think about your decision.               I

18        don't want you making a decision not to do an opening based

19        on a misinterpretation of what, you know, I have ruled,

20        based on the shorthand email.

21                     MR. KENNER:   I understand.      I would like to take a

22        look at it, Your Honor.      I would have had a lot better

23        night's sleep last night had I understood what you were

24        getting at.

25                     THE COURT:    Well, I realize I'm harping, and I
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 43 of 168      43


 1        don't mean it to be insulting in any way.           But the -- and I

 2        have to go back and reread these things, too, which is why I

 3        took the break; to go back and make sure that I have exactly

 4        the ruling that I made.

 5                    MR. KENNER:    Thank you.

 6                    THE COURT:    Okay.    What we can do is we can make a

 7        quick copy and give it to you, and they can make their

 8        opening statement, and you can -- however you want to do it.

 9                    MS. LOCKHART:    And, Your Honor, just to clarify,

10        if defense does decide to proceed with an opening statement

11        today, I do think there are some residual issues beyond the

12        one I raised this morning that we would need to discuss in

13        advance of that.

14                    THE COURT:    And what else is there?

15                    MS. LOCKHART:    In the PowerPoint presentation --

16                    THE COURT:    Okay.    You need to speak louder.

17                    MS. LOCKHART:    In the PowerPoint presentation that

18        they did agree to withdraw there were many references to

19        inadmissible evidence.      One example for Your Honor is an

20        email from Ms. Lum Davis to her counsel, Mr. Lowell.             That

21        was attached as an exhibit in the ancillary litigation out

22        of Hawaii related to Ms. Lum Davis's plea.           They included

23        that email in their PowerPoint presentation.

24                    When Mr. Keller raised that email to Mr. Kenner

25        last night that it was clearly inadmissible, Ms. Lum Davis
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 44 of 168       44


 1        isn't testifying, the email to counsel doesn't fall into any

 2        hearsay objection, there was a disagreement as to whether

 3        that email was admissible.

 4                     The PowerPoint presentation also contained a slide

 5        about Mr. Higginbotham that clearly fell within Your Honor's

 6        order regarding advise of counsel.

 7                     THE COURT:    Okay.    I would have hoped that we

 8        would have resolved some of these things.

 9                     Are those things that you would include in an

10        argument, or not?

11                     MR. KENNER:   Your Honor, with regard to

12        Mr. Higginbotham, Your Honor was very clear as to what the

13        requirements were before I could do what the U.S. Attorney

14        is worried that I'm going to do.

15                     THE COURT:    Right.

16                     MR. KENNER:   Which I wouldn't.

17                     THE COURT:    Right, and so the record needs to be

18        developed.

19                     I guess they're going by the slides.          And what

20        about the other one?

21                     MR. KENNER:   Your Honor, first, with regard to the

22        slides, as I told Mr. Keller yesterday, I received them by

23        email from my team at the same time Mr. Keller did.              When I

24        looked -- when Mr. Keller raised his objection, I said, "I'm

25        going to withdraw them, John.        You're right.       These things
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 45 of 168        45


 1        should not be coming in."

 2                    With regard to Ms. Lum Davis's email, Your Honor,

 3        it was part of an email chain filed in open court -- not

 4        under seal -- in that matter in Hawaii.             It goes to the

 5        question of Ms. Lum Davis's claiming that when she

 6        originally said something about Mr. Michel having nothing

 7        about FARA, she clarifies that that did not take place.               So

 8        since our emails were filed in open court --

 9                    THE COURT:    Can I interrupt you for a second?

10                    MR. KENNER:    Sure.

11                    THE COURT:    You know, trying to make these

12        admissibility decisions on the fly in order to include it,

13        can we -- can I ask you to exclude referring to it

14        specifically until we actually have an opportunity to make

15        some decisions?     I don't believe -- I've done a lot of

16        rulings in this, but I don't believe I've dealt with that

17        specifically.

18                    It would be helpful not to spend time while the

19        jury waits going through it.       If we could eliminate that

20        from the -- it doesn't mean we can't get into it in terms of

21        the evidence coming in, but not have it as a specific

22        discussion, or I'm going to have to make a decision about

23        its admissibility at this point.

24                    MR. KENNER:    I agree with Your Honor.         I just want

25        to raise one other point.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 46 of 168      46


 1                    THE COURT:    Okay.

 2                    MR. KENNER:    Your Honor had said -- and I

 3        agreed -- that I clarified with Mr. Frank White's lawyer

 4        last night that he said -- I told him what dates I would

 5        need him.    He said, "Thank you for the notice.          Don't be

 6        surprised if he decides to take the Fifth," whether or not

 7        that meets Your Honor's criteria of having been told he was

 8        going to take the Fifth.

 9                    And secondly and more important, Your Honor, this

10        indictment was based in large part, I think, on the grand

11        jury testimony of Mr. Frank White, which was given under a

12        proffer agreement and immunity.

13                    THE COURT:    Okay.    Mr. Kenner, this is opening

14        statements.    This isn't evidence.      Okay?      These are issues,

15        certainly, that come up.

16                    My concern about telling them that Frank White is

17        going to testify is you're on notice -- I don't know whether

18        he's been served or not.

19                    MR. KENNER:    Yes, he has, Your Honor.

20                    THE COURT:    -- with a subpoena -- okay.         He's

21        indicated he's going to plead the Fifth.

22                    MR. KENNER:    He might.

23                    THE COURT:    So unless we deal with the issue of

24        that, which we have not, I would ask that you not indicate

25        that he is going to be one of your witnesses when we know
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 47 of 168     47


 1        that there is going to be a potential impediment to his

 2        getting up on the stand.

 3                    So in terms of opening statements, I would just

 4        ask that if there's problems with the evidence -- which may,

 5        you know, open up and may not turn out to be an impediment

 6        at a later point -- that you not include it in here.              And

 7        for somebody, as some of the others have done where they've

 8        done a blanket Fifth Amendment, and they may have a basis

 9        for it where the Court would not be -- you know, you can do

10        sort of a combination of some-testimony-but-not-all-of-it

11        kind of thing.      If he takes a blanket one and he has -- he

12        basically can assert it, he may not be able to testify.

13                    So that's what I'm asking, is that in opening --

14        that's all we're talking about, right? -- in opening

15        statement that you not discuss somebody that we're on notice

16        is very likely going to be a problem to be a witness.

17                    MR. KENNER:    Yes, Your Honor.         I did respond by

18        email last night, which you saw a copy of, that I had agreed

19        that I would not --

20                    THE COURT:    Right.

21                    MR. KENNER:    -- make reference to Frank White's

22        testimony, but I would be describing what I think the

23        evidence would show about Mr. White's role in this matter.

24        The government still objects to that.

25                    So I submit --
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23    Page 48 of 168   48


 1                    THE COURT:    I don't know whether that evidence can

 2        come in.    I don't know all of your evidence from the

 3        government or the defense.         The only thing I know is what

 4        you tell me you're objecting to, and I'm making decisions

 5        about that.    So I don't know all of it.            So I don't know

 6        whether the evidence relating to Mr. White would come in.

 7                    I assume, from the government's perspective, there

 8        is evidence, right?      And I assume he can talk about it.

 9                    MS. LOCKHART:    Yes, Your Honor, there is some

10        evidence relating to Mr. White's role generally in relation

11        to Mr. White -- or into Mr. Michel and the campaign;

12        however, the proffered evidence that we believe the

13        defense will describe -- and, you know, we haven't heard the

14        opening statement.     We're relying on the slides as a road

15        map.   We are not aware of what evidence source they could

16        use, if Mr. White were to not testify, to support those

17        statements in opening statements.

18                    THE COURT:    Okay.     Do you have something separate

19        than his testimony to support what you're saying?

20                    MR. KENNER:    Yes, Your Honor.

21                    And, again, my problem is if I do something wrong,

22        I have no problem with them objecting.

23                    THE COURT:    I know, but the point is -- there's no

24        point in -- if they object, we're going to have this

25        discussion we're having now --
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 49 of 168     49


 1                    MR. KENNER:    Right.

 2                    THE COURT:    -- which is not useful with the jury

 3        there, nor is it useful in terms of interrupting your, you

 4        know, opening.

 5                    To the extent -- I mean, people can object when

 6        there's something objectionable.         I don't require you wait

 7        until the end because there may be some prejudice that needs

 8        to be dealt with at that point.         But I'd rather resolve them

 9        so you each can get up, make your statements, and not have

10        it interrupted.     So that's why I'm going through all of

11        this.

12                    So my question is, I don't know what -- as I said,

13        I don't know the evidence until, you know, I listen to it

14        like the jury, or you've brought it to my attention in terms

15        of it being a problem of coming in or out.            And I've made a

16        whole series of different rulings that you have raised and

17        that the government has raised.         If it can't come in, it

18        can't come in.      You need to develop the record.

19                    So is there -- can I give you two minutes to talk

20        about what the source is to see if there's an issue so we

21        can resolve it and move on and you can do your -- and I will

22        get you a copy of the -- you know, of what I've just read

23        into, which is the very narrow area but does allow you to

24        talk about it.

25                    MR. KENNER:    Your Honor, notwithstanding my best
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 50 of 168    50


 1        efforts to follow all of your rules, I am convinced that the

 2        government will make objections during my opening statement.

 3        I don't want to present myself to a new jury as somebody who

 4        is doing something objectionable.

 5                    THE COURT:    So that's what I'm trying to do, is

 6        resolve it so there are no objections.

 7                    MR. KENNER:    Based on this conversation, it simply

 8        further informs my decision that I will not give an opening

 9        statement at this time.

10                    THE COURT:    All right.    Do you wish to have a copy

11        of the order?

12                    I would still suggest that you have a discussion.

13        We may be able to resolve it, if all it is is you have

14        supposedly separate evidence that they don't seem to have.

15        Unless you are reluctant.      But if you're willing to do it in

16        an opening statement, it seems to me that you can.

17                    I would ask that you just have a two-minute

18        conversation about what it is you're relying on.             If there's

19        no problem, then that's that, and then we can proceed.

20                    Meanwhile, I'll make a copy of this so you have

21        it.   It's a much shorter version.       It makes quite clear what

22        you can talk about, and there is something you can talk

23        about.

24                    MR. KENNER:    I appreciate that, Your Honor.

25                    THE COURT:    All right.    So let me give you two
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 51 of 168   51


 1        minutes to have a discussion of what you're relying on, and

 2        hopefully we can resolve it.

 3                    MR. KENNER:    Your Honor, just, for the record, I

 4        will not share the specifics of the way I'm going to try my

 5        case to the government.

 6                    THE COURT:    Well, I'm not asking you to do that.

 7        All I'm asking is what is the source of the information

 8        about Mr. White they're objecting to that they supposedly

 9        don't have?    If you're going to say it in an opening

10        statement, presumably you can tell them what the source is.

11        I'm not asking you to say anything else.

12                    So whatever it is you're going to say about

13        whether White --

14                    MR. KENNER:    Your Honor, I think that invades my

15        responsibilities as a -- providing --

16                    THE COURT:    You can make a choice, then,

17        Mr. Kenner.

18                    MR. KENNER:    I have made it, Your Honor.

19                    THE COURT:    All right.    But I don't want to leave

20        the record the way you've left it, so let me make it clear

21        on the record.

22                    You've been given an opportunity to make an

23        opening statement after the government.             In terms of --

24        we've gone over the areas where you would not -- you've

25        agreed not to bring up the things where I have precluded you
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 52 of 168   52


 1        by -- and you have standing objections -- written orders.

 2                    I've done a clarification relating to what

 3        Mr. Michel can say in his defense in terms of the issue of

 4        his acting for a foreign principal or not, and I'm happy to

 5        give it to you in a shorter version so that it's clear that

 6        the email, which was a shorthand version of the order --

 7        although it cited to the order -- of what you would be able

 8        to say.

 9                    So the only remaining thing is for you -- and you

10        said, since the witnesses have indicated they plan on

11        raising a blanket Fifth Amendment, that at this point, since

12        I don't know whether that's going to work for them, I've

13        asked you -- and you've agreed -- not to bring it up in

14        front of the jury in terms of saying that they're going to

15        testify.

16                    The only remaining issue was something that -- and

17        I don't know what it is -- was in the slides that talks

18        about information relating to Mr. White without saying that

19        he's going to testify; that evidently they know nothing that

20        you were willing to bring up in your slides and in front of

21        the jury.    So presumably -- you don't have to give your

22        strategy, but presumably you were willing to disclose what

23        it was.    Since they don't -- haven't heard it and they had

24        an objection because of that, I've asked you to simply tell

25        them what the basis of it is, and that may resolve it, and
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 53 of 168     53


 1        you could go ahead and bring it up or not bring it up.

 2                    So if you've decided not to do it, you've decided

 3        basically to not do it based on the fact that -- which we

 4        clarified everything else -- based on the fact that the

 5        government has objected to something that you would bring up

 6        about Mr. White that you evidently were willing to do and

 7        that you don't wish to discuss it.

 8                    It's your decision.     And if you don't wish to go

 9        forward, I'm certainly not going to force you to.

10                    MR. KENNER:    Thank you, Your Honor.

11                    THE COURT:    But I do want to clarify the record

12        that these are your decisions that you're making --

13                    MR. KENNER:    Yes.

14                    THE COURT:    -- and not mine.

15                    MR. KENNER:    These are decisions I'm making based

16        on emails and other matters --

17                    THE COURT:    Okay.    All I'm suggesting is if you're

18        willing to disclose it to the jury, I don't see any reason

19        why, if you want to do your opening now, to just tell them

20        what it is.    That may be the end of it.           If it isn't, then

21        I'll make a ruling, and you can decide whether you want to

22        do it.

23                    I'll let you be thinking about it.           I will get you

24        a copy of the order relating to what you can talk about in

25        terms of Mr. Michel and the issue of the foreign principal
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 54 of 168       54


 1        government.

 2                    While you're thinking about that, let me just

 3        raise this.    Juror No. 5 was speaking to me.          English is not

 4        her first language.      She indicated that she had some

 5        concerns -- and I can bring her out, if you want to hear

 6        it -- she had some concerns about her understanding what was

 7        going to happen in the trial.       She also wanted to make sure

 8        she could hear well.

 9                    So I'm going to give her the hearing things

10        because it's clearer than through the microphone.             And what

11        I told her is if she finds that she is having difficulty

12        following the trial, to let us know, and then we can deal

13        with it at that point.

14                    MR. KENNER:    Thank you, Your Honor.

15                    THE COURT:    Okay.    So I thought at this point I

16        think -- you know, if she finds that as she progresses

17        there's a problem, then we can -- you know, we have three

18        alternates.    We can decide.      But I wouldn't do it up front,

19        if everybody would agree to it.

20                    MS. LOCKHART:    Thank you, Your Honor.        We're

21        agreeable to that.

22                    And just to close the loop on completing the

23        record regarding defense's opening statement, may we submit

24        the PowerPoint slides provided to us just for the sake of

25        the record so Your Honor's aware of what we're talking
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 55 of 168   55


 1        about?

 2                    THE COURT:    Whatever you wish to do.

 3                    MS. LOCKHART:    Thank you, Your Honor.

 4                    THE COURT:    All right.    So at this point the

 5        government will bring them out.        The juror in Seat No. 5 can

 6        remain in Seat No. 5, and you can let me know at the end.

 7                    Obviously you can leave out whatever information

 8        you wanted to do; if you decide you want to give it at this

 9        point, or you can wait until your case.

10                    Let's get the jury in.

11                    Hold on one second.

12                    (Pause)

13                    THE COURT:    What we'll do is I'll print this out.

14        We'll be putting it on the docket.         We will print this out

15        so you will have it.      It's a shorter version of the longer

16        one relating to the registration, but it sets out very

17        finely what you can argue from the longer opinion.

18                    MR. KENNER:    Thank you.

19                    THE COURT:    It may make it easier for both of you

20        to have it in terms of being able to do it.

21                    THE COURTROOM DEPUTY:      Judge, did you want me to

22        bring the jury out?

23                    THE COURT:    Yes, you can bring out the jury.

24                    THE COURTROOM DEPUTY:      Just that one juror or the

25        whole jury?
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 56 of 168   56


 1                    THE COURT:    No, the whole jury out.        We're not

 2        doing anything with the juror.

 3                    (Jury enters courtroom)

 4                    THE COURT:    All right.    Thank you for your

 5        patience.    We're ready to proceed with the government's

 6        opening statement.

 7                    MS. LOCKHART:    May I proceed, Your Honor?

 8                    THE COURT:    Yes.

 9                    MS. LOCKHART:    Thank you.

10                    Good morning.

11                    JURY IN UNISON:      Good morning.

12                    MS. LOCKHART:    This is a case about foreign money,

13        foreign influence, and concealment.

14                    From 2012 to 2017, the defendant, Prakazrel

15        Michel, received over $100 million dollars to bring secret,

16        illegal, foreign influence to bear on a United States

17        presidential election and on a sitting United States

18        president all on behalf of a foreign fugitive and eventually

19        the Chinese government.

20                    This case is one filled with political intrigue

21        and back room dealings, fake names and front companies,

22        burner phones and lies.

23                    You're going to hear evidence about this long-

24        running scheme; that it all involved the same foreign

25        fugitive, Low Taek Jho -- or Jho Low -- a Malaysian national
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 57 of 168   57


 1        accused of stealing $4 billion from the people of Malaysia.

 2                    You'll hear that this scheme, at all points at its

 3        heart, was about the defendant getting Low access that he

 4        otherwise would not have been able to get at the highest

 5        levels of the United States government.

 6                    You'll hear that Low was willing to spend lots of

 7        money to get that influence and access, and that the

 8        defendant needed money and was willing to do anything to get

 9        it, including being a paid agent of the Chinese government.

10                    You'll also hear that after the defendant knew he

11        was under investigation, he tried desperately to cover up

12        what he'd done and obstruct the investigation into him.

13                    The defendant and Low's scheme spanned five years

14        with a common theme:      foreign influence in exchange for

15        cash.   You'll hear that there are two major periods; conduct

16        in 2012 and conduct in 2017.

17                    In 2012, the defendant's goal was to funnel Low's

18        illegal foreign money into the 2012 United States

19        presidential election.

20                    In 2017, the defendant's goal shifted to getting

21        President Trump to drop an investigation into Low.

22                    It continued in 2017 with yet another goal;

23        getting President Trump to send a Chinese national back to

24        China who had fled to the United States.

25                    Low wanted each of these things done, and China
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 58 of 168   58


 1        desperately wanted the Chinese national back.

 2                     The defendant wanted money and was willing to

 3        break any laws necessary to get paid.          In 2012, those laws

 4        the defendant broke were to keep foreign money from

 5        influencing elections.       In 2017, the defendant evaded laws

 6        designed to keep foreign influence out of domestic and

 7        foreign policy decisions.      Both are laws of disclosure, and

 8        it's illegal to lie to hide the influence.

 9                     Let's talk more about the beginning of the scheme,

10        the conduct in 2012, getting Low's money into the 2012

11        presidential election, so that Low could get into a room

12        with President Obama.

13                     United States elections are for the United States

14        alone.   They are to be free of foreign money and foreign

15        influence.    But the defendant didn't care about that.

16        You're going to hear that the defendant --

17                     MR. KENNER:   Excuse me, Your Honor, I have an

18        objection.

19                     THE COURT:    I think you should be careful about

20        making it a more personal argument, so I'll sustain that

21        portion about that he didn't care.

22                     MS. LOCKHART:    Understood.

23                     MR. KENNER:   Thank you.

24                     MS. LOCKHART:    You're going to hear that the

25        defendant had a successful music album in the '90s, but by
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 59 of 168      59


 1        2012 he was looking for other ways to be paid.            Low, at the

 2        same time, had hit the party scene in the United States and

 3        was expending exorbitant sums of money to get close to the

 4        rich and famous.     The defendant was introduced to Low and

 5        saw an opportunity to make money.

 6                    Low couldn't contribute to the 2012 presidential

 7        election --

 8                    MR. KENNER:    Your Honor, I apologize.        I have to

 9        object again.

10                    THE COURT:    But what are you -- what exactly are

11        you objecting to?

12                    MR. KENNER:    That this is argument, not what she

13        expects the evidence will show.        She put it in terms of

14        conclusions.

15                    THE COURT:    I think it is -- this is evidence

16        presumably you're going to be presenting; is that correct?

17                    MS. LOCKHART:    That's correct, Your Honor.

18                    THE COURT:    All right.    So put it more in those

19        terms.

20                    MR. KENNER:    Thank you, Your Honor.

21                    MS. LOCKHART:    The evidence will show that Low

22        couldn't contribute to the 2012 presidential election

23        because foreign nationals are prohibited from contributing

24        money in United States elections.        Because Low couldn't

25        donate the money to the elections himself, he needed someone
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 60 of 168      60


 1        who could make the contributions for him.           That person was

 2        the defendant.      Between June and November 2012 Low

 3        transferred over $20 million to the defendant to funnel into

 4        the United States presidential election.

 5                    But the defendant also had a problem.          He couldn't

 6        donate all that money himself.        The evidence will show that

 7        there are legal limits on the amount of campaign

 8        contributions one person can donate to a campaign.             To get

 9        around these limits, the defendant used what are known as

10        conduit contributors or straw donors to make the donations

11        for him.    For some, the defendant said that he had maxed

12        out; meaning that he had met the legal limit of what he was

13        legally allowed to contribute.        The defendant gave Low's

14        money to the straw donors to contribute to the presidential

15        election.

16                    The evidence will show that the defendant then

17        tried to get Low into an event with President Obama, but the

18        campaign has discretion of who they can or who they want to

19        attend these events, and they wouldn't let Low in.             So

20        instead, they agreed to let Low's father attend.

21                    You'll see pictures of that event, pictures of

22        Low's father with the defendant having a private moment with

23        President Obama.     President Obama was unaware of the

24        defendant's scheme to funnel illegal foreign money into the

25        presidential election and the defendant's use of straw
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 61 of 168   61


 1        donors to do it.

 2                    Low wanted to buy his way into high places, and

 3        the evidence will show that the defendant was happy to help

 4        him along the way so long as he got paid in the end.

 5                    Through this scheme, the defendant duped the Obama

 6        campaign and caused them to unwittingly accept illegal

 7        foreign money in conduit contributions and to file false

 8        reports with the Federal Election Commission -- or the

 9        FEC -- misidentifying the true source of those

10        contributions.

11                    The evidence will show that the defendant deceived

12        the campaign, the FEC, and the public and intentionally hid

13        the fact that Low was trying to buy his way into the good

14        graces of a United States president.

15                    In addition to the almost million dollars funneled

16        into the presidential election through the straw donors, the

17        defendant made additional contributions, this time to a

18        political committee, a super political action committee

19        better known as a Super PAC.       Again, using Low's money, the

20        defendant made over $1.1 million in contributions to the

21        Super PAC deceiving the Super PAC, the FEC, and the public

22        just like he did the campaign about the source of that

23        money.

24                    In 2015, the FEC started looking into his

25        contributions to the political committee.           When the FEC
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 62 of 168   62


 1        asked the defendant about the contributions, the defendant

 2        lied.   He said the money was legitimate business income and

 3        that he had no reason to hide the source of those

 4        contributions.      But of course he did.      The defendant

 5        couldn't reveal that the source of that money was Low

 6        because it was illegal for Low to contribute, so the

 7        defendant lied.

 8                    In total, the defendant funneled almost $2 million

 9        of Low's money, illegal foreign money, into the presidential

10        election.    The defendant kept the rest of the money.

11                    Now, let's talk about the conduct in 2017.

12                    After the defendant was able to donate $2 million

13        into the presidential election in 2012, the evidence will

14        show that there came a chance in 2017 for another payout for

15        the defendant from Low.

16                    Low was facing criminal investigations and civil

17        forfeiture actions in the United States, going after

18        hundreds of millions of dollars of assets in the United

19        States that Low purchased with funds allegedly embezzled

20        from the people of Malaysia.

21                    Low was under investigation for looting a

22        sovereign wealth fund of Malaysia, an entity called 1MDB.

23        That's an investment fund owned by the government of

24        Malaysia which was supposed to use taxpayer money to invest

25        and make more money for the government to use in the best
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 63 of 168     63


 1        interest of the country.      Instead, Low is accused of

 2        stealing $4 billion with the then-prime minister of

 3        Malaysia.

 4                    Low was in trouble, and Low needed help, but Low

 5        already had lawyers, and that wasn't working.            He needed a

 6        different kind of help.

 7                    The evidence will show that Low asked the

 8        defendant if he knew of anyone who had the connections and

 9        influence who could have the investigation resolved.             Low

10        needed secret influence at the highest levels of the United

11        States government jumping the normal processes and

12        procedures while violating laws prohibiting undisclosed

13        foreign agency, and Low was willing to pay millions of

14        dollars for that influence.

15                    So the defendant found someone with access to

16        President Trump and a man who, like the defendant, wanted to

17        be paid.    That man was Elliot Broidy, the fixer.           But the

18        defendant and the fixer knew they needed to be careful.

19        They knew that Low was toxic and that his money was subject

20        to seizure.

21                    MR. KENNER:    Your Honor, again, I'm going to have

22        to object as to what Mr. Michel knew.          It's stated as a fact

23        as opposed to what she thinks the evidence might show from

24        which she intends to argue that.

25                    These are not facts yet.       This is opening
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 64 of 168    64


 1        statement.

 2                     MS. LOCKHART:    Your Honor, if I may?        Opening

 3        statement is anticipating evidence that will come into -- or

 4        evidence that will come in during the government's case-in-

 5        chief.

 6                     THE COURT:    Okay.    Do you have evidence in terms

 7        of what Mr. Michel would know?

 8                     MS. LOCKHART:    Based on conversations with other

 9        co-conspirators at the time, they'll testify about their

10        conversations, about what the defendant understood.              And

11        these are reasonable --

12                     THE COURT:    All right.    I'll allow it at this

13        point keeping in mind this isn't the evidence.             This is

14        their statement as to what they think the evidence will be.

15                     MS. LOCKHART:    The defendant and his fixer knew

16        they needed to be careful; so they hid what they were doing.

17                     First, they hid Low as the client.          They used a

18        third-party entity as a straw man for Low.

19                     Second, they made it appear as though they were

20        performing legal services.         And the fixer's wife, she was a

21        lawyer; so they lied and said that the money flowing in from

22        Low was legal fees.       They even cooked up a string of fake

23        contracts along the way using code names and front companies

24        to hide what they were really doing.

25                     You'll hear that this wasn't about legal services.
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 65 of 168   65


 1        The fixer wasn't a lawyer.         His wife, the actual lawyer,

 2        never talked to Low, never met him, and certainly never did

 3        any legal work for him.      The evidence will show that this

 4        was always about a legal back channel influence on the

 5        president of the United States.         They used layers of

 6        accounts and shell entities to separate the fixer from Low

 7        shuffling the money between bank accounts to disguise and

 8        conceal the true source and purpose of the funds.

 9                     The defendant and his co-conspirators worked hard

10        to try to get the United States to drop the investigation

11        into Low.    The fixer did a number of things in furtherance

12        of the scheme at Low's direction and in concert with the

13        defendant.

14                     Number one, the fixer sent talking points to the

15        U.S. Secretary of State in advance of a meeting that he had

16        with the Malaysian prime minister.

17                     Number two, the fixer met with the president of

18        the United States and asked if he would play a golf game

19        with the Malaysian prime minister so that the prime minister

20        could raise the 1MDB issue off the record, and the president

21        agreed.

22                     Number three, the fixer reached out to White House

23        chiefs of staff to try to get the golf game on the schedule.

24        And when they couldn't get the golf game scheduled despite

25        the relentless pursuit of it, there was a meeting between
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 66 of 168    66


 1        the Malaysian prime minister and the president in September

 2        of 2017.    And before that meeting, the defendant and his co-

 3        conspirators met with the prime minister so that they could

 4        talk about what he would raise at the meeting.

 5                    And finally, number four, the fixer himself met

 6        with the president in the White House.          He told the

 7        defendant and his co-conspirators that he raised the 1MDB

 8        issue, but you'll hear that he lied in an effort to increase

 9        his influence.

10                    Around the same time in 2017 the scheme continued,

11        but this time with a different purpose.

12                    The evidence will show that the defendant and his

13        co-conspirators saw another way to make money off of Low.

14        As the defendant was working to have Low's legal troubles go

15        away, the defendant and his co-conspirators agreed to act as

16        agents of a high-level Chinese government official in

17        exchange for tens of millions of additional dollars from

18        Low.   The evidence will show that Low wanted the defendant

19        and the fixer to help the Chinese government, and that the

20        defendant and fixer were happy to help.

21                    The defendant and the fixer traveled to Hong Kong

22        in May 2017 where they were immediately whisked to

23        Shenzhen -- that's mainland China -- immediately upon

24        landing, evading the normal customs and procedures that

25        happen when you land in a foreign country.           There they met
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 67 of 168   67


 1        with the vice minister of public security -- that's a high-

 2        ranking Chinese government official -- along with his co-

 3        conspirators at Low's request.

 4                    The ask from the Chinese government official was

 5        simple.    There's a Chinese citizen living in the United

 6        States who, at that time, was a vocal political critic of

 7        the Chinese government, and the Chinese government wanted

 8        him back.    The Chinese government had also accused this

 9        citizen of various crimes.         The defendant agreed to work at

10        this high-level Chinese official's direction and concealed

11        from the government that he was actually a paid agent of the

12        Chinese government.

13                    The evidence will show that the defendant and the

14        fixer tried to set up meetings between the Chinese official

15        and high-level U.S. officials, including the Attorney

16        General.    They drafted a memo that they tried to have

17        delivered to the Attorney General as well.

18                    The defendant also sent one of his co-conspirators

19        to meet with the Chinese ambassador at the Chinese embassy.

20        They had someone else close to the president call the

21        president from his yacht to tell him to send the Chinese

22        national back to China.      It almost worked.

23                    You're going to hear directly from some of the

24        defendant's co-conspirators.

25                    The fixer, for one.       He'll come into this
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 68 of 168   68


 1        courtroom and take the witness stand, and he'll tell you

 2        that he was paid because of how close he was to the

 3        administration and to the president.         As evidence of just

 4        how much influence and access he had, you'll hear that he

 5        was pardoned by the president on his last day in office.

 6                    You'll also hear from the defendant's long-time

 7        friend, George Higginbotham, who was a lawyer who worked for

 8        DOJ at the time.     The defendant scheduled a clandestine

 9        meeting on a Sunday morning at the Chinese embassy so that

10        Higginbotham could deliver a message:          the National Security

11        Council was considering whether to send the Chinese national

12        back to China.

13                    You'll hear how the defendant traveled with his

14        co-conspirators to meet with Low and to meet with that high-

15        ranking Chinese official.      You'll see emails and text

16        messages showing their communications at the time this

17        happened; how desperate they were to resolve the tasks that

18        they had been given, to resolve the 1MDB investigation into

19        Low and to have the Chinese national sent back to China.

20                    You'll also hear that none of the co-conspirators

21        registered as foreign agents, which they admitted they knew

22        they should have done and didn't do.

23                    You'll also hear that the defendant profited

24        exorbitantly from this scheme.        In 2012, he pocketed close

25        to $18 million of Low's money.        In 2017, he took in over $70
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 69 of 168       69


 1        million after paying out his co-conspirators.            The evidence

 2        will show that Low had money to burn, and the defendant was

 3        willing to cash in at every turn.

 4                     You'll also hear that the banks the defendant used

 5        at this time started having questions about this tens of

 6        millions of dollars that he was receiving in 2017.             Banks

 7        receive alerts for what they deem suspicious transactions

 8        through their anti-money laundering systems.

 9                     For the first bank, you'll hear that the bank was

10        concerned about the amount of foreign money coming in and

11        then getting immediately transferred out.           As part of its

12        process, the bank asked the defendant and one of his co-

13        conspirators what the money was for.

14                     Did the defendant tell the truth?        Nope.    He told

15        the first bank that the money was to finance defendant's

16        entertainment matters and to retain a law firm to assist a

17        Hong Kong company to resolve a highly complex civil

18        litigation matter.

19                     You'll hear that the bank found those answers not

20        credible, and so the bank kicked the defendant out.             They

21        closed his accounts.

22                     So the defendant took his money to a second bank.

23        Roughly the same thing happened there.          The bank had

24        questions.    The defendant and his co-conspirator gave false

25        or evasive answers about the source of the money, again
     Case 1:19-cr-00148-CKK    Document 322   Filed 11/07/23   Page 70 of 168          70


 1        stating that it was for entertainment projects.             Again, just

 2        like the first bank, the second bank decided those answers

 3        were not credible and closed his accounts.

 4                    The defendant took his money to a third bank.               All

 5        of this is happening within the span of a few months.                 That

 6        bank, too, had questions for the defendant.            The defendant

 7        directed his co-conspirator to again give false statements

 8        to the bank about the true source of that money.              You'll

 9        hear evidence yourself that the answer given to the banks

10        was not true.       The money was not an entertainment

11        investment -- an explanation that the banks found not

12        credible -- and in reality was all part of the defendant's

13        clandestine foreign influence campaign.

14                    Fast forward to 2018.       This begins a stream of

15        efforts by the defendant to hide and cover up all of his

16        illegal back room dealings with Low.

17                    The defendant was interviewed in connection with

18        the investigation.      He's given a grand jury subpoena which

19        asks for records related to the 2012 conduct; that's the

20        straw donors and the donations to the campaign and the

21        political committee.       This puts the defendant on notice that

22        he's under investigation for these acts, a fact that he

23        didn't know before.

24                    The evidence will show that the defendant

25        immediately tried to cover up what he'd done.             He called at
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 71 of 168     71


 1        least one straw donor from an unknown number, and the

 2        defendant told him that if he's approached by the

 3        government, to say that he didn't remember anything.

 4                     He tries to reach out to another straw donor, but

 5        that one doesn't respond.

 6                     In early 2019, the defendant escalated his efforts

 7        to obstruct the investigation into him.             Seven years after

 8        giving the money to the straw donors to contribute to the

 9        presidential campaign after the defendant knows he's under

10        investigation.      Only then the defendant sent demand letters

11        to the straw donors threatening to sue them.

12                     You'll hear that the demand letters were a sham.

13        The letters were an attempt to coerce witnesses into lying

14        and calling the money they received from the defendant to

15        contribute to the campaign loans.        The straw donors will

16        tell you the money was absolutely not a loan, nor does it

17        matter for this case if it was; but the evidence will show

18        that these letters were just another step to obstruct the

19        investigation and prevent witnesses from telling the truth.

20                     The evidence will show that the defendant tried a

21        similar shakedown with another witness.             Like the straw

22        donors, after the defendant knew he was under investigation,

23        a witness got a call from someone claiming to represent the

24        defendant.    The witness was told that if he received a call

25        from the Department of Justice, to not answer; and if he did
     Case 1:19-cr-00148-CKK    Document 322    Filed 11/07/23   Page 72 of 168      72


 1        answer, the defendant would sue him.

 2                    That summer of 2019, the defendant goes further.

 3        He's been indicted by then in connection with the 2012

 4        conduct giving the money to the straw donors to contribute

 5        from Low.

 6                    He buys a burner phone -- a prepaid phone that

 7        can't be traced to him through cell phone records -- and he

 8        sends text messages to two witnesses in this case to try to

 9        prevent them from cooperating with this investigation.                 Text

10        messages that came from a burner phone so that the defendant

11        could deny he sent them when this day came.             But you'll see

12        evidence that the defendant sent those messages, and the

13        evidence will show he did it to keep the witnesses from

14        telling the truth.

15                    You're also going to hear that the defendant met

16        with the FBI.       You'll hear how the defendant changed his

17        stories and, outright lying at times, continued to try to

18        cover up what he had done.          The defendant played the role of

19        someone trying to help when in actuality he was a paid agent

20        of the Chinese government.

21                    The defendant is charged with three counts of

22        conspiracy.

23                    Number one, conspiracy to make foreign and conduit

24        contributions for his funneling of millions of dollars in

25        foreign money into the 2012 United States presidential
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 73 of 168    73


 1        election using straw donors along the way.

 2                    Number two, conspiracy to act as an unregistered

 3        agent of Low and as an illegal agent of the Chinese

 4        government, all while laundering foreign money to conceal

 5        the source and purpose of that money.

 6                    And finally, three, a conspiracy to make false

 7        statements to those banks about the source and the purpose

 8        of the money from Low.

 9                    In addition to the conspiracy charges, the

10        defendant is also charged with many of the substantive

11        offenses themselves.

12                    You'll hear from the judge on the law, and her

13        instructions control.      But you'll hear that for some of the

14        crimes the defendant is charged with, he'll need to know

15        that what he was doing was illegal.         That doesn't mean that

16        the defendant needed to know exactly what law he was

17        breaking.

18                    MR. KENNER:    Objection, Your Honor.        Counsel is

19        just arguing --

20                    THE COURT:    I think I'd stay away from getting

21        into jury instructions in terms of if you're doing little

22        summaries of it, I'd prefer you did not.

23                    MS. LOCKHART:    Okay.    I'll move on, Your Honor.

24                    THE COURT:    Go ahead.

25                    MS. LOCKHART:    By the end of this case, you're
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 74 of 168          74


 1        going to know that the defendant knew the rules.              He knew

 2        the rules because he tried to circumvent them.             He knew the

 3        rules about registering as a foreign agent because his

 4        lawyer, who was also his co-conspirator at the time --

 5                    THE COURT:    You're objecting.         She evidently is

 6        planning on -- you're talking about evidence that you would

 7        present; is that correct?

 8                    MS. LOCKHART:    That's correct, Your Honor.              It's

 9        evidence showing willfulness.       And I will avoid definitions

10        of "willfulness," but it's evidence that will come in.

11                    THE COURT:    All right.    Go ahead.

12                    MS. LOCKHART:    He knows the rules about

13        registering as a foreign agent because his lawyer, who was

14        also his co-conspirator at the time, told him about it.                 He

15        knows the rules because he tried to obstruct the

16        investigation and to cover up what he had done.             The

17        evidence will show that the defendant knew the rules, but he

18        was getting paid too much along the way.

19                    As you sit and listen to all of the evidence in

20        this case about the defendant's long-running scheme with

21        Low; that's funneling Low's illegal foreign money into the

22        2012 United States presidential election, trying to get

23        President Trump to drop the investigation into Low, and

24        trying to get President Trump to send the Chinese citizen

25        back to China.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 75 of 168     75


 1                     As you're listening to straw donors and co-

 2        conspirators and government officials who witnessed the

 3        illegal back channel influence campaign, think about the

 4        obstruction and witness tampering layered on top of all of

 5        it.

 6                     Why would the defendant lie to the political

 7        committees, the FEC, the public, and banks?           Why hide Low's

 8        involvement?    Why would the defendant send sham demand

 9        letters to the straw donors seven years after they made

10        contributions and after he knows he's under investigation?

11        Why would the defendant buy burner phones and tamper with

12        witnesses?

13                     By the end of this case you'll know the answer.

14        It's because the defendant is guilty on all counts.

15                     Thank you.

16                     THE COURT:    All right.   As I indicated in the

17        instructions, the defendant does not have to put on any

18        evidence or make a statement.       He can make a statement now

19        or reserve.

20                     Mr. Kenner.

21                     MR. KENNER:    Thank you, Your Honor.       I will

22        reserve opening statements until the government rests.

23                     THE COURT:    All right.   Then let's proceed with

24        the first witness.

25                     MR. MULRYNE:   Thank you, Your Honor.        The United
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 76 of 168     76


 1        States calls FBI Special Agent Robert Heuchling to the

 2        stand.

 3                     THE COURT:   All right.    Sir, if you'd step up, we

 4        need to swear you in.

 5                     (Witness sworn)

 6                     THE COURT:   All right.    Be seated.      You can take

 7        your mask off so we can actually hear you and get a record.

 8        And if you would speak into the microphone.

 9                     I would also ask that you allow counsel to finish

10        your question before you start to answer, and they should do

11        the same thing, so you're not speaking at the same time even

12        if you know what they're asking you and what your answer

13        would be.

14                     THE WITNESS:   Yes, Your Honor.

15                     THE COURT:   I would also ask that if you see

16        counsel stand or hear the word "objection," that they are

17        objecting.    If you haven't started to answer, please wait;

18        let me hear what the objection is, and I'll rule on it and

19        let you know whether to answer.

20                     If you're in the middle, please stop as well.           All

21        right?

22                     THE WITNESS:   Yes, Your Honor.

23                     MR. MULRYNE:   Thank you, Your Honor.

24                     First, before the testimony there's a housekeeping

25        matter, Your Honor.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 77 of 168   77


 1                    THE COURT:    All right.

 2                    MR. MULRYNE:    Pursuant to the joint notice of

 3        stipulations joined by the parties, Docket No. 247, the

 4        government now is going to move a number of exhibits into

 5        evidence.    I've provided defense a copy of the joint notice.

 6                    I have a copy.    Does the Court want one?

 7                    THE COURT:    Okay.    And this is Exhibit 247?

 8                    MR. MULRYNE:    This is docket number -- ECF No.

 9        247.

10                    THE COURT:    But it relates to what exhibit?

11                    MR. MULRYNE:    I was going to put that into the

12        record now, Your Honor.

13                    THE COURT:    Okay.    All right.       Sorry.

14                    MR. MULRYNE:    Your Honor, the government now moves

15        to put the following exhibits into evidence:

16                    Government Exhibits 1 through 7, 9, and 10, 12

17        through 14, 16, 17, 26 through 53, 56 through 64, 67 through

18        99, 192, 197, and 198, 249, 370, 318, 424, 437, 456, 473,

19        513 through 517, 526, 554 through 556, 570, 591 through 597.

20                    THE COURT:    Slow down a little bit.

21                    MR. MULRYNE:    Yes, Your Honor.

22                    THE COURT:    Go ahead.

23                    MR. MULRYNE:    651, 655 through 657, 662 and 663,

24        694, 731, 733, 54, 55, 111, 190, 193, 195, 217, 224, 233,

25        234, 244, 247, 289, 296, and 295 -- I'm sorry, 295 and 296,
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 78 of 168      78


 1        298, 441, 527, 540 through 547, 559 through 564.

 2                    THE COURT:    Slow down.

 3                    MR. MULRYNE:    566, 586 and 587, 589, 659, 440,

 4        502, 551, 235 through 239, 242 --

 5                    THE COURT:    Excuse me, 235 through 239?

 6                    MR. MULRYNE:    That's correct, Your Honor.

 7                    THE COURT:    Okay.    Slow down so we can keep track

 8        of these.

 9                    MR. MULRYNE:    242, 243, 245, 246, 252, 253, 267,

10        518, 520, 521, 567, 568, 584 --

11                    THE COURT:    You're going way too fast in terms of

12        me keeping up with these.

13                    MR. MULRYNE:    Sorry, Your Honor.

14                    Yes, Your Honor, I'll try better.

15                    585.

16                    THE COURT:    Okay.    584 through what?

17                    MR. MULRYNE:    And 585.

18                    THE COURT:    Okay.

19                    MR. MULRYNE:    686 through 693, 270, 548 through

20        550, 600, 601, 664, and lastly 666 through 680.

21                    THE COURT:    All right.    From the defense

22        perspective, is that accurate?

23                    MR. KENNER:    Yes, Your Honor.         We have stipulated

24        to all of those documents' admissibility.

25                    THE COURT:    All right.    So then I'll admit them
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 79 of 168   79


 1        pursuant to the stipulation.       I'm not going to repeat all of

 2        them, but so all of those are admitted.             What I would ask is

 3        that, when you use them, if you'd just indicate whether

 4        they've been admitted or not.

 5                    MR. MULRYNE:    I will, Your Honor.         Thank you.

 6                    THE COURT:    Okay.

 7                    THE WITNESS:    Mr. Mulryne, before I begin, may I

 8        just get my water bottle?

 9                    MR. MULRYNE:    May I approach, Your Honor.

10                    THE COURT:    Yes.

11                      SPECIAL AGENT ROBERT HEUCHLING, Sworn

12                                 DIRECT EXAMINATION

13        BY MR. MULRYNE:

14        Q.   Good morning, Agent Heuchling.

15        A.   Good morning, Mr. Mulryne.

16        Q.   Can you please state and spell your name for the Court

17        and the court reporter.

18        A.   Yes; Robert Brennan Heuchling.        Heuchling is H-E-U-C-H-

19        L-I-N-G.

20        Q.   Agent Heuchling, how are you employed?

21        A.   I'm employed as a special agent in the FBI or the

22        Federal Bureau of Investigation.

23        Q.   And as an FBI special agent generally, what are your

24        duties and responsibilities?

25        A.   So I investigate violations of criminal law.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 80 of 168   80


 1                    Specifically I investigate violations related to

 2        international corruption.      For that, I investigate both

 3        foreign officials who have accepted bribes or stolen money

 4        from their countries and laundered that money into or

 5        through the United States.

 6                    I also investigate violations of the Foreign

 7        Corrupt Practices Act, or FCPA, which is U.S. persons or

 8        corporations paying bribes overseas.

 9                    THE COURT:    Slow down.    Slow down a little bit.

10                    THE WITNESS:    Yes, ma'am.

11                    THE COURT:    Go ahead.

12        A.   And then I also investigate a host of crimes associated

13        with international corruptions.        That might be bank fraud,

14        wire fraud, tax evasion, and other crimes.

15        Q.   How long have you been employed with the FBI?

16        A.   I've been with the FBI for just over 13 years.

17        Q.   And during your career, have you also had occasion -- in

18        addition to everything you've just stated, have you also had

19        occasion to investigate election crimes?

20        A.   Yes, I have.

21        Q.   How about witness tampering or obstruction of justice?

22        A.   Yes, I have.

23        Q.   During this investigation in what FBI field office were

24        you located and working?

25        A.   I was assigned to the New York field office.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 81 of 168   81


 1        Q.   Any specific unit or section within the New York field

 2        office?

 3        A.   Yes.    I was assigned to the international corruption

 4        squad.

 5        Q.   Turning your attention to this particular case, were you

 6        one of the FBI agents assigned and involved in the

 7        investigation of the defendant, Prakazrel Michel?

 8        A.   Yes, I was.

 9        Q.   All right.     And Mr. Michel is also known as "Pras" or

10        "Pras Michel"?

11        A.   That's correct, yes.

12        Q.   Prior to this investigation, what, if anything, did you

13        know about the defendant?

14        A.   I knew Mr. Michel was a successful music artist as well

15        as had done some other projects, I think, with film making.

16        Q.   All right.     During this investigation did you meet with

17        the defendant?

18        A.   I did.    Multiple times.

19        Q.   Do you see the defendant, Prakazrel Michel, here in

20        court today?

21        A.   I do.

22        Q.   Can you please identify him by where he is located and

23        an article of clothing?

24                      MR. KENNER:   We stipulate he's referring to the

25        defendant, Your Honor.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 82 of 168    82


 1                    THE COURT:    All right.    Then so reflect in the

 2        record he's identified the defendant by stipulation.

 3        Q.   Also as part of this investigation, Agent Heuchling, in

 4        addition to the defendant did you come to know an individual

 5        named Low Taek Jho?

 6        A.   Yes, I did.

 7                    MR. MULRYNE:    If we can pull up what's been marked

 8        for identification Government Exhibit 735.

 9                    THE COURT:    So this is one that has not been

10        admitted?

11                    MR. MULRYNE:    That's correct, Your Honor.         This is

12        for identification.

13        Q.   Agent Heuchling, Government Exhibit 735 that's on the

14        screen before you, do you recognize that individual?

15        A.   Yes.   That is Low Taek Jho or, as he's commonly referred

16        to, Jho Low.

17                    MR. MULRYNE:    Your Honor, the government would

18        move to publish 735 as a demonstrative.

19                    THE COURT:    Any objection?

20                    MR. KENNER:    No, objection.

21                    THE COURT:    All right.    So is it a demonstrative,

22        or do you want to have it admitted?

23                    MR. MULRYNE:    We'll move to admit, Your Honor.

24                    THE COURT:    I understand there's no objection, so

25        it's admitted without objection.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 83 of 168     83


 1        Q.     Agent Heuchling, you just mentioned moments ago, Low

 2        Taek --

 3                     THE COURT:   Hold on.    Has it been published?

 4                     (To the jury) Do you have it on the screen, or

 5        not?    There's one screen not working.

 6                     It's okay?   All right.    Just let me know at some

 7        point -- the screens are sort of delicate.           Occasionally you

 8        hit them, and they go off.

 9                     All right.   Go ahead.

10                     MR. MULRYNE:   Thank you, Your Honor.

11        Q.     Agent Heuchling, you mentioned Low Taek Jho, also

12        commonly known as...?

13        A.     Jho Low.

14        Q.     Is Mr. Low, Jho Low, a United States citizen?

15        A.     No, he's not.

16        Q.     Is he a United States permanent legal resident?

17        A.     No.

18        Q.     Has he ever been, to your knowledge?

19        A.     No, never.

20                     THE COURT:   Can you slow down a little bit to make

21        sure we all hear exactly what you're saying.

22                     MR. MULRYNE:   Sure, Your Honor.

23                     THE COURT:   Okay.

24        Q.     Could you tell the jury what you know.        Who is Jho Low?

25        A.     Jho Low is a Chinese Malay -- was at the time a
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 84 of 168          84


 1        Malaysian citizen.      He was close to certain persons in the

 2        Malaysian government.      He helped set up a fund similar to a

 3        sovereign wealth fund for the government of Malaysia.                It's

 4        called "1Malaysia Development Berhad" or commonly referred

 5        to at "1MDB."

 6                    Mr. Low subsequently helped -- co-conspired with

 7        others to steal more than $4.5 billion from this same fund,

 8        1MDB, that he had set up.      He laundered this money into and

 9        through the United States financial system as well as all

10        over --

11                    MR. KENNER:    Sorry, Your Honor, I would ask that

12        counsel make it clear that Mr. Michel was not charged in

13        connection with that matter and not involved in it.

14                    THE COURT:    I don't think he has indicated that

15        he had anything to do with it.        He's talking strictly about

16        Mr. Low.

17                    But he's not been charged with anything to do with

18        1MDB.

19                    Go ahead.

20                    MR. MULRYNE:    Yes, Your Honor.        Thank you.

21        Q.   Agent Heuchling, you were speaking about Jho Low.

22        A.   Yes, that Mr. Low had laundered the stolen funds into

23        and through the United States as well as throughout the

24        world.    And throughout my investigation -- or, I should say,

25        based on allegations of this theft, we opened an
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 85 of 168    85


 1        investigation into Mr. Low around 2015.

 2        Q.   All right.     And can you tell us then generally about

 3        this investigation and this case.        Did the FBI investigate

 4        allegations involving the defendant and Mr. Low involving

 5        multiple schemes?

 6        A.   Yes.    I would suggest it was perhaps one ongoing scheme,

 7        but it had, you know, distinct phases.          But so yes, we did.

 8                     So in our investigation of Mr. Low, one of the

 9        most important parts of that investigation was trying to

10        locate the funds that Mr. Low had stolen and determine where

11        they had ended up.     In the course of that investigation, we

12        identified that the defendant had received, you know, tens

13        of millions and then a hundred million dollars from Mr. Low

14        into accounts that he controlled.

15        Q.   Okay.   And this long-running scheme that you described,

16        did part of that take place in 2012?

17        A.   That's correct, yes.

18        Q.   2017?

19        A.   Yes.

20        Q.   We're going to focus, this morning, your testimony on

21        the 2012 portion that you were investigating.            But just

22        generally for some context, can you just please tell us

23        generally what you were investigating involving conduct in

24        2017?

25        A.   Yes.    In 2017 we are investigating conduct involving the
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 86 of 168   86


 1        defendant, Mr. Low, and other co-conspirators that Mr. Low

 2        and the defendant laundered more than $100 million into the

 3        United States and then throughout the U.S. financial system

 4        in order to enact a scheme to corruptly influence the U.S.

 5        government.    First in an attempt to either drop the charges,

 6        the criminal investigation into Mr. Low, or otherwise settle

 7        the investigation in Mr. Low's favor; and then later to have

 8        a Chinese national, who is residing in the United States,

 9        removed from the United States to the benefit of the Chinese

10        government.

11        Q.   All right.     Agent Heuchling, understanding that that was

12        the conduct involving the defendant, Mr. Low, in 2017 that

13        you were investigating, can you just tell us generally,

14        then, what was the conduct that you were investigating

15        involving the defendant related to 2012?

16        A.   In 2012 the defendant conspired with Mr. Low to bring

17        more than $20 million into the United States, and then the

18        defendant subsequently used those funds from a foreign

19        source to donate a portion to a campaign committee

20        associated with the president -- sorry, then-President

21        Obama, who was running for re-election, as well as to make

22        illegal contributions to a Super PAC.

23                    The defendant also used a series of straw donors,

24        more than 20 straw donors, to give those funds to the

25        campaign in violation of federal law.
     Case 1:19-cr-00148-CKK    Document 322   Filed 11/07/23    Page 87 of 168    87


 1        Q.    All right.     I want to talk more about that --

 2                    THE COURT:     Slow down, please.

 3                    MR. KENNER:     Excuse me, Your Honor, I am not aware

 4        of this witness being offered as an expert witness.

 5                    MR. MULRYNE:     No expert testimony, Your Honor.

 6        Firsthand knowledge of the investigation.

 7                    THE COURT:     Yes, I don't see him as an expert at

 8        this point.    He's not giving opinions.

 9                    As I understand it, these are based on what he

10        found out as part of his investigation.              Am I correct?

11                    MR. MULRYNE:     That's correct, Your Honor.

12                    THE COURT:     And that would be how you would answer

13        it.

14                    MR. MULRYNE:     Thank you, Your Honor.

15        Q.    Agent Heuchling, for purposes of your criminal

16        investigation, why did it matter to the FBI whether or not

17        the defendant was using foreign money, money from a foreign

18        national like Mr. Low, to contribute that to an election?

19                    MR. KENNER:     Objection, Your Honor; irrelevant.

20                    THE COURT:     No, I think it's relevant.          Overruled.

21        A.    Federal law prohibits both foreign nationals from giving

22        money to U.S. campaigns as well as the use of straw donors

23        to make those contributions.

24        Q.    So, Agent Heuchling, you mentioned a couple of times

25        straw donors.       You're familiar with what's called
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 88 of 168     88


 1        "conduits"?

 2        A.   Yes, straw donors or conduit donor.            The term is used

 3        interchangeably.

 4        Q.   And what are straw donors or conduits?

 5        A.   So a straw donor or a conduit is someone whose name --

 6        or a person who is used in between the donor of the funds

 7        and the person who provides those funds to the campaign with

 8        the intent to, you know, disguise who the actual contributor

 9        to the campaign is or was.

10        Q.   So similar to the question I asked you moments ago.              For

11        purposes of the FBI in a criminal investigation, why does it

12        matter to the FBI whether or not conduits or straw donors

13        are used to contribute money into a federal election?

14        A.   Yes.   Again, because the use of straw donors is a

15        violation of federal election law.

16        Q.   Agent Heuchling, just stepping back for a moment before

17        we proceed further, can you just tell the jury, what was

18        some of the investigative steps and actions that the FBI and

19        other federal law enforcement took during the course of this

20        investigation?

21        A.   Yes.   This was a -- you know, a lengthy investigation,

22        but I consider our steps that we took fairly standard.

23                    We conducted numerous interviews with witnesses.

24        We collected hundreds, if not thousands, of bank records and

25        other financial documents, both from domestic financial
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 89 of 168        89


 1        institutions as well as foreign financial institutions.              We

 2        executed search warrants on email accounts, on cell phones.

 3        We collected toll records for phones.          You know, various

 4        other, you know, investigative steps as well.

 5        Q.   Okay.   We're going to get into more of all that in a

 6        moment.

 7                     Agent Heuchling, I want to cover broadly three

 8        different things with you, if I may.

 9                     The first are the activities of the defendant,

10        Mr. Low, and others, leading up to the 2012 presidential

11        election.

12                     I then want to fast forward to 2015 to talk about

13        a complaint received by the Federal Election Commission

14        involving the defendant and to which the defendant

15        responded.

16                     And then I want to go further to 2018 and 2019 in

17        which investigative actions were undertaken by the FBI and

18        actions were taken by the defendant.         Okay?

19        A.   Yes.

20        Q.   So beginning -- again, we're in 2012.

21                     In addition to the defendant and Mr. Low, were

22        there any other individuals whom you learned were involved

23        in the events related to this investigation?

24        A.   Yes, there were.

25        Q.   All right.     Are you familiar with an individual named
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 90 of 168         90


 1        Joel Rousseau?

 2        A.   I am.

 3        Q.   Who is Mr. Rousseau?

 4        A.   So Mr. Rousseau, I've learned through my investigation,

 5        was a club promoter.

 6                     And I should just say for context, when Mr. Low

 7        was rich with the money he had from 1MDB, he had made a big

 8        scene in the clubs in New York City, and we believe he had

 9        come up with Mr. Rousseau, who worked at those clubs.                And

10        my understanding is that Mr. Rousseau also had a previous

11        relationship with Mr. Michel, and I believe Mr. Rousseau

12        introduced Mr. Low and Mr. Michel.

13        Q.   And during this 2012 time frame, based on your

14        investigation, was Mr. Rousseau in contact with the

15        defendant and Mr. Low and others about relevant events

16        involved in this case?

17        A.   Yes, he was.

18        Q.   All right.     In or around May of 2012, did the defendant

19        begin to have contacts with individuals associated with

20        President Obama's re-election campaign?

21        A.   Yes, he did.

22        Q.   For what purpose?

23        A.   For the purpose of --

24                     MR. KENNER:   Objection, Your Honor; calls for

25        speculation.
     Case 1:19-cr-00148-CKK   Document 322     Filed 11/07/23   Page 91 of 168      91


 1                      THE COURT:    Well, unless you have -- you're going

 2        to have to ask it differently in terms of what the basis

 3        would be for his indicating an answer to that.

 4                      MR. MULRYNE:   Sure.

 5        Q.   Based on your investigation, including witness

 6        interviews, including review of documents, emails, for what

 7        purpose had the defendant contacted or been in contact with

 8        President Obama's re-election campaign?

 9        A.   The emails indicate that the defendant wanted to make a

10        contribution or donate to the campaign.

11                      MR. MULRYNE:   Can we pull up what's been marked

12        for identification as Government Exhibit 290 not yet

13        admitted.

14        Q.   Agent Heuchling, do you recognize this as an email chain

15        involving the defendant, Mr. Low, Mr. Rousseau, and others

16        in late May 2012?

17        A.   I do.

18        Q.   And does this chain involve a campaign fundraising event

19        and money?

20        A.   It does.

21        Q.   Did you obtain this document during your investigation?

22        A.   I did.

23                      MR. KENNER:    Excuse me, Your Honor.        The document

24        that's on my screen is not large enough for me to be able to

25        read.   Is there a way that it can be made --
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 92 of 168   92


 1                    THE COURT:    I assume you have been given paper

 2        copies of these?

 3                    MR. KENNER:    Yes.    I could go find a paper copy,

 4        if I had to.

 5                    THE COURT:    Or we can -- can you enlarge it?

 6                    MR. MULRYNE:    Ms. Orozco just did, Your Honor.

 7                    MR. KENNER:    Thank you.     I see that.

 8                    THE COURT:    Thank you.

 9        Q.   So, Agent Heuchling, you just said a moment ago this was

10        an email involving the defendant, Mr. Low, Mr. Rousseau, and

11        others in late May 2012 involving a fundraising event; is

12        that correct?

13        A.   Yes.

14                    MR. MULRYNE:    Your Honor, government moves to

15        admit Government Exhibit 290.

16                    THE COURT:    Any objections?

17                    MR. KENNER:    No, Your Honor.

18                    THE COURT:    All right.    Then I'll admit 290

19        without objection.

20                    THE COURTROOM DEPUTY:      Do you want it published?

21                    THE COURT:    Do you want it published?

22                    MR. MULRYNE:    Yes, Your Honor, please, if it may

23        be published.

24                    And, Ms. Orozco, if we could zoom in on the bottom

25        half of Page 1.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 93 of 168      93


 1                      THE COURT:   All right.   Can people see it in

 2        their -- okay.

 3        Q.   Agent Heuchling, are you able to see that on your

 4        screen?

 5        A.   I am.

 6        Q.   Okay.    And so we see there at the -- we see there at the

 7        bottom there is an email on May 24, 2012, from a

 8        prasmichel@gmail.com.      Do you see that, Agent Heuchling?

 9        A.   I do.

10        Q.   All right.     During your investigation, did you learn

11        with whom that email address is associated?

12        A.   Yes.    The prasmichel@gmail.com email address belonged to

13        the defendant, Mr. Michel.

14        Q.   All right.     And we see that the defendant sent a message

15        to a Patrick Gaspard.      Who is Patrick Gaspard?

16        A.   Mr. Gaspard worked in President Obama's 2008 election

17        campaign, and in 2012 he worked for the DNC.

18        Q.   What is the DNC?

19        A.   The Democratic National Committee.

20        Q.   All right.     And could you read for us the message that

21        the defendant sends on May 24th?

22        A.   I can.

23                      "Hey Patrick, how are you?      I'm thinking about

24        doing a fundraiser for BO sometime next month.            I'm looking

25        to raise anywhere from 5-10 million my contribution to the
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 94 of 168   94


 1        cause."

 2        Q.   Agent Heuchling, there's a reference there in the

 3        message to "BO."     May I ask you, what's the subject line of

 4        this email chain?

 5        A.   It's "President Obama," and "BO" is Barack Obama's

 6        initials.

 7        Q.   All right.     During this time when the defendant was

 8        expressing interest in fundraising for President Obama's

 9        campaign, was the defendant and Mr. Rousseau also in contact

10        with Mr. Low?

11        A.   Yes, they were.

12        Q.   And did those contacts involve political contributions

13        as referenced here?

14        A.   Yes, they did.

15        Q.   Did those contacts involve a fundraising event where one

16        could meet President Obama?

17        A.   That's correct, yes.

18                    MR. MULRYNE:    If we could scroll up on Government

19        Exhibit 290 to the upper half, please, Ms. Orozco.

20                    And actually, could we just scroll down a little

21        bit just to get the email in between.          Thank you.

22        Q.   So, Agent Heuchling, what does the defendant here --

23        looking at the middle of the screen, what's the defendant

24        here do with the email exchange with Mr. Gaspard?

25        A.   So the defendant receives a response from Mr. Gaspard,
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 95 of 168       95


 1        and then the defendant forwards that response and his

 2        original email to Mr. Rousseau.

 3        Q.   And we see joel@guestlistwear.com.         It has the name Joel

 4        Rousseau next to it.      With whom is that account associated?

 5        A.   Yes, that's associated with Mr. Rousseau.

 6        Q.   All right.

 7                    MR. MULRYNE:    Again, if we could scroll up.

 8        Q.   To whom does Mr. Rousseau forward this email chain?

 9        A.   Mr. Rousseau forwards it to Mr. Low.

10        Q.   All right.     Is jho.low@gmail.com an email address

11        associated with Mr. Low?

12        A.   Yes, that's correct.

13        Q.   All right.     This email chain is dated May 29, 2012, and

14        if you'd follow along with me, Agent Heuchling, at the top.

15        "Hey Jho, this is for your eyes only" --

16                    THE COURT:    Okay.    You need to slow down.       You're

17        going way too fast.

18                    I have a very good court reporter, and if she's

19        having trouble keeping up, everybody else is not absorbing

20        this.   You have to slow down.

21                    MR. MULRYNE:    Understood, Your Honor.

22                    MR. KENNER:    Your Honor, might this be a good time

23        for a morning recess?

24                    THE COURT:    Did you want to finish this one

25        exhibit and then we can take it?
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 96 of 168   96


 1                      MR. MULRYNE:   We would, Your Honor, please.

 2                      THE COURT:   All right.

 3                      MR. MULRYNE:   Thank you.

 4        Q.   "Hey Jho, this is for your eyes only, this is some of

 5        the communication between Patrick Gaspard (Obama top advisor

 6        and top re-election strategist) (google him) and Pras Michel

 7        the founder of the top group in the 90's the Fugees."

 8                      If we drop down below, Agent Heuchling, we see the

 9        third paragraph where it reads:         "However, we got a 4:30

10        conference call bet Patrick, Pras and another top member

11        from the DNC."

12                      Did I read all that correctly?

13        A.   You did.

14        Q.   All right.     Immediately below:     "They are extremely

15        interested and wants to do it."

16                      And then, Agent Heuchling, if you would, can you

17        read that paragraph that starts with the number 1?

18        A.   I can.

19                      "1 - being a foreigner is not a problem as long as

20        u owned corporation in US just like George Sorros etc...

21        All donation can be made to the Super Pack and it can be

22        unlimited."

23        Q.   Agent Heuchling, a few questions about this paragraph.

24                      So the reference to a Super PAC.       In the political

25        context, campaign finance, are you familiar with what is
     Case 1:19-cr-00148-CKK    Document 322   Filed 11/07/23   Page 97 of 168   97


 1        known as a Super PAC?

 2        A.   Yes.    A Super PAC is shorthand for a "super political

 3        action committee."

 4        Q.   And is a Super PAC distinct or different than a

 5        presidential candidate's campaign committee?

 6        A.   Yes.    The most -- yes, both distinct in the sense that

 7        it is not supposed to be directly associated with one, but

 8        then also in a sense that a Super PAC has different rules

 9        about how -- from whom it can accept contributions and

10        limits on those contributions.

11        Q.   Okay.   And, for example, we see in this line it

12        references the Super PAC, the donation to the Super PAC can

13        be unlimited.       Is that your understanding?

14        A.   Are you asking me if that's my understanding from the

15        email or if that's an accurate statement?

16        Q.   Accurate statement?

17        A.   Yes, Super PACs can accept unlimited contributions from

18        U.S. persons or corporations, yes.

19        Q.   How about a presidential campaign committee or joint

20        fundraising committee associated with a presidential

21        campaign?

22        A.   So campaign committees or joint fundraising committees

23        have limits on the number -- on the amount of money they can

24        receive from individuals.

25        Q.   So looking back at this paragraph, it references a
     Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 98 of 168   98


 1        foreigner.     Can a foreign national contribute to either a

 2        presidential candidate's campaign or a Super PAC?

 3        A.     No, they may not.

 4        Q.     All right.   This references a corporation in the U.S.

 5        Can a U.S. corporation, using its own corporate funds,

 6        contribute to a presidential candidate's campaign?

 7        A.     No.

 8        Q.     How about a Super PAC?      Can a U.S. corporation

 9        contribute to a Super PAC?

10        A.     Yes.   If the U.S. corporation is an actual ongoing

11        concern, a legitimate business, it can donate to a Super

12        PAC.

13                      But a U.S. registered corporation cannot be used

14        as a pass-through for a foreign person to donate money to a

15        Super PAC.

16                      THE COURT:   Okay.    Are we finished with this

17        particular exhibit or --

18                      MR. MULRYNE:   Just a couple more questions, Your

19        Honor, if I may?

20                      THE COURT:   Go ahead.

21        Q.     So, Agent Heuchling, if a Super -- if a U.S. corporation

22        is or is not affiliated with a foreign entity or foreign

23        person, can it ever be used to pass through foreign money

24        into an election, whether with a Super PAC or a campaign?

25        A.     No, it cannot.
     Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 99 of 168    99


 1        Q.   Were all of the -- this references, again, contributions

 2        through a corporation.      Were all of the contributions

 3        relevant to your investigation during this period made to a

 4        Super PAC?

 5        A.   No.    Some of the contributions were made to a campaign

 6        committee.

 7        Q.   Associated with whom?

 8        A.   Associated with President Obama.

 9        Q.   All right.     And were there contributions made that you

10        investigated that were made to a Super PAC?

11        A.   Yes.

12        Q.   Were any of those made by -- that were relevant to your

13        investigation, were any of those made by a corporation that

14        was owned by a foreign national or foreign entity?

15        A.   No.

16                     MR. MULRYNE:   Your Honor, I think at this time

17        we're finished with the email.

18                     THE COURT:   All right.    So we'll take our morning

19        break.     So five minutes to 12:00, okay?

20                     Leave all your notebooks and your pens.          Just

21        leave them there, and we'll come and get you.            And remember,

22        don't talk about the case.

23                     (Jury exits courtroom)

24                     THE COURT:   All right.    We're on our break.

25                     The two of you need to slow down.        There's a lot
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 100 of 168     100


 1     of information there.       If you want anybody to absorb it, you

 2     need to slow down.     We're not in a race, okay?

 3                  MR. MULRYNE:    Appreciate it, Your Honor.        Yes,

 4     ma'am.

 5                  THE WITNESS:    Yes, Your Honor.

 6                  (Recess taken)

 7                  THE COURT:   Okay.   You can go ahead and sit down.

 8                  Let's proceed and pick up with the special agent's

 9     testimony.    We're still on direct.

10                  MR. MULRYNE:    Thank you, Your Honor.

11     BY MR. MULRYNE:

12     Q.   Agent Heuchling, we were just looking a moment ago at

13     Government Exhibit 290, the email involving the defendant

14     and possible fundraising event forwarded on to Mr. Low.

15                  Just one point I want to make crystal clear before

16     we move on.    Can a foreign national, in whatever shape or

17     manner, make any contribution to any type of committee in

18     the United States for any type of election?

19     A.   No.    Federal law explicitly prohibits a foreign national

20     from donating in any capacity to a federal election.

21     Q.   Agent Heuchling, we're still in 2012.          In June of 2012,

22     was there an event that occurred that was relevant to your

23     investigation?

24     A.   Yes.    In late June 2012 there was a fundraising in Miami

25     for President Barack Obama.
 Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 101 of 168    101


 1                   MR. MULRYNE:   If you could pull up for

 2     identification Government's Exhibits 301 and 302.

 3     Q.   Agent Heuchling, looking at Government Exhibit 301

 4     first, do you recognize this as an email received by the

 5     defendant involving the fundraising event that you just

 6     referenced?

 7     A.   I do.

 8     Q.   All right.    Did you obtain this email during the course

 9     of your investigation?

10     A.   I did.

11                   MR. MULRYNE:   Your Honor, government moves to

12     admit into evidence Government Exhibits 301 and 302.

13                   THE COURT:    Any objection?

14                   MR. KENNER:    No objection.

15                   THE COURT:    All right.   Then I'll admit

16     Government's Exhibits 301 and 302 without objection.

17                   MR. MULRYNE:   And if it may be published?         Which I

18     believe it is.

19     Q.   So Agent Heuchling, looking at 301, the email, we see

20     it's to the defendant dated June 10, 2012, from a Jason

21     McCall.   Who is Jason McCall?

22     A.   Jason McCall is someone who knew both the defendant as

23     well as some individuals with the campaign, and he is

24     somehow associated with the re-election campaign in 2012.

25     Q.   And what was the subject line of this email?
 Case 1:19-cr-00148-CKK     Document 322   Filed 11/07/23   Page 102 of 168   102


 1     A.     "Obama Fundraiser in Miami - 6/26," or June 26th.

 2     Q.     And would you please read that first paragraph for the

 3     jury.

 4     A.     Yes.    "Pras -- Attached below is the official invitation

 5     to the Obama Fundraiser in Miami on June 26th.              Feel free to

 6     share this invite with the individual's who are interested

 7     in attending."

 8                    MR. MULRYNE:   If we can go to Government Exhibit

 9     302 just admitted.

10     Q.     And looking here at the first page of 302, was this the

11     attachment to the email we just reviewed?

12     A.     Yes, it is.

13     Q.     And what is this document?

14     A.     This is the formal invitation to the fundraiser in Miami

15     that was discussed in the email.

16     Q.     Who is the guest of honor, if you will, at this event?

17     A.     The guest of honor is then-President Barack Obama.

18     Q.     Okay.   And looking at the bottom of 302, it's in that

19     box.

20                    MR. MULRYNE:   Perhaps we can blow it up

21     momentarily.

22     Q.     At the bottom of 302 we see a reference "Paid for Obama

23     Victory Fund 2012."       What is Obama Victory Fund 2012?

24     A.     Obama Victory Fund 2012 is a joint fundraising

25     committee.      A joint fundraising committee is a committee
 Case 1:19-cr-00148-CKK    Document 322      Filed 11/07/23   Page 103 of 168      103


 1     that pools resources among various federal election

 2     campaigns, and then they disburse those resources.                So they

 3     pull donations in, and then they disburse those resources

 4     among the campaigns.

 5                    MR. MULRYNE:   Okay.     If we can go to Page 2 of

 6     Government's Exhibit 302.

 7     Q.     And what is this?

 8                    Before we look at any specific portions here, what

 9     is this document?

10     A.     This is the second page to the invitation.             This is a

11     donor form; so this is a form that the donor would have

12     to -- a donor would have to fill out and provide back to the

13     campaign.      And it provides certain guidelines on who can

14     donate as well as collect certain information from the

15     donor.

16                    MR. MULRYNE:   If we can call out the top portion?

17     Q.     And so, Agent Heuchling, for a joint fundraising

18     campaign like the Obama Victory Fund or -- often called OVF;

19     is that correct?

20     A.     Yes.    The Obama Victory Fund was referred to as OVF,

21     yes.

22     Q.     Okay.   So for a joint fundraising committee like OVF,

23     were there contribution limits as to how much an individual

24     could contribute to the campaign committee?

25     A.     Yes, there were contribution limits to how much could be
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 104 of 168   104


 1     donated to OVF.

 2     Q.   All right.    And what do we see here as the lowest

 3     contribution limit, at least according -- at least on this

 4     donor form?

 5     A.   So I don't know if I'd call it a limit, but it looks

 6     like the low -- the low end donation that this form is

 7     requesting is $40,000.

 8     Q.   And what's the high end contribution amount?

 9     A.   $75,800.

10     Q.   Okay.    And dropping down just below that box that says

11     "click here," looking at the portion there that says "Obama

12     Victory Fund 2012," can you -- generally, what is this

13     advisement?

14     A.   So that is providing advisements to the donor on who is

15     and is not allowed to donate to the campaign.

16     Q.   And so we see, for example, in the first line it says

17     that "Obama Victory Fund 2012 does not accept contributions

18     from currently registered federal lobbyists, registered

19     foreign agents," among others listed there; is that right?

20     A.   That's correct.

21     Q.   And then that second or perhaps third sentence, the one

22     that begins with "Federal law," can you read that for the

23     jury, please?

24     A.   Yes, "Federal law requires us to use our best efforts to

25     collect and report the name, mailing address, occupation and
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 105 of 168      105


 1     employer of individuals whose contributions exceed $200 in

 2     an election cycle."

 3     Q.     And then we see below that a number of blank lines

 4     asking for information.     What is being requested here?            What

 5     is this portion of the form about?

 6     A.     So as just delineated or what I just read, this is a

 7     portion of a form requesting the information that the

 8     campaign has to report to the -- in accordance with federal

 9     law.    So it's the first and last name of the donor, the

10     address, the employer, and the occupation of the donor.

11     Q.     And you just said -- and you read here -- federal law

12     requires reporting.     It requires reporting from whom and to

13     whom?

14     A.     So the federal election law requires that campaigns

15     collect this information from donors and that the campaigns

16     provide that information to the Federal Election Commission

17     or the FEC.

18     Q.     What is the Federal Election Commission or FEC?

19     A.     So the Federal Election Commission is an independent

20     organization of the U.S. government -- sorry, independent

21     agency of the U.S. government.       It's responsible for both

22     enforcing and enacting U.S. federal election law.

23     Q.     Okay.   And below those lines where the contributor would

24     fill in the information we see another advisement.            Can you

25     tell us generally what is this about?
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 106 of 168   106


 1     A.   Generally, that's further instructions based on federal

 2     law on who cannot donate to a campaign.            And this

 3     specifically relates to the prohibition from foreign

 4     nationals.

 5     Q.   Could you read that first line for us, please?

 6     A.   I can.   "Federal law prohibits foreign nationals, except

 7     lawfully admitted permanent residents of the U.S., from

 8     contributing to the Obama Victory Fund 2012.            By signing

 9     below, I certify that I am a U.S. citizen or lawfully

10     admitted permanent resident of the U.S., the funds I am

11     donating are not being provided to me by another person or

12     entity for the purpose of making this contribution, and that

13     my contribution shall be allocated as stated below."

14     Q.   That portion that you just read a moment ago that reads

15     "the funds I am donating are not being provided to me by

16     another person or entity for the purpose of making this

17     contribution," why, if at all, is that relevant?

18     A.   So as we've discussed, it is against federal law to --

19     for a foreign national to give funds to a federal election

20     campaign, and this is advising the donor, again, that you

21     cannot accept funds from another person and then donate them

22     in your name to a campaign.

23     Q.   And this attachment, this donor form with these

24     advisements, we saw that this was attached to the email

25     received by the defendant on June 10, 2012?
 Case 1:19-cr-00148-CKK     Document 322     Filed 11/07/23   Page 107 of 168   107


 1                     MR. KENNER:    Objection; leading.

 2                     THE COURT:    I'll allow it for this in terms what

 3     you have, but be careful about the leading questions.

 4                     MR. MULRYNE:   Yes, Your Honor.

 5     A.     Yes, this attachment was included on the email to the

 6     defendant.

 7     Q.     Okay.    And that email that we saw, Government Exhibit

 8     301, was dated June 10th.           Did someone else receive -- and

 9     you can take that down; thank you, Ms. Orozco -- did someone

10     else receive a copy of the invitation on June 10, 2012?

11     A.     Yes, this invitation was forwarded to Mr. Low as well.

12                     MR. MULRYNE:   Can we pull up Government Exhibit

13     291.    And if we can zoom in, please, on that.

14     Q.     Is this an email from Mr. Rousseau to Mr. Low regarding

15     the campaign --

16     A.     It is.

17     Q.     -- the fundraising event?

18     A.     Yes, it is.

19                     MR. MULRYNE:   Your Honor, move to admit Government

20     Exhibit 291.

21                     MR. KENNER:    No objection.

22                     THE COURT:    All right.    Then I'll admit without

23     objection 291.

24     Q.     Agent Heuchling, we see that it's Mr. Rousseau to Mr.

25     Low, June 10, 2012; the attachment "Obama Event June 26th";
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 108 of 168   108


 1     is that right?

 2     A.   Yes.

 3     Q.   All right.    And it reads, "This is the invitation for

 4     the event --

 5                  MR. KENNER:    Excuse me, Counsel.

 6                  Your Honor, I think the exhibits speak for

 7     themself.

 8                  THE COURT:    He's allowed to --

 9                  MR. KENNER:    I'm sorry, I believe the exhibits

10     speak for themself.       I'm not quite sure why the witness is

11     being asked to read what's on the exhibit.

12                  THE COURT:    I do allow, if you admit exhibits for

13     them, to point out the important parts of the exhibit for

14     the jury as long as it's within reason.

15                  MR. KENNER:    Thank you.

16     Q.   And, Agent Heuchling, if we scroll down to Page 2 of

17     291, what do we see there?

18     A.   This is the invitation to the June 26th fundraiser that

19     we just discussed.

20     Q.   All right.

21                  MR. MULRYNE:    You can take that down, Ms. Orozco.

22     Thank you.

23     Q.   So during this time, Agent Heuchling, did the

24     defendant, Mr. Rousseau, and others continue to communicate

25     with Mr. Low regarding this upcoming fundraising event?
 Case 1:19-cr-00148-CKK    Document 322   Filed 11/07/23   Page 109 of 168   109


 1     A.     Yes, they did.

 2     Q.     Did those communications include any discussions about

 3     money being sent to the United States?

 4     A.     They did.

 5     Q.     And did those communications continue with references

 6     about the Miami fundraising event featuring President Obama?

 7     A.     Yes.

 8     Q.     All right.   I asked you earlier about other individuals

 9     other than the defendant, Mr. Low, whom you've seen involved

10     in these activities.        You mentioned Mr. Rousseau.

11                    Are you familiar with an individual named Eric

12     Tan?

13     A.     I am.

14     Q.     Also known as Tan Kim Loong?

15     A.     Yes, Tan Kim Loong is his Chinese name, and he is

16     commonly referred to Eric Tan.

17                    THE COURT:   Can you spell it.

18                    THE WITNESS:   I can, if you want me to.

19                    THE COURT:   If you would, for the record.

20                    THE WITNESS:   Yes, Tan Kim Loong is Tan, T-A-N,

21     space Kim, K-I-M, Loong, L-O-O-N-G.          Eric is with a C.

22     Q.     Is Mr. Tan a United States citizen?

23     A.     No, he's not.

24     Q.     A United States permanent legal resident?

25     A.     No, he's not.
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 110 of 168   110


 1     Q.   To your knowledge, has he ever been?

 2     A.   No, never.

 3     Q.   Based on your investigation, who do you understand Eric

 4     Tan to be?

 5     A.   So based on my investigation, Eric Tan was an

 6     associate of Jho Low who acted as a proxy or a cut out often

 7     in Mr. Low's financial transactions and dealings.

 8                  For example, Mr. Low would often use Mr. Tan to

 9     open accounts in Mr. Tan's name or have businesses opened in

10     Mr. Tan's name when, in fact, Mr. Low is the true beneficial

11     owner of those accounts or businesses.

12                  MR. KENNER:    Your Honor, I object to that

13     testimony as a legal conclusion.        It's beyond the province

14     of the jury.

15                  THE COURT:    I'll leave it what it is, but I would

16     be careful in terms of how you're describing it.            Have it be

17     more factual without the conclusions about what it is.

18                  THE WITNESS:   Yes, Your Honor.

19                  THE COURT:    Go ahead.

20     Q.   Agent Heuchling, showing you what's been marked as

21     Government Exhibit 294 for identification.           Do you recognize

22     this as an email chain obtained during your investigation

23     involving the defendant, Mr. Rousseau, and Mr. Tan?

24     A.   I do.

25     Q.   And does this touch on the issues, the campaign and
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 111 of 168   111


 1     other things that you've been testifying about to this

 2     point?

 3     A.   Yes, it does.

 4                  MR. MULRYNE:   Your Honor, the government moves to

 5     admit Government Exhibit 294 into evidence.

 6                  MR. KENNER:    No objection.

 7                  THE COURT:    All right.   I'll admit 294 without

 8     objection.

 9                  MR. MULRYNE:   All right.    If we could go to Page 2

10     of 294.     If we could do the -- let's say from the middle,

11     from the Joel Rousseau email down to the bottom, please, if

12     we can enlarge that.

13     Q.   All right.    Agent Heuchling, looking at the first email

14     here on this page from Mr. Tan to Mr. Rousseau dated June

15     13, 2012, what's the subject line?

16     A.   This subject is "EVENT IN USA."

17     Q.   All right.    And if you see the first paragraph here from

18     Mr. Tan, it says, "Please advice the amount to be

19     contributed to the NGO"; is that correct?

20     A.   Yes.

21     Q.   All right.    Second paragraph:     "Please provide the wire

22     transfer details of the NGO for international USD wires"; is

23     that right?

24     A.   That is correct.

25     Q.   And then we also see a reference to NGO in the third
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23     Page 112 of 168          112


 1     paragraph.    Generally, to your knowledge, what does the

 2     acronym "NGO" stand for?

 3     A.   So "NGO" stands for nongovernmental organization.                 It's

 4     most commonly associated with charities or charitable

 5     organizations.

 6     Q.   All right.    And that acronym in No. 2, Paragraph No. 2,

 7     "USD," what about that?

 8     A.   Oh, "USD" is shorthand for United States dollars or U.S.

 9     dollars.

10     Q.   All right.    And if we continue in this email, we see

11     No. 4, the Paragraph No. 4:       "When is the main event and

12     dress code?    details?"

13                  Followed by Paragraph No. 5.          Could you read that

14     for us, please?

15     A.   "When will the meetings occur, dates and times with (a)

16     main guy (b) key people around main guy."

17     Q.   And then No. 6, there's a reference to three guests

18     attending the event.     Can you read that first description of

19     the first guest right under Paragraph No. 6?

20     A.   "One of them whom you know who is a Malaysian citizen.

21     Pls keep name off e-mails. (to meet with the main guy + be

22     at the event)."

23     Q.   All right.    We see reference to a Malaysian citizen.

24     Again, Jho Low, what is his citizenship?

25     A.   At this time he was a Malaysian citizen.
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 113 of 168   113


 1                MR. KENNER:    Objection.

 2                THE COURT:    He's just asking the question of what

 3     his citizenship is.

 4                Proceed.

 5     Q.   What is Jho Low's citizenship?

 6     A.   Jho Low was at this time a Malaysian citizen.

 7     Q.   All right.    And, Agent Heuchling, this reference here

 8     where we see please keep name off of emails, during your

 9     investigation, did you find other instances or examples

10     where the defendant and others were keeping names and

11     identifications off of documents or out of communications?

12     A.   Yes, many instances, especially as associated with

13     Mr. Low's name.     There are many instances in which his name

14     was intentionally kept off documents or emails.

15     Q.   In your experience as an investigator, why does it

16     matter whether or not an individual's name is kept off or

17     hidden from documents and communications?

18     A.   So in my experience as a criminal investigator, I find

19     that criminals often try to keep their names off certain

20     records and documents knowing that those documents may get

21     in the hand of law enforcement, and then those documents may

22     be used to associate them with a criminal activity that's

23     being undertaken.

24     Q.   Agent Heuchling, dropping down to the next guest that's

25     listed here under Paragraph 6.       We see a Mohamed Al-
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 114 of 168    114


 1     Husseiny.    Do you see that?

 2     A.   I do.

 3     Q.   Do you know, based on your investigation, who is Mohamed

 4     Al-Husseiny?

 5     A.   Yes, Mr. Al-Husseiny was the CEO of Aabar Investments.

 6     It was a sovereign wealth fund in Abu Dhabi.           He was a co-

 7     conspirator with Mr. Low in the theft in 1MDB and an

 8     official in Abu Dhabi, and so he was not -- he was a

 9     naturalized U.S. citizen.

10     Q.   You understood him to be an associate of Mr. Low's?

11     A.   Yes, that's correct.

12     Q.   And then the individual listed there under -- we see

13     Mr. Hamli -- I may be mispronouncing -- that's associated

14     1MDB; is that right?

15     A.   So Mr. Shahrol Hamli was the CEO of 1MDB at the time.

16     He was a Malaysian citizen.

17     Q.   And, Agent Heuchling, you just read -- we just reviewed

18     a moment ago where it references just under Paragraph 6 the

19     three guests to meet -- when talking about the Malaysian

20     citizen, to meet with the main guy and to be at the event;

21     is that right?

22     A.   That's correct.

23     Q.   Okay.   And for Mr. Al-Husseiny and Mr. Hamli, as you see

24     in the parentheses that you see in the end of their entries,

25     what is it that they're doing or being proposed to do?
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 115 of 168   115


 1     A.   So it's proposed that they will be at the event, the

 2     fundraising, and shake hands with the main guy but not be in

 3     the smaller meeting.

 4     Q.   All right.    So this email from Mr. Tan, we see -- if we

 5     look up top here at the top of the screen, what does he do

 6     with this email?     What does Mr. Rousseau do with this email

 7     from Mr. Tan?

 8     A.   Mr. Tan forwards that email -- I'm sorry, Mr. Rousseau

 9     forwards the email to Mr. Tan to the defendant.

10     Q.   All right.

11                   MR. MULRYNE:   And can we scroll up or move up to

12     the top portion of Page 2, Government Exhibit 294.

13     Q.   All right.    And is this the defendant's response to

14     Mr. Rousseau?

15     A.   It is.

16     Q.   So regarding what we saw a moment ago from Mr. Tan and

17     asking about the advisement as to the amount of the

18     contribution, what do we see the defendant respond here with

19     number one?

20     A.   So the defendant leaves blank the amount of the

21     contribution.

22     Q.   All right.    Number 2 here regarding the international

23     wire, we see BRB Holdings LLC.       What is BRB Holdings?

24     A.   BRB Holdings is an account that was set up by the

25     defendant's financial advisor or financial planner at the
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 116 of 168     116


 1     time and was an account that the defendant used to receive

 2     his funds.

 3     Q.   You mentioned this was set up by the defendant's

 4     financial advisor.     Who was that individual?

 5     A.   Barry Bekkadem.

 6     Q.   And what, if anything else, do you know about

 7     Mr. Bekkadem?

 8     A.   Mr. Bekkadem, as I said, was a financial planner and an

 9     advisor based in Miami who provided, you know, tax and

10     accounting services to the defendant.

11     Q.   All right.    Dropping down to Paragraph 4 here, we see it

12     reads, Main event is on Tuesday, June 26th at 4pm.            Once

13     they receive the donation they give us the address where the

14     event is taking place."

15                  What, if any, event was set to occur on June 26,

16     2012?

17     A.   So the fundraiser with President Obama was June 26th at

18     4:00 p.m. in Miami.

19     Q.   All right.    And that paragraph just below that, No. 5,

20     could you read that for us, please?

21     A.   Yes.    "Meeting with the main guy occurs the day of the

22     event and with his key people both that same day and the day

23     after.   They will give us an exact time and place once they

24     receive their donation."

25     Q.   All right.    And then the last one, Paragraph 6:          "His
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 117 of 168    117


 1     guys will meet and shake main guy hands but not as intimate

 2     as he will.     Dress code same suite and tie."        Did I read

 3     that correctly?

 4     A.   Yes.

 5                 MR. MULRYNE:   All right.     Can we please go to the

 6     first page, please, of Government Exhibit 294.            And if we

 7     could blow up that portion, the bottom half, the Tan email,

 8     please.

 9     Q.   All right.    So, Agent Heuchling, we see, then,

10     Mr. Rousseau, June 15, 2012, he sends this back to Mr. Tan;

11     is that correct?

12     A.   That is correct.

13     Q.   And what does Mr. Rousseau write there in the first

14     paragraph as you'll see?

15     A.   Mr. Rousseau writes, "Please find below in the forwarded

16     email all the answers to your questions...

17                 As you'll see they left (1) blank as 2 not discuss

18     finance in their email."

19     Q.   All right.    And then immediately under there we see

20     Mr. Rousseau writes:     "I was told the amount is $1 MILL to

21     be wired to that none profit account set up for 4 that

22     purpose and upon receipt, this amount it will b forward 2

23     another party as u know."

24                 Did I read that correctly?

25     A.   You did.
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 118 of 168   118


 1     Q.   In response to this email from Mr. Rousseau, looking

 2     just at the top of this screen, we saw the reference to "$1

 3     MILL" by Mr. Rousseau.     What does Mr. Tan reply?

 4     A.   Mr. Tan replies, "1M" -- or million -- "sent.           They

 5     should have gotten it."

 6                MR. MULRYNE:    All right.     If we could go up to the

 7     very top of this email chain and scroll in there, please.

 8     Q.   And then we see Mr. Tan.      How does he reply here?

 9     A.   This email --

10     Q.   I'm sorry, I'm sorry, not from Mr. Tan, but from -- who

11     do you identify this email from?

12     A.   This email appears to be from Mr. Rousseau to Mr. Tan.

13     Q.   And what does Mr. Rousseau say in response to the "$1

14     MILL"?

15     A.   "The package came in today..."

16     Q.   All right.    And then we see -- what does Mr. Rousseau do

17     with this email chain in its entirety?

18     A.   So Mr. Rousseau forwards this entire email exchange to

19     the defendant, Mr. Michel.

20     Q.   So, Agent Heuchling, this email exchange that happens on

21     and around June 15th, 16th, and then we see here 19th, mid-

22     June of 2012, referencing $1 million.

23                I now want to talk to you a bit about financial

24     transactions, if I may.

25                MR. MULRYNE:    Take that down, please.
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 119 of 168   119


 1     Q.   During this investigation, did the FBI obtain financial

 2     records from banks and financial institutions?

 3     A.   Yes, we did.

 4     Q.   And did you review those records as part of your

 5     investigation?

 6     A.   Yes.

 7     Q.   Showing you what's been previously admitted at

 8     Government Exhibit 666, and we're going to talk about this

 9     more in a moment.

10                 But based on your review and understanding of

11     these financial records, does Exhibit 666 accurately depict

12     the transactions that are displayed here?

13     A.   Yes, it does.

14     Q.   All right.    So we had heard earlier in the emails that

15     you reviewed references to BRB Holdings, reference to a

16     million dollars.     Did BRB Holdings receive a million dollars

17     on June 15, 2012?

18     A.   Yes.   On June 15, 2012, BRB Holdings received $1 million

19     from an account in the name of Blackstone Asia Real Estate

20     Partners, which was based in Singapore.

21     Q.   All right.    And we see a photo here of Mr. Tan; is that

22     correct?

23     A.   Yes, we do.

24     Q.   Who was the signatory on the Blackstone account?

25     A.   Mr. Tan was the signatory on the Blackstone account.
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 120 of 168   120


 1     Q.   Based on your investigation, based on the financial

 2     records, and based on your review of the evidence, who was

 3     the beneficial owner of Blackstone?

 4                MR. KENNER:    Objection, Your Honor; calls for a

 5     legal conclusion.

 6                THE COURT:    I'm not -- maybe you can ask it in a

 7     slightly different way and get to the same answer.

 8     Q.   Agent Heuchling, based on your investigation and review

 9     of the records, who is it that the transactions of

10     Blackstone primarily benefited?

11                MR. KENNER:    Objection, Your Honor; calls for a

12     conclusion.

13                THE COURT:    No --

14                MR. KENNER:    Speculation.

15                THE COURT:    -- I'll allow it.         Go ahead.

16                MR. KENNER:    No foundation.

17                THE COURT:    I'll allow it.      I'll overrule it.

18     Q.   Agent Heuchling, who did Blackstone primarily benefit?

19     A.   The transactions in and out of the Blackstone account

20     primarily were for the benefit of Mr. Low.

21     Q.   So the million dollars that you just testified about

22     that comes over from Blackstone to BRB Holdings on June 15,

23     2012, what did the defendant do with a portion of that money

24     soon after receiving it?

25     A.   So the defendant transferred those funds to one of his
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23    Page 121 of 168     121


 1     personal accounts and then nearly immediately donated

 2     $40,000 to the Obama Victory Fund.

 3     Q.    Okay.

 4                   MR. MULRYNE:   And let's pull up Government Exhibit

 5     71.

 6     Q.    Agent Heuchling --

 7                   MR. MULRYNE:   And, Your Honor, I believe this

 8     exhibit has been previously admitted.         It has; previously

 9     admitted Government's Exhibit 71.

10     Q.    What is this document?

11     A.    This is a check from the defendant, Mr. Michel, to the

12     Obama Victory Fund for $40,000 dated June 18, 2012.

13     Q.    So the date on this check, about three days after the

14     receipt of the million dollars from abroad?

15     A.    Correct.

16     Q.    All right.

17                   MR. MULRYNE:   If we can go back to Government's

18     Exhibit 666.

19     Q.    So you testified a moment ago, Agent Heuchling, the

20     defendant writes that check for $40,000.           What else does he

21     do soon after receiving the million dollars from Blackstone?

22     A.    He gives $100,000 to three different straw donors who

23     then subsequently donate to the Obama Victory Fund.

24     Q.    So we see several individuals here:          Dr. Rudolph Moise,

25     we see Claudine Oriol, and Gilbert Hippolyte.            Who are those
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 122 of 168   122


 1     individuals?

 2     A.   Dr. Moise, Ms. Oriol, and Mr. Hippolyte are all straw

 3     donors.

 4     Q.   Meaning what?

 5     A.   Meaning that they were used as cutouts -- and by that I

 6     mean that the defendant gave them funds that they then

 7     subsequently donated to the Obama Victory Fund.

 8     Q.   Prior to receiving that $1 million on June 15th from

 9     Blackstone, did the defendant have sufficient funds in these

10     accounts to make these transactions?

11     A.   No.

12     Q.   During your investigation, did the FBI obtain travel

13     records, flight records, pertaining to Mr. Low?

14     A.   We did.

15     Q.   All right.

16                  MR. MULRYNE:   If I may pull up what's been

17     previously admitted as Government Exhibit 502.

18     Q.   And, Agent Heuchling, before we look closer at this,

19     what do you understand this document to be?

20     A.   These are the flight records for Mr. Low's private jet.

21     Q.   Okay.    And I think many of these -- if we were to just

22     zoom sort of on the top bar of the categories, I think many

23     of these probably speak for themselves, these different

24     entries.     But on the far left corner, the column that says

25     "AC," do you know what that information there in that AC
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 123 of 168   123


 1     column reflects?

 2     A.    I do.   That number below AC, the November 689 Whiskey

 3     Mike, that's the tail number for Mr. Low's private yet.

 4     Q.    All right.

 5                   MR. MULRYNE:   If we can go to Page 3 of this

 6     exhibit, 502, and if we can call out a specific portion here

 7     looking at dates ranging from June 25th to June 27th.

 8     Q.    Agent Heuchling, are you able to see that -- bear with

 9     us one moment.     I'm just trying to make it as legible as

10     possible.

11                   Are you able to see that entry that's highlighted

12     there in these flight records?

13     A.    I am.

14     Q.    So on June 25, 2012, where did Mr. Low and his flight

15     go?

16     A.    On June 25, 2012, Mr. Low departed Singapore through

17     various intercity stops along the way and ultimately arrived

18     in Miami also on June 25, 2012.

19     Q.    All right.   So Mr. Low arrives in Miami on June 25th?

20     And then what does he depart Miami?

21     A.    Mr. Low departs Miami on June 27, 2012, the day after

22     the Miami fundraiser.

23     Q.    All right.   And so between June 25th, when he arrives,

24     and June 27th, when he leaves Miami, what's occurring there

25     on June 26th?
 Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 124 of 168    124


 1     A.   So on June 26th was the Obama fundraiser that we've been

 2     discussing.

 3     Q.   Now, based on your investigation, did Mr. Low

 4     actually -- was he actually able to attend that fundraising

 5     event?

 6     A.   No, he was not.

 7     Q.   All right.    Did the defendant and others associated with

 8     Mr. Low attend that fundraising event?

 9     A.   Yes, they did.

10                   MR. MULRYNE:   Ms. Orozco, if you could pull up

11     Government's Exhibit 503.

12     Q.   And, Agent Heuchling, prior to your testimony today did

13     you have an opportunity to review Government Exhibits 503,

14     504, and 505?

15     A.   I did.

16     Q.   And were these all photographs obtained during your

17     investigation of the fundraising event?

18     A.   Yes, they were.

19                   MR. MULRYNE:   Your Honor, the government moves to

20     admit Government's Exhibits 503 through 505.

21                   THE COURT:    Any objections?

22                   MR. KENNER:    I don't see 504 and '5.       I have no

23     objection to the one I'm looking at, which is 503.

24                   THE COURT:    Why don't you put up 504 and 505 so he

25     can see them.
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 125 of 168   125


 1                MR. MULRYNE:     Sure, and there may be multiple

 2     photos in each of these.     But here's 504 and 505.

 3                MR. KENNER:    I have no objection, Your Honor.

 4                THE COURT:    All right.     Then I'll admit without

 5     objection 503, 504, and 505.

 6                MR. MULRYNE:     If we may publish to the jury?

 7                I'm just confirming, Your Honor, if those have

 8     been published?

 9                THE COURT:    Dorothy, can you publish it, please?

10                MR. MULRYNE:     All right.

11     Q.   So, Agent Heuchling, let's just go through a few of

12     these.

13                This first picture; obviously President Obama

14     there on the right shaking hands with whom?

15     A.   That's the defendant, Mr. Michel, on the left.

16                MR. MULRYNE:     Page 2, please, Photo 2.

17     Q.   This is Government Exhibit 504.        Whom do we see the

18     president shaking hands with here?

19     A.   President Obama is shaking hands with Mr. Al-Husseiny.

20     Q.   That's the individual there, you said, shaking hands?

21     A.   Yes, correct.

22     Q.   And then who's the individual sort of behind Mr. Al-

23     Husseiny with the red tie?

24     A.   That's Mr. Rousseau.

25     Q.   All right.
 Case 1:19-cr-00148-CKK    Document 322   Filed 11/07/23   Page 126 of 168         126


 1                    MR. MULRYNE:   And if we go to Government Exhibit

 2     505.    Just zooming in here, if we could.

 3     Q.     And indeed if you can read that, Agent Heuchling?              Can

 4     you see the name there on the tag of the individual there

 5     who is smiling?

 6     A.     Yes.   That's Mr. Al-Husseiny and his name tag, which is

 7     partially visible, says Mohamed Badawy Al-Husseiny.

 8     Q.     Agent Heuchling, just to pause here for a minute before

 9     we go on.      We've had many references to President Obama.

10     During your investigation, any allegations that President

11     Obama or his administration knew of or was involved in any

12     criminal activities?

13     A.     No.    In the course of the investigation, we uncovered

14     nothing to indicate that either the former president or his

15     administration was aware of the defendant's illegal

16     activities.

17     Q.     And similar question as to the President Obama's

18     political campaign.      Any evidence that the campaign itself

19     was actively involved or committing any criminal activities?

20     A.     No, none.

21     Q.     All right.

22                    MR. MULRYNE:   You can take it down, please.

23     Q.     So, Agent Heuchling, we've been talking up to this point

24     in part about this fundraising event in Miami, June 2012,

25     featuring President Obama in which the defendant and others
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 127 of 168   127


 1     attended.

 2                 Was there another fundraising event during this

 3     2012 period that was relevant to your investigation?

 4     A.   Yes.   There was an event in September 2012, also

 5     involving the defendant and the Obama campaign.

 6     Q.   And where was -- was that event ultimately held?

 7     A.   Yes, it was.

 8     Q.   Where was it held?

 9     A.   It was held in Washington, D.C.

10     Q.   And do you recall whether it was held at a particular

11     individual's home?

12     A.   Yes.   It was held in the home of an individual named

13     Frank White, Jr.

14     Q.   Who is Frank White, Jr.?

15     A.   Mr. White was one of the largest fundraisers and a

16     financial advisor for the Obama campaign.

17     Q.   All right.    And between that Miami fundraising event in

18     June 2012 and the D.C. fundraising event in later 2012 that

19     you just referenced, did the defendant, Mr. Low, and others

20     continue to communicate about political contributions?

21     A.   Yes, they did.

22     Q.   Did they continue to communicate about President Obama's

23     campaign?

24     A.   Yes.

25                 MR. MULRYNE:   Showing you what's been marked for
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 128 of 168   128


 1     identification Government Exhibit 726.

 2     Q.   Agent Heuchling, do you recognize this as an email

 3     obtained during your investigation including Mr. Low,

 4     Mr. Rousseau, and the defendant involving President Obama's

 5     campaign?

 6     A.   I do.

 7                  MR. MULRYNE:   Your Honor, government moves to

 8     admit into evidence Government Exhibit 726.

 9                  THE COURT:    Any objection?

10                  MR. KENNER:    No objection.

11                  THE COURT:    All right.   I'll admit it without

12     objection.

13                  MR. MULRYNE:   And if it may be published to the

14     jury?

15                  And, Ms. Orozco, if we could enlarge the bottom

16     portion.

17                  Perfect.   Thank you.

18     Q.   So, Agent Heuchling, we see an email here from the

19     defendant seemingly to himself, is that correct, on July 20,

20     2012?

21     A.   Yes.

22     Q.   And below that we see what purports to be a message from

23     Frank White; is that right?

24     A.   That's correct.

25     Q.   All right.    May I ask you to begin reading that message
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 129 of 168       129


 1     there?   And I may interrupt you or stop you along the way.

 2     A.   Yes.   "Hey, bro.   Just got off phone with Chicago.             Pras

 3     I've been calling you for a couple of days now and you're

 4     not responding to me.     It's not looking good bro, please do

 5     not embarrass me it's going to get very very ugly for

 6     everyone.   I made all the arrangements for your guy to meet

 7     the big man I personally spoke to him at the house.             You

 8     know we never do this kind of stuff but I trusted your word

 9     that your boys are straight up guys.         I kept my end of the

10     bargain and I hope you guys do to.        Now today is Friday the

11     20th that's a little over four weeks to put all of this

12     together that's not a lot of time and we have no commitment

13     from your people.     Let them know BIG MAN cancel his vacation

14     to make this happen cause come September he's unavailable

15     till after November 6."

16     Q.   Agent Heuchling, if I may pause you there.           Sorry for

17     interrupting.

18                 So the first line we saw "Just got off phone with

19     Chicago," any idea about the reference to Chicago?

20     A.   Yes.   During the 2012 campaign, President Obama's

21     campaign headquarters was in Chicago.

22     Q.   And we see the reference to what you just finished there

23     a moment ago about November 6th.        What, if anything, was

24     relevant about the date November 6, 2012?

25     A.   November 6th was election day in 2012.
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 130 of 168    130


 1     Q.   All right.    If you don't mind picking up where you left

 2     off, I think it was right there at "I need to."

 3     A.   "I need to know what is going on before the end of Today

 4     July 20th.    Look bro I don't mean to sound harsh but there's

 5     a lot of strings that was pull not only for your boy from

 6     Dubai but also your GUY for next month, I don't like it when

 7     my big guy and his people start breathing down my neck.

 8     Everyday they keep calling me and we're all on their radar.

 9     So anyway if we're moving forward let's lock it in and it

10     must be TODAY if not let me know also which I sincerely hope

11     that's not the case cause like I said it would be

12     disastrous.

13                  "Thanks again for all you do.

14                  "Frank."

15     Q.   Agent Heuchling, just a couple of last notes here.

16                  We saw the reference in what you just read, your

17     boy from Dubai.     Anyone that we've discuss -- anyone that

18     you've testified about to this point with any affiliation to

19     Dubai?

20     A.   Yes.    Mr. Al-Husseiny was from Abu Dhabi, which is

21     another one of the Emirates from the UAE, which Dubai is

22     often associated with.

23     Q.   Okay.    And we see multiple references in this email.          We

24     see one highlighted now next to the Dubai reference that

25     says "your guy."     We see one also earlier in the email about
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 131 of 168   131


 1     your guy.

 2                 Ultimately, to whom is this email chain sent?

 3                 MR. MULRYNE:   And we can pull back.

 4     A.   This email was ultimately forwarded to Mr. Low.

 5     Q.   All right.

 6                 MR. MULRYNE:   If we highlight the upper portion

 7     here.   Thank you, Ms. Orozco.

 8     Q.   So the defendant -- looking at the bottom here where the

 9     email -- where the defendant emailed himself, what does he

10     write in response to all of this?

11     A.   Mr. Michel writes:    "Let's go!"

12     Q.   All right.    And this email chain, Mr. Michel, the

13     defendant, forwards it to whom?

14     A.   He forwards it to Mr. Rousseau.

15     Q.   And this email chain with the subject "Meeting and fund

16     raising," where does it end up?

17     A.   Mr. Rousseau forwards it to Mr. Low.

18                 MR. MULRYNE:   If we can pull up what's been marked

19     for identification Government Exhibit 728.

20     Q.   And, Agent Heuchling, do you recognize this as an email

21     chain involving the defendant, Mr. Low, Mr. Rousseau, again,

22     involving the same subject matter?

23     A.   Yes, I do.

24                 MR. MULRYNE:   If we can move to admit -- the

25     government moves to admit Government Exhibit 728.
 Case 1:19-cr-00148-CKK   Document 322     Filed 11/07/23   Page 132 of 168     132


 1                   THE COURT:    Any objections?

 2                   MR. KENNER:    No objection.

 3                   THE COURT:    I'll admit Government's Exhibit 728.

 4                   MR. MULRYNE:   All right.     And if we can go sort of

 5     to the bottom half portion, Ms. Orozco, just so we can see

 6     what we're looking at here.

 7     Q.   And so we see again, Agent Heuchling, is this an email

 8     from the defendant to himself?

 9     A.   It is.

10     Q.   And what is it that he writes here in this email chain

11     with the subject "Confirmation"?

12     A.   "Great News!!"

13     Q.   All right.    And if we look below, does this again

14     purport to be a message from Mr. White?

15     A.   It does.

16     Q.   All right.    And if we can start on this page and then

17     we'll go to the second page of the exhibit.             Down below can

18     you begin reading where it reads, "Hey, Pras"?

19     A.   Yes.    "Hey, Pras, I've informed the team in Chicago and

20     the House the great news.         I'll be with --

21     Q.   We're skipping now to Page 2 of the exhibit where it

22     continues.

23     A.   -- the BIG MAN tomorrow unfortunately I'm sure you heard

24     about the shooting in Denver so they're dealing with that

25     today.   But moving forward let your guys know I'll be
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 133 of 168          133


 1     sending a follow up email on Monday July the 23rd of what we

 2     like the contribution to be at.       We like to have everything

 3     handle by the end of next week July the 27th thanks.             By the

 4     way between you and I don't tell your guys yet but the BIG

 5     man has a special bonus for your guy, he really appreciates

 6     his commitment to the campaign and he takes care of those

 7     who take care of him.

 8                 "Thanks again."

 9     Q.   Agent Heuchling, we see again a reference here to your

10     guy, special bonus for your guy.        Ultimately, who is one of

11     the recipients of this email?

12     A.   This email was forwarded up to Mr. Low.

13                 MR. MULRYNE:   Can we pull back, please.

14                 If we go to Page 1, and if we can enlarge the

15     upper half portion of Page 1, please.

16     Q.   All right.    So we see that this forwards on to

17     Mr. Rousseau; is that right?

18     A.   Yes.

19     Q.   And that Mr. Rousseau forwards this on to Mr. Low?

20     A.   Correct.

21     Q.   And we saw a reference earlier to a contribution.               What

22     does Mr. Low respond here to Mr. Rousseau's forward?

23     A.   He responds "Done."

24     Q.   All right.    And ultimately to whom does this email

25     chain -- who ultimately receives this email chain?
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 134 of 168   134


 1     A.   Mr. Rousseau forwards it back to the defendant.

 2     Q.   Agent Heuchling, now showing you what's been marked as

 3     Government Exhibit 724.      And do you recognize this again as

 4     an email chain involving Mr. Rousseau; this one with Mr. Tan

 5     involving financial information during the relevant time

 6     period?

 7     A.   Yes.

 8     Q.   All right.

 9                  MR. MULRYNE:   The government moves to admit

10     Government Exhibit 724.

11                  MR. KENNER:    No objection.

12                  THE COURT:    All right.   I'll admit 724 without

13     objection.

14     Q.   All right.

15                  MR. MULRYNE:   We're going to -- there we go.

16     Thank you, Ms. Orozco.

17     Q.   So, Agent Heuchling, we see an email from Mr. Rousseau

18     you saw moments ago he's ultimately sending on to Mr. Tan;

19     is that right?

20     A.   Yes, that's right.

21     Q.   Okay.   And this reads "90 goes to," and then we see a

22     listing there for Wells Fargo Bank, PJ 2012 Holdings.

23                  What is PJ 2012 Holdings?

24     A.   PJ 2012 Holdings is an account that Mr. Michel

25     established I think in June 2012.
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 135 of 168    135


 1     Q.   All right.    So 90 goes to PJ 2012 Holdings.

 2                  Below that we see where it reads "6 to this

 3     one..."     And then we see some account information there.          Do

 4     you recognize what that is in reference to?

 5     A.   Yes.    Mr. Michel maintained a personal account or an

 6     account in his own name at Citibank, and that would be his

 7     account.

 8     Q.   All right.

 9                  MR. MULRYNE:   If we could just drop down, I

10     believe there's a line on the next page.           If we just could

11     take a quick look at that, please.

12     Q.   And then here it reads for the 9, "I will get u address

13     to send by Wednesday...     Proceed with above..."

14                  Did I read that correctly?

15     A.   You did.

16     Q.   All right.

17                  MR. MULRYNE:   If you could pull back, and if we

18     could go back to the first page of this exhibit, and if we

19     can blow up the top portion, please.

20                  Thank you, Ms. Orozco.

21     Q.   So we see Mr. Tan then responds to Mr. Rousseau on

22     August 1, 2012.     And what is it that Mr. Tan writes?

23     A.   Mr. Tan writes, "All instructions out today, 90 value

24     date 6, Aug. 6 value date 2 Aug.        Awaiting info for 9."

25     Q.   All right.    And then Mr. Rousseau responds to Mr. Tan,
 Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 136 of 168   136


 1     "Yes for the 9 by tomorrow or Thursday latest"; is that

 2     right?

 3     A.   That's right.

 4     Q.   Agent Heuchling, I'm going to reference back to this in

 5     a moment, but before I do, let me just show you lastly

 6     Government Exhibit 725, lastly for this portion at least.

 7                   MR. MULRYNE:    If we can just zoom into the whole

 8     thing.

 9     Q.   Is this an email exchange between Mr. Tan and

10     Mr. Rousseau, again, referring to money?

11     A.   It is.

12     Q.   All right.

13                   MR. MULRYNE:    Move to admit Government Exhibit

14     725, Your Honor.

15                   MR. KENNER:    No objection.

16                   THE COURT:    All right.   I'll admit 725.

17                   MR. MULRYNE:    That's right, Your Honor.

18     Q.   All right.    Agent Heuchling, we see at the bottom August

19     2, 2012, Mr. Rousseau writes:        "Is the package 100% with

20     FedEx on the way...        Francois, is getting anxious, thinking

21     of canceling event... Just got that word."

22                   Do you see that?

23     A.   I do.

24     Q.   How is it that Mr. Tan responds on the same day?

25     A.   Mr. Tan responds, "A promise is a promise.            We have
 Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 137 of 168   137


 1     already got the fedex out.        If they receive the fedex and

 2     cancel THAT IS JUST COMPLETELY NOT ON!"

 3     Q.   All right.    And then Mr. Rousseau responds?

 4     A.   "Believe me, I told them... No sweat..."

 5                 MR. MULRYNE:   All right.      Thank you, Ms. Orozco.

 6                 If we can pull up what's been previously admitted

 7     as Government Exhibit 667.

 8     Q.   And, Agent Heuchling, we just went through a number of

 9     emails, and I want to, again, turn your attention back to

10     some financial transactions.

11                 So we're looking here again at one of these

12     financial summaries.     Based on your knowledge and

13     understanding, does the information here appear accurate and

14     correct?

15     A.   It does.

16     Q.   So we saw moments ago an email referencing 6.            We saw an

17     email referencing 9.     We'll talk about 9 more in a moment.

18                 But in terms of 6, did the defendant receive

19     $600,000 from abroad on or about August 2, 2012?

20     A.   Yes.   On August 2, 2012, the defendant received into his

21     personal Citibank account $600,000 from a foreign account in

22     the name of Alsen Chance Holding.

23     Q.   All right.    And who was the signatory of the Alsen

24     Chance Holding account?

25     A.   Eric Tan or Mr. Tan was the signatory on the Alsen
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 138 of 168     138


 1     Chance account.

 2     Q.   And based on your investigation and review of the

 3     records and the evidence, who was the individual that was

 4     the primary beneficiary of the Alsen Chance account?

 5                 MR. KENNER:   Objection, Your Honor; calls for a

 6     legal conclusion.

 7                 THE COURT:    If you could reword the way we've done

 8     with some of the others.

 9     Q.   Based on your investigation and review of the evidence,

10     Agent Heuchling, was there an individual who was the primary

11     recipient of those funds?

12     A.   Yes.   Based on my review of the financial transactions,

13     Mr. Low was the primary recipient or beneficial recipient of

14     the funds that float out of the Alsen Chance account.

15     Q.   So, Agent Heuchling, here $600,000 from Alsen Chance to

16     the defendant.     What does the defendant do with a portion of

17     this money soon after receipt?

18     A.   So the defendant transfers those funds to straw donors,

19     and those straw donors subsequently donate to the Obama

20     Victory Fund.

21     Q.   And so we see a few individuals here named:           Randall

22     Toussaint, Richard Kromka, and Joseph Ronquillo.            What, if

23     anything, would the individuals, the straw donors, the

24     conduits whom you identified; how did the monies that they

25     received from the defendant compare to the monies that they
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 139 of 168       139


 1     then provided to the Obama Victory Fund?

 2     A.   So in almost every instance when the defendant provided

 3     money to the straw donors, the straw donors provided the

 4     exact same amount of money to the Obama Victory Fund.                So if

 5     they received $40,000, they gave $40,000 to the victory

 6     fund.

 7     Q.   So we see a few individuals listed on their chart.               Were

 8     there other individuals, other straw donors or conduits, who

 9     also received money from the defendant around this time?

10     A.   Yes, around this time the defendant gave approximately

11     $375,000 to straw donors.

12     Q.   All right.

13                MR. MULRYNE:    I want to pull up what's been

14     previously admitted as Government Exhibit 668.

15     Q.   So, Agent Heuchling, focusing first on the top portion

16     of 668, can you tell us what happens on or about August 7,

17     2012?

18     A.   On August 7, 2012, Mr. Michel receives $9 million from

19     that same foreign account, Alsen Chance Holdings.            This time

20     the money goes into the defendant's PJ 2012 account.

21     Q.   And I may have asked you this earlier, but what is PJ

22     2012 Holdings?

23     A.   PJ 2012 Holdings was an account that Mr. Michel had

24     established as a holding company for himself.

25     Q.   All right.    And soon after the defendant received the $9
 Case 1:19-cr-00148-CKK     Document 322   Filed 11/07/23   Page 140 of 168   140


 1     million from Alsen Chance, what did he do with a portion of

 2     that money?

 3     A.     He takes almost $100,000 of that money and first

 4     transfers it to some of his own personal accounts, but then

 5     gives hundreds of thousands of dollars of those funds to

 6     straw donors, who then subsequently donate to the Obama

 7     Victory Fund.

 8     Q.     All right.    And same question as I asked you before.

 9     Other than the individuals we see listed on this chart --

10     Marc Richard Hilaire, David Sugarman, Tysa Wright -- were

11     there other conduits or straw donors around this time who

12     received money from the defendant and then contributed it to

13     OVF?

14     A.     Yes, there were.    This chart and the one we saw

15     previously are not inclusive of all the straw donors who

16     received funds from the defendant at this time.

17                  MR. MULRYNE:    If I could show you what's been

18     marked as Government Exhibit 508 for identification.

19     Q.     All right.    Agent Heuchling, is this an email involving

20     Mr. Rousseau, Mr. Tan, concerning the fundraising event?

21     A.     Yes, it is.

22                  MR. MULRYNE:    Move to admit Government Exhibit

23     508.

24                  MR. KENNER:    No objection.

25                  THE COURT:    All right.     I'll admit 508 without
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 141 of 168     141


 1     objection.

 2     Q.   So, Agent Heuchling, here we see on August 10, 2012, an

 3     email from Mr. Rousseau to Mr. Tan reading:           "The confirmed

 4     date is September 11th and September 12th.           Private thing on

 5     the 11th, working on plan 2 get senior at meeting with u on

 6     the 11th"; is that right?

 7     A.   That's correct.

 8     Q.   All right.    So we see a reference here to "working on

 9     plan 2 get senior at meeting with u."

10                  To your knowledge, did Mr. Tan ever attend any

11     sort of campaign fundraising event?

12     A.   No.   Mr. Tan never attended, nor have I seen any

13     evidence that it was ever contemplated or considered that

14     Mr. Tan would attend a campaign event.

15     Q.   All right.    And this message, again, that's directed to

16     Mr. Tan that says "working on plan 2 get senior at meeting

17     with u."

18                  "Get senior," any evidence through your

19     investigation that Mr. Tan had a relative that attended or

20     attempted to attend a fundraising event?

21     A.   No.

22                  THE COURT:   You're starting to speed up.         Slow

23     down.

24                  MR. MULRYNE:   Yes, Your Honor.

25                  If we could pull up Government Exhibit 258.
 Case 1:19-cr-00148-CKK   Document 322    Filed 11/07/23   Page 142 of 168    142


 1     Q.   So, Agent Heuchling, as part of your investigation

 2     during the case, were documents obtained from Frank White?

 3     A.   Yes, they were.

 4     Q.   And were some of those documents provided by Mr. White

 5     to the government?

 6     A.   Yes, that's correct.

 7     Q.   And could you also describe how certain other records or

 8     documents from Mr. White were captured by law enforcement?

 9     A.   So we tried to capture some information that was located

10     on Mr. White's cell phone.        Unfortunately it wasn't able to

11     be extracted by better means so we used a screenshot method

12     to extract those images, which is also a standard method law

13     enforcement uses to capture information from cell phones.

14     Q.   All right.    So I'm showing you here what's been marked

15     for identification Government Exhibit 258.            Is this one of

16     those documents that was captured in the manner you just

17     described?

18     A.   Yes, it is.

19     Q.   And is this a message involving Mr. White and Mr. -- and

20     the defendant?

21     A.   Yes, that's correct.

22     Q.   All right.    Does this involve the fundraising event in

23     September 2012?

24     A.   Yes.

25                  MR. MULRYNE:   Your Honor, move to admit Government
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 143 of 168     143


 1     Exhibit 258.

 2                  MR. KENNER:    No objection.

 3                  THE COURT:    I'll admit 258 without objection.

 4     Q.   So, Agent Heuchling, here you see the top of the

 5     message.   Mr. White to Mr. Michel, the defendant, says, "New

 6     invite with w/5:30 start time"; is that right?

 7     A.   That's correct.

 8     Q.   And then what does Mr. White write there?

 9     A.   Mr. White writes:      "Send this to your folks.       We start

10     at 530 pm.    If they are not there by 6pm they won't get in."

11     And then he provides the address for the event.

12                  MR. MULRYNE:    If we could scroll down to Page 2 of

13     this exhibit.

14     Q.   And what is it that we see here that was attached to

15     that message?

16     A.   This is the invitation to the September fundraising

17     event we've been discussing.       It's very similar to the

18     invite we saw previously for the June Miami fundraiser.

19     Q.   And, again, who is the guest of honor, so to speak, at

20     this event?

21     A.   The guest of honor is the then-president, Barack Obama.

22                  MR. MULRYNE:    And could we scroll to Page 3 of

23     this exhibit.

24     Q.   And I know that may be difficult to see, but, again,

25     what is this document that was attached to that email to the
 Case 1:19-cr-00148-CKK    Document 322    Filed 11/07/23   Page 144 of 168   144


 1     defendant?

 2     A.     So the defendant received -- again received the donor

 3     form with the similar information and restrictions on who

 4     can and cannot donate to the campaign as part of that

 5     invitation.

 6     Q.     All right.

 7                   MR. MULRYNE:    If we can go to Government Exhibit

 8     509.

 9     Q.     And I understand the attachment for identification, and

10     I know the attachment there we just viewed was a bit

11     difficult.

12                   This exhibit, 509, was this a document obtained

13     from the defendant himself during this investigation?

14     A.     Yes.   That's right.    The defendant provided this

15     document to the government.

16     Q.     All right.

17                   MR. MULRYNE:    Move to admit Government Exhibit

18     509.

19                   MR. KENNER:     No objection.

20                   THE COURT:    All right.    I'll admit it without

21     objection.

22     Q.     Agent Heuchling, is Government Exhibit 509 largely the

23     same -- is it the same document that we saw that was

24     attached to that email from Mr. White to the defendant in

25     the previous exhibit?
 Case 1:19-cr-00148-CKK   Document 322   Filed 11/07/23   Page 145 of 168   145


 1     A.   Yes.

 2     Q.   All right.    And so here again we see the fundraising

 3     event set for September 14, 2012.

 4                  Just very briefly, at the bottom we see a

 5     reference to an Eric Feigenbaum.        Do you know; who is Eric

 6     Feigenbaum?

 7     A.   Yes.    Eric Feigenbaum was a director for fundraising for

 8     the Mid-Atlantic region of the Obama campaign for 2012.

 9     Q.   Okay.

10                  MR. MULRYNE:   And if we go to the second page of

11     this exhibit.

12     Q.   And so, Agent Heuchling, you testified moments ago, is

13     this the donor form?

14     A.   Yes.

15     Q.   And how does this compare generally to the donor form

16     that we reviewed earlier for the June Miami fundraising

17     event?

18     A.   In all material instances, it's very similar to the

19     donor form we looked at before.

20     Q.   And this donor form that the defendant received from Mr.

21     White, does this have similar advisements about the foreign

22     national prohibition, the prohibition against conduit

23     contributions?

24     A.   Yes.    It has the same advisements as the previous donor

25     form that we looked at.
 Case 1:19-cr-00148-CKK    Document 322   Filed 11/07/23   Page 146 of 168   146


 1                THE COURT:     At some point -- we're close to 1:00,

 2     so just so that you plan on.        Is this a good time, or after

 3     the next document?

 4                MR. MULRYNE:     This is probably a good time, Your

 5     Honor, if it meets with your approval.

 6                THE COURT:     All right.     Then we'll break for lunch

 7     at this point.

 8                And don't talk about the case.           Leave your

 9     notebooks there.      And we'll see back in the jury room at

10     2:00, and we'll come and bring you out.

11                (Lunch recess taken)

12

13                  CERTIFICATE OF OFFICIAL COURT REPORTER

14

15                        I, LISA A. MOREIRA, RDR, CRR, do hereby

16     certify that the above and foregoing constitutes a true and

17     accurate transcript of my stenographic notes and is a full,

18     true and complete transcript of the proceedings to the best

19     of my ability.

20         Dated this 30th day of March, 2023.

21

22
                                          /s/Lisa A. Moreira, RDR, CRR
23                                        Official Court Reporter
                                          United States Courthouse
24                                        Room 6718
                                          333 Constitution Avenue, NW
25                                        Washington, DC 20001
          Case 1:19-cr-00148-CKK                     Document 322           Filed 11/07/23          Page 147 of 168                147



             $             16 [1] - 77:17                119:17, 119:18,          25th [3] - 123:7,          4:30 [1] - 96:9
                           16633 [1] - 1:22              120:23, 121:12,           123:19, 123:23            4pm [1] - 116:12
$1 [2] - 118:2, 118:13     16th [1] - 118:21             123:14, 123:16,          26 [2] - 77:17, 116:15
$100 [2] - 56:15, 86:2                                   123:18, 123:21,
                           17 [1] - 77:17                                         267 [1] - 78:9                         5
$100,000 [2] - 121:22,     18 [2] - 39:24, 121:12        126:24, 127:3,           26th [8] - 102:1, 102:5,
 140:3                                                   127:4, 127:18,                                      5 [7] - 38:22, 38:24,
                           19-cr-148-1 [1] - 4:3                                   107:25, 108:18,
$18 [1] - 68:25                                          128:20, 129:20,                                      54:3, 55:5, 55:6,
                           190 [1] - 77:24                                         116:12, 116:17,
$20 [2] - 60:3, 86:17                                    129:24, 129:25,                                      112:13, 116:19
                           192 [1] - 77:18                                         123:25, 124:1
$200 [1] - 105:1                                         134:22, 134:23,                                     5-10 [1] - 93:25
                           193 [1] - 77:24                                        27 [2] - 1:4, 123:21
$375,000 [1] - 139:11                                    134:24, 134:25,                                     502 [3] - 78:4, 122:17,
                           195 [1] - 77:24                                        270 [1] - 78:19
$40,000 [6] - 104:7,                                     135:1, 135:22,                                       123:6
                           197 [1] - 77:18                                        27th [3] - 123:7,
 121:2, 121:12,                                          136:19, 137:19,                                     503 [5] - 124:11,
                           198 [1] - 77:18                                         123:24, 133:3
 121:20, 139:5                                           137:20, 139:17,                                      124:13, 124:20,
                           19th [1] - 118:21                                      289 [1] - 77:25
$600,000 [3] - 137:19,                                   139:18, 139:20,                                      124:23, 125:5
                           1:00 [2] - 11:12, 146:1                                29 [1] - 95:13
 137:21, 138:15                                          139:22, 139:23,                                     504 [6] - 124:14,
                           1:19-cr-00148-CKK-1                                    290 [5] - 91:12, 92:15,
$70 [1] - 68:25                                          141:2, 142:23,                                       124:22, 124:24,
                            [1] - 1:3                                              92:18, 94:19, 100:13
$75,800 [1] - 104:9                                      145:3, 145:8                                         125:2, 125:5, 125:17
                           1M [1] - 118:4                                         291 [4] - 107:13,
                                                        2015 [3] - 61:24, 85:1,                              505 [6] - 124:14,
                           1Malaysia [1] - 84:4                                    107:20, 107:23,
                                                         89:12                                                124:20, 124:24,
              '            1MDB [12] - 20:5,                                       108:17
                                                                                                              125:2, 125:5, 126:2
                                                        2017 [16] - 56:14,        294 [6] - 110:21,
'5 [1] - 124:22             62:22, 65:20, 66:7,
                                                         57:16, 57:20, 57:22,                                508 [3] - 140:18,
                            68:18, 84:5, 84:8,                                     111:5, 111:7,
'90s [1] - 58:25                                         58:5, 62:11, 62:14,                                  140:23, 140:25
                            84:18, 90:7, 114:7,                                    111:10, 115:12,
                                                         66:2, 66:10, 66:22,                                 509 [4] - 144:8,
                            114:14, 114:15                                         117:6
              /                                          68:25, 69:6, 85:18,      295 [2] - 77:25
                                                                                                              144:12, 144:18,
                                                         85:24, 85:25, 86:12                                  144:22
/s/Lisa [1] - 146:22                    2                                         296 [2] - 77:25
                                                        2018 [2] - 70:14, 89:16                              513 [1] - 77:19
                                                                                  298 [1] - 78:1
                           2 [22] - 62:8, 62:12,        2019 [3] - 71:6, 72:2,                               517 [1] - 77:19
             1              103:5, 108:16,               89:16
                                                                                  2:00 [2] - 11:12,
                                                                                                             518 [1] - 78:10
                                                                                   146:10
1 [12] - 77:16, 92:25,      111:9, 112:6,               202 [4] - 1:14, 1:19,                                520 [1] - 78:10
 96:17, 96:19,              115:12, 115:22,              2:4, 2:9                                            521 [1] - 78:10
 117:17, 117:20,            117:17, 117:22,             2023 [3] - 1:4, 9:11,
                                                                                                3            526 [1] - 77:19
 118:22, 119:18,            125:16, 132:21,              146:20                   3 [2] - 123:5, 143:22      527 [1] - 78:1
 122:8, 133:14,             135:24, 136:19,             20530 [1] - 1:14          301 [6] - 101:2, 101:3,    53 [1] - 77:17
 133:15, 135:22             137:19, 137:20,             20th [2] - 129:11,         101:12, 101:16,           530 [1] - 143:10
1.1 [1] - 61:20             141:5, 141:9,                130:4                     101:19, 107:8             54 [1] - 77:24
10 [6] - 77:16, 101:20,     141:16, 143:12              21 [1] - 9:11             302 [8] - 101:2,           540 [1] - 78:1
 106:25, 107:10,           20 [2] - 86:24, 128:19       217 [1] - 77:24            101:12, 101:16,           547 [1] - 78:1
 107:25, 141:2             20001 [2] - 2:8, 146:25      21st [2] - 39:20, 39:21    102:9, 102:10,            548 [1] - 78:19
100% [1] - 136:19          20004 [1] - 2:4              224 [1] - 77:24            102:18, 102:22,           55 [1] - 77:24
1016 [1] - 1:13            20005 [1] - 1:18             233 [1] - 77:24            103:6                     550 [1] - 78:20
10:00 [1] - 42:8           2008 [1] - 93:16             234 [1] - 77:25           30th [1] - 146:20          551 [1] - 78:4
10th [1] - 107:8           2012 [84] - 19:18,           235 [2] - 78:4, 78:5      318 [1] - 77:18            554 [1] - 77:19
111 [1] - 77:24             56:14, 57:16, 57:17,        239 [2] - 78:4, 78:5      333 [2] - 2:8, 146:24      556 [1] - 77:19
11th [3] - 141:4, 141:5,    57:18, 58:3, 58:10,         23rd [1] - 133:1          354-3187 [1] - 2:9         559 [1] - 78:1
 141:6                      59:1, 59:6, 59:22,          24 [1] - 93:7             370 [1] - 77:18            56 [1] - 77:17
12 [4] - 15:18, 24:4,       60:2, 62:13, 68:24,         242 [2] - 78:4, 78:9                                 564 [1] - 78:1
 29:5, 77:16                70:19, 72:3, 72:25,         243 [1] - 78:9                          4            566 [1] - 78:3
12:00 [1] - 99:19           74:22, 85:16, 85:21,        244 [1] - 77:25                                      567 [1] - 78:10
                            86:15, 86:16, 89:10,                                  4 [6] - 57:1, 63:2,
12th [1] - 141:4                                        245 [1] - 78:9                                       568 [1] - 78:10
                            89:20, 90:13, 90:18,                                   112:11, 116:11,
13 [3] - 15:20, 80:16,                                  246 [1] - 78:9                                       570 [1] - 77:19
                            91:16, 92:11, 93:7,                                    117:21
 111:15                                                 247 [4] - 77:3, 77:7,                                584 [2] - 78:10, 78:16
                            93:17, 95:13,                                         4.5 [1] - 84:7
1301 [1] - 1:13                                          77:9, 77:25                                         585 [2] - 78:15, 78:17
                            100:21, 100:24,                                       424 [1] - 77:18
14 [3] - 15:21, 77:17,                                  249 [1] - 77:18                                      586 [1] - 78:3
                            101:20, 101:24,                                       437 [1] - 77:18
 145:3                                                  24th [1] - 93:21                                     587 [1] - 78:3
                            102:23, 102:24,                                       440 [1] - 78:3
1400 [1] - 1:18                                         25 [3] - 123:14,                                     589 [1] - 78:3
                            104:12, 104:17,                                       441 [1] - 78:1
15 [6] - 15:17, 15:21,                                   123:16, 123:18                                      591 [1] - 77:19
                            106:8, 106:25,                                        456 [1] - 77:18
 117:10, 119:17,                                        252 [1] - 78:9                                       597 [1] - 77:19
                            107:10, 107:25,                                       473 [1] - 77:18
 119:18, 120:22                                         253 [1] - 78:9                                       598-2231 [1] - 1:14
                            111:15, 116:16,                                       4:00 [3] - 37:2, 37:7,
15th [2] - 118:21,                                      258 [4] - 141:25,                                    598-2816 [1] - 1:19
                            117:10, 118:22,                                        116:18
 122:8                                                   142:15, 143:1, 143:3                                5:00 [1] - 36:24
          Case 1:19-cr-00148-CKK                     Document 322            Filed 11/07/23          Page 148 of 168                 148



                            135:24, 136:1,              accounting [1] -            107:19, 107:22,            110:20, 111:13,
             6
                            137:17, 139:18,              116:10                     108:12, 111:5,             113:7, 113:24,
6 [12] - 112:17, 112:19,    139:25                      accounts [11] - 65:6,       111:7, 124:20,             114:17, 117:9,
 113:25, 114:18,           90 [3] - 134:21, 135:1,       65:7, 69:21, 70:3,         125:4, 128:8,              118:20, 120:8,
 116:25, 129:15,            135:23                       85:14, 89:2, 110:9,        128:11, 131:24,            120:18, 121:6,
 129:24, 135:2,            90's [1] - 96:7               110:11, 121:1,             131:25, 132:3,             121:19, 122:18,
 135:24, 137:16,           91436 [1] - 1:23              122:10, 140:4              134:9, 134:12,             123:8, 124:12,
 137:18                    951 [2] - 9:10, 39:24        accurate [5] - 78:22,       136:13, 136:16,            125:11, 126:3,
6/26 [1] - 102:1           99 [1] - 77:18                97:15, 97:16,              140:22, 140:25,            126:8, 126:23,
600 [1] - 78:20            995-1195 [1] - 1:23           137:13, 146:17             142:25, 143:3,             128:2, 128:18,
601 [1] - 78:20            9:13 [1] - 1:4               accurately [1] - 119:11     144:17, 144:20             129:16, 130:15,
64 [1] - 77:17             9:15 [1] - 10:23             accused [3] - 57:1,        admitted [21] - 14:23,      131:20, 132:7,
641 [1] - 2:3              9:30 [1] - 10:23              63:1, 67:8                 15:3, 19:5, 25:25,         133:9, 134:2,
651 [1] - 77:23                                         acquainted [1] - 18:4       68:21, 79:2, 79:4,         134:17, 136:4,
655 [1] - 77:23                                         acronym [2] - 112:2,        82:10, 82:22, 82:25,       136:18, 137:8,
                                        A                                           91:13, 102:9, 106:7,       138:10, 138:15,
657 [1] - 77:23                                          112:6
659 [1] - 78:3             a.m [1] - 1:4                Act [1] - 80:7              106:10, 119:7,             139:15, 140:19,
662 [1] - 77:23            Aabar [1] - 114:5            act [2] - 66:15, 73:2       121:8, 121:9,              141:2, 142:1, 143:4,
663 [1] - 77:23            abetted [1] - 20:6           acted [1] - 110:6           122:17, 137:6,             144:22, 145:12
664 [1] - 78:20            abetting [1] - 21:1          acting [6] - 6:1, 40:6,     139:14                    AGENT [2] - 3:3, 79:11
666 [4] - 78:20, 119:8,    ability [1] - 146:19          40:10, 40:12, 40:16,      advance [5] - 8:25,        agent's [1] - 100:8
 119:11, 121:18            able [17] - 7:24, 8:25,       52:4                       12:7, 38:16, 43:13,       agents [4] - 66:16,
667 [1] - 137:7             9:18, 14:8, 38:2,           action [2] - 61:18, 97:3    65:15                      68:21, 81:6, 104:19
668 [2] - 139:14,           47:12, 50:13, 52:7,         Action [1] - 1:3           advice [2] - 33:5,         ago [12] - 83:1, 88:10,
 139:16                     55:20, 57:4, 62:12,         actions [5] - 25:17,        111:18                     92:9, 100:12,
67 [1] - 77:17              91:24, 93:3, 123:8,          62:17, 88:18, 89:17,      advise [1] - 44:6           106:14, 114:18,
6718 [2] - 2:7, 146:24      123:11, 124:4,               89:18                     advisement [3] -            115:16, 121:19,
680 [1] - 78:20             142:10                      actively [1] - 126:19       104:13, 105:24,            129:23, 134:18,
686 [1] - 78:19            above.. [1] - 135:13         activities [6] - 20:8,      115:17                     137:16, 145:12
689 [1] - 123:2            abroad [2] - 121:14,          89:9, 109:10,             advisements [4] -          agree [4] - 24:5, 43:18,
693 [1] - 78:19             137:19                       126:12, 126:16,            104:14, 106:24,            45:24, 54:19
694 [1] - 77:24            absolutely [2] - 6:5,         126:19                     145:21, 145:24            agreeable [1] - 54:21
6pm [1] - 143:10            71:16                       activity [1] - 113:22      advising [1] - 106:20      agreed [9] - 20:25,
6th [2] - 129:23,          absorb [1] - 100:1           acts [1] - 70:22           advisor [5] - 96:5,         46:3, 47:18, 51:25,
 129:25                    absorbing [1] - 95:19        actual [4] - 26:15,         115:25, 116:4,             52:13, 60:20, 65:21,
                           Abu [3] - 114:6, 114:8,       65:1, 88:8, 98:10          116:9, 127:16              66:15, 67:9
                            130:20                                                 affiliated [1] - 98:22     agreement [1] - 46:12
             7             AC [3] - 122:25, 123:2
                                                        actuality [1] - 72:19
                                                                                   affiliation [1] - 130:18   ahead [12] - 10:10,
                                                        addition [6] - 29:6,
7 [3] - 77:16, 139:16,     accept [7] - 24:14,                                     afternoon [1] - 36:23       53:1, 73:24, 74:11,
                                                         61:15, 73:9, 80:18,
 139:18                     33:3, 61:6, 97:9,                                      afternoons [1] - 12:1       77:22, 80:11, 83:9,
                                                         82:4, 89:21
71 [2] - 121:5, 121:9       97:17, 104:17,                                         age [1] - 32:20             84:19, 98:20, 100:7,
                                                        additional [4] - 9:5,
724 [3] - 134:3,            106:21                                                 agency [2] - 63:13,         110:19, 120:15
                                                         34:25, 61:17, 66:17
 134:10, 134:12            accepted [1] - 80:3                                      105:21                    aid [2] - 16:13, 34:25
                                                        additionally [1] -
725 [3] - 136:6,           access [4] - 57:3,                                      agent [12] - 9:9, 21:1,    aided [1] - 20:6
                                                         40:15
 136:14, 136:16             57:7, 63:15, 68:4                                       40:13, 57:9, 67:11,       aiding [1] - 21:1
                                                        address [8] - 93:11,
726 [2] - 128:1, 128:8     accordance [1] -                                         72:19, 73:3, 74:3,        Al [9] - 113:25, 114:4,
                                                         93:12, 95:10,
728 [3] - 131:19,           105:8                        104:25, 105:10,            74:13, 79:21, 79:23        114:5, 114:23,
 131:25, 132:3             according [2] - 33:10,        116:13, 135:12,           Agent [71] - 76:1,          125:19, 125:22,
731 [1] - 77:24             104:3                        143:11                     79:14, 79:20, 82:3,        126:6, 126:7, 130:20
733 [1] - 77:24            account [22] - 95:4,         administration [7] -        82:13, 83:1, 83:11,       Al-Husseiny [7] -
735 [3] - 82:8, 82:13,      115:24, 116:1,               20:2, 20:7, 20:20,         84:21, 86:11, 87:15,       114:4, 114:5,
 82:18                      117:21, 119:19,              21:2, 68:3, 126:11,        87:24, 88:16, 89:7,        114:23, 125:19,
                            119:24, 119:25,              126:15                     91:14, 92:9, 93:3,         126:6, 126:7, 130:20
             8              120:19, 134:24,             admissibility [3] -         93:8, 94:2, 94:22,        album [1] - 58:25
                            135:3, 135:5, 135:6,         45:12, 45:23, 78:24        95:14, 96:8, 96:16,       alerts [1] - 69:7
818 [1] - 1:23              135:7, 137:21,              admissible [3] - 26:10,     96:23, 98:21,             allegations [4] - 6:4,
888-2728 [1] - 2:4          137:24, 138:1,                                          100:12, 100:21,
                                                         26:14, 44:3                                           84:25, 85:4, 126:10
                            138:4, 138:14,              admit [28] - 78:25,         101:3, 101:19,            alleged [4] - 20:4,
             9              139:19, 139:20,              82:23, 92:15, 92:18,       103:17, 107:24,            20:12, 20:14, 21:7
9 [8] - 77:16, 135:12,      139:23                       101:12, 101:15,            108:16, 108:23,           allegedly [2] - 19:21,
          Case 1:19-cr-00148-CKK                     Document 322           Filed 11/07/23         Page 149 of 168                   149



 62:19                     anxious [1] - 136:20          99:8, 101:24, 112:4,      126:15                    behalf [7] - 4:6, 4:12,
alleges [1] - 20:24        anyway [1] - 130:9            113:12, 114:13,                                      6:1, 6:2, 38:16, 40:6,
allocated [1] - 106:13     apologize [1] - 59:8          124:7, 130:22                         B              56:18
allow [10] - 16:2,         appear [4] - 24:22,          assume [4] - 19:10,                                  behind [1] - 125:22
                                                         48:7, 48:8, 92:1         background [4] -
 21:12, 40:8, 49:23,        36:11, 64:19, 137:13                                                             Bekkadem [3] - 116:5,
                                                                                   17:20, 18:3, 18:15,
 64:12, 76:9, 107:2,       APPEARANCES [2] -            assuming [2] - 4:23,                                  116:7, 116:8
                                                                                   18:17
 108:12, 120:15,            1:11, 2:1                    13:24                                               believability [1] -
                                                                                  Badawy [1] - 126:7
 120:17                    applies [1] - 24:13          Atlantic [1] - 145:8                                  24:20
                                                                                  badge [2] - 11:3, 11:6
allowed [6] - 40:24,       apply [1] - 24:14            atrium [1] - 30:15                                   believes [1] - 26:10
 41:5, 41:6, 60:13,                                                               badges [1] - 13:2
                           appreciate [3] - 39:15,      Attached [1] - 102:4                                 belonged [1] - 93:12
 104:15, 108:8                                                                    ban [1] - 34:18
                            50:24, 100:3                attached [5] - 43:21,                                below [15] - 96:8,
almost [5] - 61:15,                                      106:24, 143:14,          bank [16] - 65:7, 69:9,
                           appreciates [1] -                                                                  96:14, 102:4,
 62:8, 67:22, 139:2,                                     143:25, 144:24            69:12, 69:15, 69:19,
                            133:5                                                                             104:10, 105:3,
 140:3                                                                             69:20, 69:22, 69:23,
                           approach [1] - 79:9          attachment [6] -                                      105:23, 106:9,
Alon [2] - 4:11, 22:8                                                              70:2, 70:4, 70:6,
                           approached [2] - 42:2,        102:11, 106:23,                                      106:13, 116:19,
                                                                                   70:8, 80:13, 88:24
ALON [1] - 1:21             71:2                         107:5, 107:25,                                       117:15, 123:2,
                                                         144:9, 144:10            Bank [1] - 134:22           128:22, 132:13,
alone [3] - 24:18,         appropriate [1] - 26:2
 24:22, 58:14                                           attempt [3] - 26:23,      banks [7] - 69:4, 69:6,     132:17, 135:2
                           approval [1] - 146:5
                                                         71:13, 86:5               70:9, 70:11, 73:7,        bench [3] - 26:17,
Alsen [8] - 137:22,        area [2] - 30:24, 49:23
                                                                                   75:7, 119:2                26:24, 27:4
 137:23, 137:25,           areas [1] - 51:24            attempted [1] - 141:20
 138:4, 138:14,                                                                   bar [1] - 122:22           beneficial [3] - 110:10,
                           argue [11] - 9:9, 9:12,      attend [7] - 60:19,
 138:15, 139:19,                                         60:20, 124:4, 124:8,     Barack [5] - 19:18,         120:3, 138:13
                            9:17, 9:19, 40:16,
 140:1                                                   141:10, 141:14,           94:5, 100:25,             beneficiary [1] - 138:4
                            41:12, 41:16, 42:9,
alternate [1] - 15:21                                    141:20                    102:17, 143:21
                            55:17, 63:24                                                                     benefit [3] - 86:9,
alternates [4] - 15:18,                                 attended [3] - 127:1,     bargain [1] - 129:10        120:18, 120:20
                           arguing [1] - 73:19
 15:19, 15:23, 54:18                                     141:12, 141:19           barriers [1] - 36:13       benefited [1] - 120:10
                           argument [12] - 9:20,
ambassador [1] -                                        attending [2] - 102:7,    Barry [1] - 116:5          Berhad [1] - 84:4
                            26:9, 40:8, 40:9,
 67:19                                                   112:18                   based [38] - 4:22,         best [4] - 49:25, 62:25,
                            41:23, 42:1, 42:4,
Amendment [4] - 5:8,                                    attention [19] - 11:24,    5:11, 17:7, 19:10,         104:24, 146:18
                            42:5, 42:10, 44:10,
 5:13, 47:8, 52:11                                       13:21, 14:3, 16:6,        29:12, 33:9, 34:16,
                            58:20, 59:12                                                                     bet [1] - 96:10
AMERICA [1] - 1:2                                        16:11, 24:25, 25:9,       35:22, 38:13, 41:4,
                           arguments [3] - 23:19,                                                            better [5] - 12:1,
America [1] - 4:2                                        33:8, 36:1, 36:12,        42:18, 42:20, 46:10,
                            23:20, 40:24                                                                      42:22, 61:19, 78:14,
                                                         36:18, 37:9, 37:11,       50:7, 53:3, 53:4,
American [5] - 9:11,       arise [1] - 12:8                                                                   142:11
                                                         37:13, 38:7, 38:17,       53:15, 64:8, 84:25,
 39:8, 40:2, 40:4,         arrangements [1] -                                                                between [12] - 31:22,
                                                         49:14, 81:5, 137:9        87:9, 90:13, 91:5,
 40:11                      129:6                                                                             60:2, 65:7, 65:25,
                                                        attention's [1] - 36:16    106:1, 110:3, 110:5,
amount [10] - 60:7,        arrived [1] - 123:17                                                               67:14, 88:6, 94:21,
                                                        Attorney [4] - 40:14,      114:3, 116:9,
 69:10, 97:23, 104:8,      arrives [2] - 123:19,                                                              96:5, 123:23,
                                                                                   119:10, 119:20,
 111:18, 115:17,            123:23                       44:13, 67:15, 67:17                                  127:17, 133:4, 136:9
                                                                                   120:1, 120:2, 120:8,
 115:20, 117:20,           arriving [1] - 28:13         attorneys [9] - 22:3,                                beyond [8] - 18:24,
                                                                                   124:3, 137:12,
 117:22, 139:4             article [1] - 81:23           22:8, 22:24, 23:10,                                  21:19, 27:23, 27:24,
                                                                                   138:2, 138:9, 138:12
analysis [1] - 38:12       artist [1] - 81:14            29:19, 30:11, 30:22,                                 28:4, 28:9, 43:11,
                                                                                  basing [1] - 34:13
ancillary [1] - 43:21      as.. [1] - 83:12              31:3, 38:2                                           110:13
                                                                                  basis [3] - 47:8, 52:25,
Angwang [1] - 39:25        Asia [1] - 119:19            Aug [2] - 135:24                                     big [3] - 90:7, 129:7,
                                                                                   91:2
Anne [2] - 4:12, 22:9      aside [1] - 35:18            August [7] - 135:22,                                  130:7
                                                                                  bear [3] - 40:5, 56:16,
annoying [1] - 26:25       assert [3] - 5:8, 5:13,       136:18, 137:19,                                     BIG [3] - 129:13,
                                                                                   123:8
answer [17] - 27:7,         47:12                        137:20, 139:16,                                      132:23, 133:4
                                                         139:18, 141:2            become [1] - 33:1
 27:9, 27:12, 27:13,       assets [2] - 20:4,                                                                billion [3] - 57:1, 63:2,
                                                        automatically [1] -       BEFORE [1] - 1:9
 27:18, 27:19, 70:9,        62:18                                                                             84:7
                                                         15:20                    beforehand [1] - 12:9
 71:25, 72:1, 75:13,       assigned [3] - 80:25,                                                             bit [8] - 5:2, 12:19,
                                                        available [2] - 14:24,    began [1] - 18:8
 76:10, 76:12, 76:17,       81:3, 81:6                                                                        77:20, 80:9, 83:20,
                                                         25:2                     begin [5] - 36:11, 79:7,    94:21, 118:23,
 76:19, 87:12, 91:3,       assist [2] - 20:25,
                                                        Avenue [5] - 1:13,         90:19, 128:25,             144:10
 120:7                      69:16
                                                         1:18, 2:3, 2:8,           132:18                    Blackstone [10] -
answered [1] - 27:11       assistance [1] - 31:18
                                                         146:24                   beginning [11] - 6:13,      119:19, 119:24,
answers [4] - 69:19,       associate [3] - 110:6,
                                                        avoid [3] - 30:16,         7:12, 7:20, 8:19,          119:25, 120:3,
 69:25, 70:2, 117:16        113:22, 114:10
                                                         30:24, 74:9               12:11, 15:20, 17:19,       120:10, 120:18,
anti [1] - 69:8            associated [20] - 6:15,
                                                        awaiting [1] - 135:24      22:14, 36:17, 58:9,        120:19, 120:22,
anti-money [1] - 69:8       18:13, 19:18, 80:12,
                                                        awake [1] - 37:24          89:20                      121:21, 122:9
anticipating [2] - 5:23,    86:20, 90:19, 93:11,                                  begins [2] - 70:14,        blank [3] - 105:3,
 64:3                       95:4, 95:5, 95:11,          aware [5] - 33:1,
                                                                                   104:22                     115:20, 117:17
anticipatory [1] - 7:8      97:7, 97:20, 99:7,           48:15, 54:25, 87:3,
          Case 1:19-cr-00148-CKK                       Document 322           Filed 11/07/23         Page 150 of 168                  150



blanket [4] - 5:13,         burn [1] - 69:2               careful [6] - 24:24,       146:16                    57:23, 58:1, 66:16,
 47:8, 47:11, 52:11         burner [4] - 56:22,            58:19, 63:18, 64:16,     chain [17] - 45:3,         66:19, 67:2, 67:4,
blog [1] - 29:9              72:6, 72:10, 75:11            107:3, 110:16             91:14, 91:18, 94:4,       67:5, 67:7, 67:8,
blow [3] - 102:20,          business [2] - 62:2,          carefully [1] - 40:24      95:8, 95:13, 110:22,      67:10, 67:12, 67:14,
 117:7, 135:19               98:11                        Carlstrom [2] - 4:12,      118:7, 118:17,            67:19, 67:21, 68:9,
BO [3] - 93:24, 94:3,       businesses [2] -               22:9                      131:2, 131:12,            68:11, 68:15, 68:19,
 94:5                        110:9, 110:11                case [93] - 5:10, 8:20,    131:15, 131:21,           72:20, 73:3, 74:24,
bonus [2] - 133:5,          buy [3] - 61:2, 61:13,         9:8, 12:25, 13:15,        132:10, 133:25,           83:25, 86:8, 86:9,
 133:10                      75:11                         15:16, 16:10, 17:7,       134:4                     109:15
bottle [1] - 79:8           buys [1] - 72:6                17:11, 17:12, 17:15,     chambers [4] - 5:5,       choice [1] - 51:16
bottom [12] - 7:5,          buzzer [2] - 11:2,             17:16, 17:24, 18:2,       9:6, 13:4, 13:11         choose [2] - 7:9, 25:12
 92:24, 93:7, 102:18,        13:11                         18:5, 18:8, 18:23,       Chance [8] - 137:22,      chosen [1] - 9:2
 102:22, 111:11,            BY [2] - 79:13, 100:11         18:24, 19:2, 21:10,       137:24, 138:1,           circle [1] - 32:18
 117:7, 128:15,                                            22:14, 22:22, 23:13,      138:4, 138:14,           circumstances [1] -
 131:8, 132:5,                           C                 23:16, 23:17, 23:21,      138:15, 139:19,           8:25
 136:18, 145:4                                             24:13, 24:17, 25:20,      140:1                    circumvent [1] - 74:2
Boulevard [1] - 1:22        CA [1] - 1:23                  25:21, 25:25, 26:8,      chance [3] - 33:25,       cited [3] - 39:19,
box [3] - 15:17,            cameras [1] - 11:3             27:4, 27:19, 27:20,       34:3, 62:14               39:25, 52:7
 102:19, 104:10             campaign [57] - 19:17,         28:14, 28:16, 28:18,     change [1] - 8:11         Citibank [2] - 135:6,
boy [2] - 130:5, 130:17      48:11, 60:7, 60:8,            28:19, 28:21, 29:6,      changed [1] - 72:16        137:21
boys [1] - 129:9             60:18, 61:6, 61:12,           29:8, 29:12, 29:22,      channel [2] - 65:4,       citizen [14] - 67:5,
                             61:22, 70:13, 70:20,          29:25, 30:4, 30:6,        75:3                      67:9, 74:24, 83:14,
BRB [7] - 115:23,
                             71:9, 71:15, 75:3,            30:12, 30:13, 30:20,     characterize [1] -         84:1, 106:9, 109:22,
 115:24, 119:15,
                             86:19, 86:25, 88:7,           31:1, 31:4, 31:15,        18:11                     112:20, 112:23,
 119:16, 119:18,
                             88:9, 90:20, 91:8,            32:2, 32:6, 32:22,       charge [4] - 6:5, 28:7,    112:25, 113:6,
 120:22
                             91:10, 91:18, 93:17,          33:5, 33:7, 33:14,        28:11, 28:13              114:9, 114:16,
break [19] - 5:23,
                             94:9, 96:25, 97:5,            33:18, 33:24, 35:14,     charged [7] - 21:20,       114:20
 12:16, 12:23, 14:4,
                             97:19, 97:21, 97:22,          35:20, 35:25, 36:5,       28:6, 72:21, 73:10,      citizenship [3] -
 27:1, 36:14, 36:18,
                             98:2, 98:6, 98:24,            37:25, 38:1, 38:7,        73:14, 84:12, 84:17       112:24, 113:3, 113:5
 36:20, 36:22, 36:23,
                             99:5, 101:23,                 38:10, 38:11, 38:12,     charges [7] - 18:11,      City [1] - 90:8
 37:21, 38:19, 43:3,
                             101:24, 103:13,               38:16, 38:17, 39:13,      18:18, 19:9, 21:12,
 58:3, 99:19, 99:24,                                                                                          civil [2] - 62:16, 69:17
                             103:18, 103:24,               51:5, 55:9, 56:12,        22:1, 73:9, 86:5
 146:6                                                                                                        claiming [2] - 45:5,
                             104:15, 105:8,                56:20, 64:4, 71:17,
breaking [1] - 73:17                                                                charging [1] - 21:10       71:23
                             106:2, 106:20,                72:8, 73:25, 74:20,
breaks [4] - 10:20,                                                                 charitable [1] - 112:4    claims [8] - 19:11,
                             106:22, 107:15,               75:13, 81:5, 85:3,
 10:21, 12:4, 12:12                                                                 charities [1] - 112:4      19:16, 19:20, 19:24,
                             110:25, 126:18,               90:16, 99:22,
breathing [1] - 130:7                                                               CHARLES [2] - 2:2,         20:5, 20:10, 20:16,
                             127:5, 127:16,                130:11, 142:2, 146:8
Brennan [1] - 79:18                                                                  2:2                       21:4
                             127:23, 128:5,               case-in [1] - 64:4
bribes [2] - 80:3, 80:8                                                             Charles [2] - 4:11,       clandestine [2] - 68:8,
                             129:20, 129:21,              case-in-chief [2] -
brief [2] - 23:5, 23:14                                                              22:8                      70:13
                             133:6, 141:11,                22:22, 23:17
briefly [2] - 24:7, 145:4                                                           charles@                  clarification [3] - 9:6,
                             141:14, 144:4, 145:8         cases [1] - 35:12
bring [20] - 5:14, 6:11,                                                             charleshaskell.com        9:25, 52:2
                            campaigns [5] - 87:22,        cash [2] - 57:15, 69:3
 6:12, 21:11, 38:20,                                                                 [1] - 2:5                clarified [2] - 46:3,
                             103:2, 103:4,                categories [2] - 18:12,
 39:4, 39:10, 51:25,                                                                chart [3] - 139:7,         53:4
                             105:14, 105:15                122:22
 52:13, 52:20, 53:1,                                                                 140:9, 140:14            clarifies [1] - 45:7
                            cancel [2] - 129:13,          caused [1] - 61:6
 53:5, 54:5, 55:5,                                                                  check [4] - 39:6,         clarify [2] - 43:9, 53:11
                             137:2                        cell [4] - 72:7, 89:2,
 55:22, 55:23, 56:15,                                                                121:11, 121:13,          clarifying [1] - 25:15
                            canceling [1] - 136:21         142:10, 142:13
 86:16, 146:10                                                                       121:20                   Claudine [1] - 121:25
                            candidate's [3] - 97:5,       CEO [2] - 114:5,
bringing [1] - 14:3                                                                 Chicago [5] - 129:2,      clear [8] - 8:1, 8:24,
                             98:2, 98:6                    114:15
bro [3] - 129:2, 129:4,                                                              129:19, 129:21,           44:12, 50:21, 51:20,
                            cannot [7] - 25:9,            certain [7] - 14:25,
 130:4                                                                               132:19                    52:5, 84:12, 100:15
                             34:11, 98:13, 98:25,          40:24, 84:1, 103:13,
broadly [1] - 89:7                                                                  chief [3] - 22:22,        clearer [2] - 14:17,
                             106:2, 106:21, 144:4          103:14, 113:19,
Broidy [3] - 20:1,                                                                   23:17, 64:5               54:10
                            capacity [1] - 100:20          142:7
 20:18, 63:17                                                                       chiefs [1] - 65:23        clearly [3] - 21:8,
                            capture [2] - 142:9,          certainly [9] - 6:23,
broke [1] - 58:4                                                                    China [11] - 20:20,        43:25, 44:5
                             142:13                        8:3, 11:15, 25:21,
brought [2] - 6:17,                                                                  20:23, 20:25, 21:3,      clerk [2] - 11:14, 16:24
                            captured [2] - 142:8,          31:18, 40:15, 46:15,
 49:14                                                                               57:24, 57:25, 66:23,     click [1] - 104:11
                             142:16                        53:9, 65:2
bullet [1] - 9:7                                                                     67:22, 68:12, 68:19,     client [2] - 9:1, 64:17
                            care [4] - 58:15, 58:21,      CERTIFICATE [1] -
burden [3] - 18:23,                                                                  74:25                    close [9] - 20:3, 36:24,
                             133:6, 133:7                  146:13
 27:23, 27:25                                                                       Chinese [31] - 6:1,        54:22, 59:3, 67:20,
                            career [1] - 80:17            certify [2] - 106:9,
Bureau [1] - 79:22                                                                   20:21, 56:19, 57:9,       68:2, 68:24, 84:1,
         Case 1:19-cr-00148-CKK                    Document 322           Filed 11/07/23        Page 151 of 168                 151



 146:1                     100:17, 102:25,            conduct [17] - 17:10,     consult [1] - 17:13       30:17, 50:7, 50:18
closed [4] - 37:15,        103:22, 103:24              24:10, 28:15, 33:12,     contact [5] - 30:10,     conversations [3] -
 37:17, 69:21, 70:3       Committee [1] - 93:19        33:23, 39:24, 40:5,       30:18, 90:14, 91:7,      30:18, 64:8, 64:10
closer [1] - 122:18       committees [4] -             57:15, 57:16, 58:10,      94:9                    convinced [2] - 21:18,
closes [1] - 37:22         19:17, 75:7, 97:22          62:11, 70:19, 72:4,      contacted [1] - 91:7      50:1
closing [2] - 23:19       committing [1] -             85:23, 85:25, 86:12,     contacts [3] - 90:19,    cooked [1] - 64:22
clothing [1] - 81:23       126:19                      86:14                     94:12, 94:15            cooperating [1] - 72:9
club [1] - 90:5           common [1] - 57:14          conducted [1] - 88:23     contained [2] - 22:1,    cooperation [1] -
clubs [2] - 90:8, 90:9    commonly [5] - 82:15,       conduit [6] - 60:10,       44:4                     38:17
co [22] - 31:24, 64:9,     83:12, 84:4, 109:16,        61:7, 72:23, 88:2,       contemplated [1] -       cooperatively [1] -
 65:9, 66:2, 66:7,         112:4                       88:5, 145:22              141:13                   10:18
 66:13, 66:15, 67:2,      communicate [3] -           conduits [6] - 88:1,      content [1] - 26:14      copies [1] - 92:2
 67:18, 67:24, 68:14,      108:24, 127:20,             88:4, 88:12, 138:24,     context [3] - 85:22,     copy [12] - 25:10,
 68:20, 69:1, 69:12,       127:22                      139:8, 140:11             90:6, 96:25              42:15, 43:7, 47:18,
 69:24, 70:7, 74:4,       communicating [1] -         conference [2] -          continue [5] - 108:24,    49:22, 50:10, 50:20,
 74:14, 75:1, 84:6,        35:5                        26:18, 96:10              109:5, 112:10,           53:24, 77:5, 77:6,
 86:1, 114:6              communication [2] -         conferences [2] -          127:20, 127:22           92:3, 107:10
co-conspirator [4] -       29:10, 96:5                 26:24, 27:4              continued [3] - 57:22,   corner [1] - 122:24
 69:24, 70:7, 74:4,       communications [8] -        Confirmation [1] -         66:10, 72:17            corporate [1] - 98:5
 74:14                     32:10, 32:20, 34:19,        132:11                   Continued [1] - 1:25     corporation [9] -
co-conspirators [11] -     68:16, 109:2, 109:5,       confirmed [1] - 141:3     CONTINUED [1] - 2:1       96:20, 98:4, 98:5,
 64:9, 65:9, 66:7,         113:11, 113:17             confirming [1] - 125:7    continues [1] - 132:22    98:8, 98:10, 98:13,
 66:13, 66:15, 67:18,     companies [2] - 56:21,      connected [4] - 17:24,    contracts [1] - 64:23     98:21, 99:2, 99:13
 67:24, 68:14, 68:20,      64:23                       18:1, 18:4, 30:13        contribute [15] -        corporations [2] -
 69:1, 86:1               company [2] - 69:17,        connection [3] -           19:17, 59:6, 59:22,      80:8, 97:18
co-conspired [1] -         139:24                      70:17, 72:3, 84:13        60:13, 60:14, 62:6,     correct [35] - 5:17,
 84:6                     compare [2] - 138:25,       connections [1] - 63:8     71:8, 71:15, 72:4,       34:3, 41:14, 59:16,
co-workers [1] - 31:24     145:15                     consider [6] - 23:25,      87:18, 88:13, 98:1,      59:17, 74:7, 74:8,
code [3] - 64:23,         complaint [1] - 89:13        24:2, 24:21, 25:24,       98:6, 98:9, 103:24       78:6, 81:11, 82:11,
 112:12, 117:2            complete [4] - 25:5,         27:18, 88:22             contributed [2] -         85:17, 87:10, 87:11,
coerce [1] - 71:13         38:7, 42:5, 146:18         consideration [1] -        111:19, 140:12           92:12, 94:17, 95:12,
colleagues [1] - 4:6      completed [1] - 25:7         38:14                    contributing [2] -        103:19, 104:20,
collect [3] - 103:14,     COMPLETELY [1] -            considered [2] - 34:9,     59:23, 106:8             111:19, 111:24,
 104:25, 105:15            137:2                       141:13                   contribution [14] -       114:11, 114:22,
collected [4] - 16:24,    completing [1] - 54:22      considering [1] -          91:10, 93:25,            117:11, 117:12,
 17:4, 88:24, 89:3        complex [1] - 69:17          68:11                     100:17, 103:23,          119:22, 121:15,
COLLEEN [1] - 1:9         computers [1] - 32:21       conspiracies [2] -         103:25, 104:3,           125:21, 128:19,
COLUMBIA [1] - 1:1        conceal [3] - 20:14,         18:12, 18:13              104:8, 106:12,           128:24, 133:20,
column [2] - 122:24,       65:8, 73:4                 conspiracy [5] -           106:13, 106:17,          137:14, 141:7,
 123:1                    concealed [1] - 67:10        72:22, 72:23, 73:2,       115:18, 115:21,          142:6, 142:21, 143:7
combination [2] -         concealment [1] -            73:6, 73:9                133:2, 133:21           correctly [4] - 96:12,
 14:19, 47:10              56:13                      conspirator [5] -         contributions [27] -      117:3, 117:24,
comfortable [2] - 5:21,   concentrate [1] -            69:24, 70:7, 74:4,        19:15, 19:22, 60:1,      135:14
 10:15                     37:15                       74:14, 114:7              60:8, 61:7, 61:10,      corridor [1] - 30:20
coming [5] - 32:17,       concentrating [1] -         conspirators [15] -        61:17, 61:20, 61:25,    Corrupt [1] - 80:7
 45:1, 45:21, 49:15,       37:18                       64:9, 65:9, 66:3,         62:1, 62:4, 72:24,      corrupt [1] - 34:24
 69:10                    concern [3] - 26:22,         66:7, 66:13, 66:15,       75:10, 86:22, 87:23,    corruption [2] - 80:2,
comment [1] - 14:1         46:16, 98:11                67:3, 67:18, 67:24,       94:12, 97:9, 97:10,      81:3
comments [3] - 25:14,     concerned [1] - 69:10        68:14, 68:20, 69:1,       97:17, 99:1, 99:2,      corruptions [1] -
 37:24, 41:17             concerning [1] -             69:13, 75:2, 86:1         99:5, 99:9, 104:17,      80:13
Commission [5] -           140:20                     conspired [8] - 19:12,     105:1, 127:20,          corruptly [1] - 86:4
 61:8, 89:13, 105:16,     concerns [2] - 54:5,         19:25, 20:10, 20:13,      145:23                  costly [1] - 34:23
 105:18, 105:19            54:6                        20:17, 21:5, 84:6,       contributor [3] -        Council [1] - 68:11
commitment [2] -          concert [1] - 65:12          86:16                     19:23, 88:8, 105:23     counsel [18] - 4:3, 4:9,
 129:12, 133:6            concluded [1] - 39:23       constitutes [1] -         contributors [1] -        5:6, 5:7, 10:10,
committed [1] - 21:19     conclusion [4] -             146:16                    60:10                    14:12, 14:25, 23:13,
committee [16] -           110:13, 120:5,             Constitution [2] - 2:8,   control [2] - 40:17,      38:20, 40:20, 43:20,
 61:18, 61:25, 70:21,      120:12, 138:6               146:24                    73:13                    44:1, 44:6, 73:18,
 86:19, 97:3, 97:5,       conclusions [3] -           constraints [2] - 7:7,    controlled [1] - 85:14    76:9, 76:16, 84:12
 97:19, 97:20, 99:6,       21:15, 59:14, 110:17        9:2                      conversation [3] -       Counsel [1] - 108:5
         Case 1:19-cr-00148-CKK                      Document 322           Filed 11/07/23         Page 152 of 168                152



countries [1] - 80:4       125:9, 128:9,                cross [2] - 23:3, 23:13   decision [15] - 8:14,     94:9, 94:22, 94:23,
country [3] - 34:20,       128:11, 132:1,               cross-examination [1]      8:22, 9:4, 24:3,         94:25, 95:1, 100:13,
 63:1, 66:25               132:3, 134:12,                - 23:3                    28:20, 29:3, 34:14,      101:5, 101:20,
counts [2] - 72:21,        136:16, 138:7,               cross-examine [1] -        34:15, 35:22, 41:14,     101:22, 106:25,
 75:14                     140:25, 141:22,               23:13                     42:17, 42:18, 45:22,     107:6, 108:24,
couple [4] - 87:24,        143:3, 144:20,               CRR [3] - 2:6, 146:15,     50:8, 53:8               109:9, 110:23,
 98:18, 129:3, 130:15      146:1, 146:6, 146:13          146:22                   decisions [7] - 28:24,    113:10, 115:9,
course [10] - 12:10,      court [11] - 12:17,           crystal [1] - 100:15       45:12, 45:15, 48:4,      115:18, 115:20,
 15:1, 16:11, 24:12,       25:3, 25:8, 33:10,           curious [1] - 30:3         53:12, 53:15, 58:7       116:1, 116:10,
 33:12, 62:4, 85:11,       34:9, 34:10, 45:3,           current [1] - 8:25        deem [1] - 69:7           118:19, 120:23,
 88:19, 101:8, 126:13      45:8, 79:17, 81:20,          customs [1] - 66:24       DEFENDANT [1] -           120:25, 121:11,
COURT [156] - 1:1, 4:2,    95:18                        cut [1] - 110:6            4:21                     121:20, 122:6,
 4:8, 4:15, 4:18, 4:22,   Court [13] - 2:6, 2:7,        cutouts [1] - 122:5       defendant [205] - 9:9,    122:9, 124:7,
 5:3, 5:11, 6:7, 7:11,     8:1, 18:9, 19:6, 26:4,       cycle [1] - 105:2          19:9, 21:23, 22:6,       125:15, 126:25,
 8:4, 8:17, 9:4, 9:12,     38:16, 39:23, 39:25,                                    22:11, 22:12, 22:15,     127:5, 127:19,
 10:1, 10:3, 10:6,         47:9, 77:6, 79:16,                                      23:7, 23:8, 23:10,       128:4, 128:19,
                           146:23
                                                                    D                                       131:8, 131:9,
 10:8, 38:23, 38:25,                                                               24:4, 27:20, 27:22,
 39:4, 39:17, 41:9,       courthouse [7] - 7:7,         D.C [2] - 127:9, 127:18    27:24, 28:1, 28:6,       131:13, 131:21,
 42:10, 42:25, 43:6,       29:17, 29:23, 30:19,         date [5] - 121:13,         28:10, 42:9, 56:14,      132:8, 134:1,
 43:14, 43:16, 44:7,       31:11, 34:22, 35:7            129:24, 135:24,           57:3, 57:8, 57:10,       137:18, 137:20,
 44:15, 44:17, 45:9,      Courthouse [2] - 2:7,          141:4                     57:13, 58:2, 58:4,       138:16, 138:18,
 45:11, 46:1, 46:13,       146:23                       Dated [1] - 146:20         58:5, 58:15, 58:16,      138:25, 139:2,
 46:20, 46:23, 47:20,     COURTROOM [3] -               dated [5] - 95:13,         58:25, 59:4, 60:2,       139:9, 139:10,
 48:1, 48:18, 48:23,       55:21, 55:24, 92:20           101:20, 107:8,            60:3, 60:5, 60:9,        139:25, 140:12,
 49:2, 50:5, 50:10,       courtroom [30] - 4:14,         111:14, 121:12            60:11, 60:13, 60:16,     140:16, 142:20,
 50:25, 51:6, 51:16,       10:5, 10:16, 11:14,          dates [3] - 46:4,          60:22, 61:3, 61:5,       143:5, 144:1, 144:2,
 51:19, 53:11, 53:14,      13:9, 13:10, 13:13,           112:15, 123:7             61:11, 61:17, 61:20,     144:13, 144:14,
 53:17, 54:15, 55:2,       13:16, 14:2, 14:15,          DAVID [1] - 1:21           62:1, 62:4, 62:7,        144:24, 145:20
 55:4, 55:13, 55:19,       17:3, 17:9, 17:18,           David [3] - 4:10, 22:8,    62:8, 62:10, 62:12,     Defendant [3] - 1:6,
 55:23, 56:1, 56:4,        19:4, 24:1, 24:19,            140:10                    62:15, 63:8, 63:15,      1:21, 2:2
 56:8, 58:19, 59:10,       28:15, 29:13, 29:14,         david@kennerlaw.           63:16, 63:18, 64:10,    defendant's [16] -
 59:15, 59:18, 64:6,       30:14, 30:23, 31:9,           com [1] - 1:24            64:15, 65:9, 65:13,      22:14, 40:1, 57:17,
 64:12, 73:20, 73:24,      34:2, 34:8, 38:15,           Davis [5] - 5:4, 20:1,     66:2, 66:7, 66:12,       57:20, 60:24, 60:25,
 74:5, 74:11, 75:16,       39:3, 56:3, 68:1,             20:19, 43:20, 43:25       66:14, 66:15, 66:18,     67:24, 68:6, 69:15,
 75:23, 76:3, 76:6,        99:23                        Davis's [4] - 5:6,         66:20, 66:21, 67:9,      70:12, 74:20,
 76:15, 77:1, 77:7,       courts [1] - 34:20             43:22, 45:2, 45:5         67:13, 67:18, 68:8,      115:13, 115:25,
 77:10, 77:13, 77:20,     cover [6] - 57:11,            days [3] - 36:25,          68:13, 68:23, 69:2,      116:3, 126:15,
 77:22, 78:2, 78:5,        70:15, 70:25, 72:18,          121:13, 129:3             69:4, 69:12, 69:14,      139:20
 78:7, 78:11, 78:16,       74:16, 89:7                  DC [5] - 1:14, 1:18,       69:20, 69:22, 69:24,    defense [18] - 4:9,
 78:18, 78:21, 78:25,     coverage [1] - 35:15           2:4, 2:8, 146:25          70:4, 70:6, 70:15,       4:12, 5:7, 6:12, 6:24,
 79:6, 79:10, 80:9,       credibility [2] - 16:19,      deal [3] - 5:15, 46:23,    70:17, 70:21, 70:24,     18:22, 23:2, 23:4,
 80:11, 82:1, 82:9,        24:20                         54:12                     71:2, 71:6, 71:9,        23:13, 23:15, 23:18,
 82:19, 82:21, 82:24,     credible [3] - 69:20,         dealing [1] - 132:24       71:10, 71:14, 71:20,     40:15, 43:10, 48:3,
 83:3, 83:20, 83:23,       70:3, 70:12                  dealings [3] - 56:21,      71:22, 71:24, 72:1,      48:13, 52:3, 77:5,
 84:14, 87:2, 87:7,       credit [1] - 34:7              70:16, 110:7              72:2, 72:10, 72:12,      78:21
 87:12, 87:20, 91:1,      crime [1] - 21:11             dealt [2] - 45:16, 49:8    72:15, 72:16, 72:18,    defense's [1] - 54:23
 92:1, 92:5, 92:8,        crimes [5] - 67:9,            deceived [1] - 61:11       72:21, 73:10, 73:14,    defenses [1] - 18:19
 92:16, 92:18, 92:21,      73:14, 80:12, 80:14,         deceiving [1] - 61:21      73:16, 74:1, 74:17,     define [1] - 33:20
 93:1, 95:16, 95:24,       80:19                        decide [17] - 17:7,        75:6, 75:8, 75:11,      definitions [2] - 33:15,
 96:2, 98:16, 98:20,      Criminal [1] - 1:3             17:16, 21:17, 24:22,      75:14, 75:17, 81:7,      74:9
 99:18, 99:24, 100:7,     criminal [13] - 18:8,          25:18, 26:22, 28:14,      81:13, 81:17, 81:19,    delay [1] - 7:9
 101:13, 101:15,           18:13, 27:20, 30:4,           29:12, 33:5, 33:9,        81:25, 82:2, 82:4,      deliberating [1] -
 107:2, 107:22,            62:16, 79:25, 86:6,           34:7, 38:10, 38:12,       85:4, 85:12, 86:1,       15:19
 108:8, 108:12,            87:15, 88:11,                 43:10, 53:21, 54:18,      86:2, 86:12, 86:15,     deliberations [9] -
 109:17, 109:19,           113:18, 113:22,               55:8                      86:16, 86:18, 86:23,     14:24, 15:5, 15:7,
 110:15, 110:19,           126:12, 126:19                                          87:17, 89:9, 89:14,      15:13, 16:4, 24:5,
                                                        decided [4] - 33:24,
 111:7, 113:2, 120:6,     criminalized [1] - 40:5                                  89:18, 89:21, 90:15,     25:2, 26:7, 29:5
                                                         53:2, 70:2
 120:13, 120:15,          criminals [1] - 113:19                                   90:18, 91:7, 91:9,      delicate [1] - 83:7
                                                        decides [1] - 46:6
 120:17, 124:21,                                                                   91:15, 92:10, 93:13,    delineated [1] - 105:6
                          criteria [1] - 46:7           deciding [3] - 7:21,
 124:24, 125:4,                                                                    93:14, 93:21, 94:7,     deliver [1] - 68:10
                          critic [1] - 67:6              16:19, 41:17
          Case 1:19-cr-00148-CKK                       Document 322            Filed 11/07/23           Page 153 of 168                    153



delivered [1] - 67:17      differently [2] - 26:6,         1:1, 1:9                   105:10, 106:20,             16:11, 17:9, 17:21,
demand [3] - 71:10,         91:2                          DIXON [1] - 1:12            106:23, 144:2,              25:2, 25:13, 26:4,
 71:12, 75:8               difficult [3] - 30:1,          DNC [3] - 93:17, 93:18,     145:13, 145:15,             26:7, 30:12, 33:12,
demeanor [1] - 16:21        143:24, 144:11                 96:11                      145:19, 145:20,             36:1, 50:2, 64:4,
Democratic [1] - 93:19     difficulties [1] - 35:6        Docket [1] - 77:3           145:24                      80:17, 80:23, 81:16,
demonstrative [2] -        difficulty [1] - 54:11         docket [2] - 55:14,        donors [35] - 19:20,         88:19, 90:13, 91:21,
 82:18, 82:21              dire [1] - 19:1                 77:8                       60:10, 60:14, 61:1,         93:10, 94:7, 99:3,
Denver [1] - 132:24        DIRECT [1] - 79:12             document [11] - 91:21,      61:16, 70:20, 71:8,         101:8, 108:23,
deny [1] - 72:11           direct [3] - 23:1, 23:12,       91:23, 102:13,             71:11, 71:15, 71:22,        110:22, 113:8,
depart [1] - 123:20         100:9                          103:9, 121:10,             72:4, 73:1, 75:1,           119:1, 122:12,
departed [1] - 123:16      directed [2] - 70:7,            122:19, 143:25,            75:9, 86:23, 86:24,         124:16, 126:10,
DEPARTMENT [2] -            141:15                         144:12, 144:15,            87:22, 87:25, 88:2,         127:2, 128:3,
 1:12, 1:17                direction [4] - 40:3,           144:23, 146:3              88:4, 88:12, 88:14,         129:20, 134:5,
Department [3] - 20:8,      40:12, 65:12, 67:10           documents [13] -            105:15, 121:22,             142:2, 144:13
 22:4, 71:25               directly [2] - 67:23,           14:20, 88:25, 91:6,        122:3, 138:18,             duties [1] - 79:24
departs [1] - 123:21        97:7                           113:11, 113:14,            138:19, 138:23,            duty [3] - 24:14, 28:6,
depict [1] - 119:11        director [1] - 145:7            113:17, 113:20,            139:3, 139:8,               31:23
DEPUTY [3] - 55:21,        disagree [1] - 8:2              113:21, 142:2,             139:11, 140:6,
 55:24, 92:20              disagreement [1] -              142:4, 142:8, 142:16       140:11, 140:15                          E
deputy [1] - 11:14          44:2                          documents' [1] -           door [1] - 11:6
                                                                                     Dorothy [1] - 125:9         e-mails [1] - 112:21
describe [3] - 24:7,       disastrous [1] -                78:24
                                                                                     doubt [6] - 18:24,          early [1] - 71:6
 48:13, 142:7               130:12                        DOJ [1] - 68:8
                                                                                      21:19, 27:23, 27:25,       earphones [1] - 14:9
described [2] - 85:15,     disburse [2] - 103:2,          dollars [16] - 56:15,
                                                                                      28:5, 28:10                easier [2] - 11:23,
 142:17                     103:3                          61:15, 62:18, 63:14,
                                                                                     down [34] - 10:10,           55:19
describing [2] - 47:22,    discharged [1] - 31:22          66:17, 69:6, 72:24,
                                                                                      13:4, 14:20, 16:18,        ECF [1] - 77:8
 110:16                    disclose [3] - 33:4,            85:13, 112:8, 112:9,
                                                                                      37:22, 42:9, 77:20,        effect [1] - 24:18
description [1] -           52:22, 53:18                   119:16, 120:21,
                                                           121:14, 121:21,            78:2, 78:7, 80:9,          efficient [1] - 24:11
 112:18                    disclosure [1] - 58:7
                                                           140:5                      83:20, 87:2, 94:20,        effort [3] - 12:5, 20:14,
designed [1] - 58:6        discretion [2] - 8:14,
                                                          domestic [3] - 21:6,        95:16, 95:20, 96:8,         66:8
desperate [1] - 68:17       60:18
                                                           58:6, 88:25                99:25, 100:2, 100:7,       efforts [5] - 20:13,
desperately [2] -          discuss [18] - 7:22,
                                                          Donald [1] - 20:2           104:10, 107:9,              50:1, 70:15, 71:6,
 57:11, 58:1                12:6, 12:11, 12:16,
                                                                                      108:16, 108:21,             104:24
despite [1] - 65:24         24:3, 24:6, 28:18,            donate [16] - 59:25,
                                                           60:6, 60:8, 62:12,         111:11, 113:24,            either [11] - 7:12, 12:8,
detail [1] - 23:24          28:21, 30:6, 30:21,
                                                           86:19, 91:10, 98:11,       116:11, 118:25,             14:3, 19:5, 22:1,
detailed [1] - 15:12        36:2, 36:5, 38:19,
                                                           98:14, 103:14,             126:22, 130:7,              22:23, 36:11, 37:4,
details [3] - 10:15,        43:12, 47:15, 53:7,
                                                           104:15, 106:2,             132:17, 135:9,              86:5, 98:1, 126:14
 111:22, 112:12             117:17, 130:17
                                                           106:21, 121:23,            141:23, 143:12             elect [1] - 24:2
determine [3] - 24:16,     discussed [3] -
                                                           138:19, 140:6, 144:4      downstairs [1] - 30:15      election [35] - 19:14,
 24:18, 85:10               102:15, 106:18,
                                                          donated [3] - 104:1,       Dr [2] - 121:24, 122:2       19:19, 56:17, 57:19,
determined [1] - 7:1        108:19
                                                           121:1, 122:7              drafted [1] - 67:16          58:11, 59:7, 59:22,
determining [1] -          discussing [8] - 9:14,
                                                          donating [3] - 100:20,     draw [1] - 21:15             60:4, 60:15, 60:25,
 25:23                      13:15, 26:21, 29:22,
                                                           106:11, 106:15            dress [2] - 112:12,          61:16, 62:10, 62:13,
develop [3] - 7:3, 9:18,    29:25, 31:11, 124:2,
                                                                                      117:2                       73:1, 74:22, 80:19,
                            143:17                        donation [5] - 96:21,
 49:18                                                                                                            86:21, 87:18, 88:13,
                           discussion [7] - 30:25,         97:12, 104:6,             drift [3] - 36:11, 36:17,
developed [4] - 9:13,                                                                                             88:15, 89:11, 90:20,
                            31:1, 36:4, 45:22,             116:13, 116:24             37:10
 10:1, 35:4, 44:18                                                                                                91:8, 93:16, 96:6,
                            48:25, 50:12, 51:1            donations [3] - 60:10,     drifted [1] - 37:18
Development [1] -                                                                                                 98:24, 100:18,
                           discussions [1] -               70:20, 103:3              drop [6] - 57:21,
 84:4                                                                                                             100:20, 101:24,
                            109:2                         Done [1] - 133:23           65:10, 74:23, 86:5,
device [1] - 32:25                                                                                                103:1, 105:2,
                           disguise [2] - 65:7,           done [16] - 10:3, 18:3,     96:8, 135:9
devices [1] - 32:21                                                                                               105:14, 105:22,
                            88:8                           33:6, 41:24, 45:15,       dropping [3] - 104:10,
Dhabi [3] - 114:6,                                                                                                106:19, 129:25
                           disobey [1] - 8:1               47:7, 47:8, 52:2,          113:24, 116:11
 114:8, 130:20                                                                                                   Election [5] - 61:8,
                           displayed [1] - 119:12          57:12, 57:25, 68:22,      Dubai [5] - 130:6,
dictionaries [1] -                                                                                                89:13, 105:16,
                           disregard [1] - 25:20           70:25, 72:18, 74:16,       130:17, 130:19,
 17:13                                                                                                            105:18, 105:19
                                                           81:15, 138:7               130:21, 130:24
different [14] - 13:20,    disrespectful [2] -                                                                   elections [4] - 58:5,
                            40:21, 41:11                  donor [21] - 71:1, 71:4,   duped [1] - 61:5
 13:22, 32:14, 34:13,                                                                                             58:13, 59:24, 59:25
                           distinct [3] - 85:7,            88:2, 88:5, 88:6,         duration [1] - 13:17
 34:14, 49:16, 63:6,                                                                                             electronic [6] - 14:22,
                            97:4, 97:6                     103:11, 103:12,           during [42] - 12:12,
 66:11, 89:8, 97:4,                                                                                               17:14, 29:9, 32:20,
                           distract [1] - 16:6             103:15, 104:4,             14:24, 14:25, 15:4,
 97:8, 120:7, 121:22,                                                                                             32:21, 32:24
                                                           104:14, 105:9,             15:7, 16:2, 16:3,
 122:23                    DISTRICT [3] - 1:1,
          Case 1:19-cr-00148-CKK                      Document 322           Filed 11/07/23        Page 154 of 168                    154



electronically [1] -        embassy [2] - 67:19,         evaded [1] - 58:5          64:14, 65:3, 66:12,      121:18, 122:17,
 29:8                        68:9                        evading [1] - 66:24        66:18, 67:13, 68:3,      124:11, 125:17,
element [2] - 28:5,         embezzled [1] - 62:19        evasion [1] - 80:14        69:1, 70:9, 70:24,       126:1, 128:1, 128:8,
 28:9                       Emirates [1] - 130:21        evasive [1] - 69:25        71:17, 71:20, 72:12,     131:19, 131:25,
elevator [1] - 30:20        emphasize [3] - 15:10,       evening [1] - 25:4         72:13, 74:6, 74:9,       132:3, 134:3,
elevators [1] - 30:16        16:4, 32:15                 event [40] - 60:17,        74:10, 74:17, 74:19,     134:10, 136:6,
eliminate [2] - 7:16,       employed [3] - 79:20,         60:21, 91:18, 92:11,      75:18, 77:5, 77:15,      136:13, 137:7,
 45:19                       79:21, 80:15                 94:15, 100:14,            101:12, 111:5,           139:14, 140:18,
Elliot [3] - 20:1, 20:18,   employer [2] - 105:1,         100:22, 101:5,            120:2, 126:18,           140:22, 141:25,
 63:17                       105:10                       102:16, 107:17,           128:8, 138:3, 138:9,     142:15, 143:1,
ELLIOTT [1] - 1:21          enact [1] - 86:4              108:4, 108:25,            141:13, 141:18           144:7, 144:17,
ELMO [1] - 14:20            enacting [1] - 105:22         109:6, 112:11,           evidentiary [1] - 9:15    144:22
elsewhere [1] - 35:7        Encino [1] - 1:23             112:18, 114:20,          evidently [4] - 31:9,    Exhibits [6] - 77:16,
email [88] - 5:5, 5:11,     encounter [1] - 30:13         115:1, 116:12,            52:19, 53:6, 74:5        101:2, 101:12,
 39:6, 39:9, 39:18,         end [22] - 11:11,             116:14, 116:15,          exact [2] - 116:23,       101:16, 124:13,
 42:20, 43:20, 43:23,        12:12, 15:13, 15:22,         116:22, 124:5,            139:4                    124:20
 43:24, 44:1, 44:3,          21:17, 23:23, 28:20,         124:8, 124:17,           exactly [6] - 39:20,     exhibits [9] - 14:23,
 44:23, 45:2, 45:3,          37:2, 37:5, 49:7,            126:24, 127:2,            42:16, 43:3, 59:10,      14:25, 19:5, 26:1,
 47:18, 52:6, 89:2,          53:20, 55:6, 61:4,           127:4, 127:6,             73:16, 83:21             77:4, 77:15, 108:6,
 91:14, 92:10, 93:7,         73:25, 75:13, 104:6,         127:17, 127:18,          examination [5] -         108:9, 108:12
 93:11, 93:12, 94:4,         104:8, 114:24,               140:20, 141:11,           23:1, 23:3, 23:5,       exits [2] - 39:3, 99:23
 94:21, 94:24, 95:2,         129:9, 130:3,                141:14, 141:20,           23:12, 23:14            exorbitant [1] - 59:3
 95:8, 95:10, 95:13,         131:16, 133:3                142:22, 143:11,          EXAMINATION [1] -        exorbitantly [1] -
 97:15, 99:17,              ended [1] - 85:11             143:17, 143:20,           79:12                    68:24
 100:13, 101:4,             enforcement [4] -             145:3, 145:17            examine [1] - 23:13      expect [1] - 32:25
 101:8, 101:19,              88:19, 113:21,              Event [1] - 107:25        example [4] - 43:19,     expects [1] - 59:13
 101:25, 102:11,             142:8, 142:13               EVENT [1] - 111:16         97:11, 104:16, 110:8    expending [1] - 59:3
 102:15, 106:24,            enforcing [1] - 105:22       event) [1] - 112:22       examples [1] - 113:9     experience [2] -
 107:5, 107:7,              engaging [1] - 20:8          event.. [1] - 136:21      exceed [1] - 105:1        113:15, 113:18
 107:14, 110:22,            English [1] - 54:3           events [3] - 60:19,       except [2] - 11:8,       experienced [1] -
 111:11, 111:13,            enlarge [4] - 92:5,           89:23, 90:15              106:6                    34:21
 112:10, 115:4,              111:12, 128:15,             eventually [1] - 56:18    exchange [7] - 5:22,     expert [3] - 87:4, 87:5,
 115:6, 115:8, 115:9,        133:14                      everyday [1] - 130:8       57:14, 66:17, 94:24,     87:7
 117:7, 117:16,             ensure [1] - 37:12           evidence [112] - 6:14,     118:18, 118:20,         explain [7] - 5:1, 15:9,
 117:18, 118:1,             enters [2] - 10:5, 56:3       9:8, 9:13, 9:16, 14:1,    136:9                    15:14, 24:6, 33:22,
 118:7, 118:9,              entertainment [3] -           14:11, 14:23, 15:4,      exclude [1] - 45:13       34:3, 34:18
 118:11, 118:12,             69:16, 70:1, 70:10           16:7, 16:10, 16:15,      exclusive [1] - 25:22    explained [3] - 18:10,
 118:17, 118:18,            entire [2] - 38:11,           16:16, 17:8, 17:24,      excuse [6] - 15:22,       21:21, 35:4
 118:20, 128:2,              118:18                       18:22, 19:3, 21:9,        58:17, 78:5, 87:3,      explanation [1] -
 128:18, 130:23,            entirety [1] - 118:17         21:13, 21:14, 21:18,      91:23, 108:5             70:11
 130:25, 131:2,             entities [1] - 65:6           21:25, 22:19, 22:20,     executed [1] - 89:2      explicitly [1] - 100:19
 131:4, 131:9,                                            23:6, 23:7, 23:9,        exhibit [17] - 27:16,    expressed [1] - 25:19
                            entity [6] - 62:22,
 131:12, 131:15,                                          23:10, 23:21, 23:22,      43:21, 77:10, 95:25,    expressing [1] - 94:8
                             64:18, 98:22, 99:14,
 131:20, 132:7,                                           23:23, 24:2, 24:19,       98:17, 108:11,          extent [2] - 24:23, 49:5
                             106:12, 106:16
 132:10, 133:1,                                           25:24, 26:5, 26:7,        108:13, 121:8,          extra [1] - 12:15
                            entries [2] - 114:24,
 133:11, 133:12,                                          26:9, 26:13, 26:15,       123:6, 132:17,          extract [1] - 142:12
                             122:24
 133:24, 133:25,                                          27:8, 27:14, 27:19,       132:21, 135:18,         extracted [1] - 142:11
                            entry [1] - 123:11
 134:4, 134:17,                                           28:2, 28:14, 28:24,       143:13, 143:23,         extremely [1] - 96:14
                            equipment [1] - 14:22
 136:9, 137:16,                                           29:3, 33:10, 33:24,       144:12, 144:25,         eyes [5] - 37:15,
                            Eric [9] - 109:11,
 137:17, 140:19,                                          34:8, 34:9, 34:16,        145:11                   37:17, 37:22, 95:15,
                             109:16, 109:21,
 141:3, 143:25,                                           38:14, 43:19, 45:21,     Exhibit [45] - 77:7,      96:4
                             110:3, 110:5,
 144:24                                                   46:14, 47:4, 47:23,       82:8, 82:13, 91:12,
                             137:25, 145:5, 145:7
emailed [1] - 131:9                                       48:1, 48:2, 48:6,         92:15, 94:19,
emails [14] - 4:22,
                            escalated [1] - 71:6
                                                          48:8, 48:10, 48:12,
                                                                                                                         F
                            especially [1] - 113:12                                 100:13, 101:3,
 5:22, 7:14, 9:6,                                         48:15, 49:13, 50:14,      102:8, 103:6, 107:7,    face [2] - 32:9
                            ESQ [6] - 1:12, 1:16,
 42:11, 45:8, 53:16,                                      56:23, 59:13, 59:15,      107:12, 107:20,         face-to-face [1] - 32:9
                             1:16, 1:21, 1:21, 2:2
 68:15, 91:6, 91:9,                                       59:21, 60:6, 60:16,       110:21, 111:5,          facing [1] - 62:16
                            established [2] -
 113:8, 113:14,                                           61:3, 61:11, 62:13,       115:12, 117:6,          fact [15] - 5:7, 5:24,
                             134:25, 139:24
 119:14, 137:9                                            63:7, 63:23, 64:3,        119:8, 119:11,            6:1, 6:4, 9:10, 16:5,
                            Estate [1] - 119:19
embarrass [1] - 129:5                                     64:4, 64:6, 64:13,        121:4, 121:9,             20:25, 21:1, 22:15,
                            etc.. [1] - 96:20
          Case 1:19-cr-00148-CKK                       Document 322            Filed 11/07/23         Page 155 of 168                   155



  53:3, 53:4, 61:13,         145:5, 145:6, 145:7            65:6, 65:11, 65:14,      formal [3] - 15:8,          138:20, 139:1,
  63:22, 70:22, 110:10     fell [1] - 44:5                  65:17, 65:22, 66:5,        21:10, 102:14             139:4, 140:7
facts [9] - 24:17,         fellow [2] - 28:22, 36:7         66:19, 66:20, 66:21,     formed [1] - 35:5          fund [9] - 20:5, 62:22,
  24:18, 25:18, 25:20,     few [10] - 10:15, 17:25,         67:14, 67:25             former [1] - 126:14         62:23, 84:2, 84:3,
  25:23, 33:9, 33:17,        36:8, 37:3, 39:15,           fixer's [1] - 64:20        Former [4] - 19:18,         84:7, 114:6, 131:15,
  34:13, 63:25               70:5, 96:23, 125:11,         fled [1] - 57:24             20:2, 20:20, 21:2         139:6
factual [1] - 110:17         138:21, 139:7                flight [4] - 122:13,       forth [2] - 4:22, 7:14     fundraiser [7] - 93:24,
failed [1] - 28:9          fidgeting [1] - 37:21            122:20, 123:12,          forward [9] - 12:22,        102:14, 108:18,
fair [2] - 24:11, 38:14    field [3] - 80:23, 80:25,        123:14                     53:9, 70:14, 89:12,       116:17, 123:22,
fairly [1] - 88:22           81:1                         float [1] - 138:14           95:8, 117:22, 130:9,      124:1, 143:18
fake [2] - 56:21, 64:22    Fifth [7] - 5:8, 5:13,         flowing [1] - 64:21          132:25, 133:22           Fundraiser [2] - 102:1,
fall [1] - 44:1              46:6, 46:8, 46:21,           fly [1] - 45:12            forwarded [5] -             102:5
false [5] - 21:5, 61:7,      47:8, 52:11                  focus [1] - 85:20            100:14, 107:11,          fundraisers [1] -
  69:24, 70:7, 73:6        figured [1] - 13:8             focusing [1] - 139:15        117:15, 131:4,            127:15
familiar [4] - 87:25,      file [2] - 8:8, 61:7           folks [1] - 143:9            133:12                   fundraising [32] -
  89:25, 96:25, 109:11     filed [3] - 7:18, 45:3,        follow [7] - 8:3, 23:24,   forwards [11] - 95:1,       91:18, 92:11, 94:8,
family [3] - 30:1,           45:8                           27:15, 32:15, 50:1,        95:9, 115:8, 115:9,       94:15, 97:20, 97:22,
  31:24, 32:19             fill [2] - 103:12, 105:24        95:14, 133:1               118:18, 131:13,           100:14, 100:24,
famous [1] - 59:4          filled [1] - 56:20             followed [1] - 112:13        131:14, 131:17,           101:5, 102:24,
far [1] - 122:24           film [1] - 81:15               following [6] - 15:15,       133:16, 133:19,           102:25, 103:17,
FARA [3] - 9:10, 39:24,    final [4] - 23:19, 28:20,        31:6, 40:8, 40:9,          134:1                     103:22, 107:17,
  45:7                       38:11                          54:12, 77:15             foundation [1] -            108:25, 109:6,
Fargo [1] - 134:22         finally [5] - 6:25, 24:1,      food [1] - 10:25             120:16                    115:2, 124:4, 124:8,
fast [4] - 70:14, 78:11,     31:3, 66:5, 73:6             FOR [1] - 1:1              founder [1] - 96:7          124:17, 126:24,
  89:12, 95:17             finance [3] - 69:15,           force [1] - 53:9           four [4] - 17:8, 18:11,     127:2, 127:17,
faster [1] - 13:6            96:25, 117:18                foreclosing [1] - 6:19       66:5, 129:11              127:18, 140:20,
father [2] - 60:20,        financial [21] - 21:6,         foregoing [1] - 146:16     fourth [1] - 21:4           141:11, 141:20,
  60:22                      84:9, 86:3, 88:25,           Foreign [1] - 80:6         frame [1] - 90:13           142:22, 143:16,
favor [2] - 38:13, 86:7      89:1, 110:7, 115:25,                                    Francois [1] - 136:20       145:2, 145:7, 145:16
                                                          foreign [61] - 9:9,
FBI [16] - 72:16, 76:1,      116:4, 116:8,                  19:12, 19:16, 20:11,     Frank [9] - 46:3, 46:11,   funds [24] - 19:16,
  79:21, 79:23, 80:15,       118:23, 119:1,                 40:3, 40:6, 40:12,         46:16, 47:21,             20:15, 62:19, 65:8,
  80:16, 80:23, 81:6,        119:2, 119:11,                 40:13, 40:17, 52:4,        127:13, 127:14,           84:22, 85:10, 86:18,
  85:3, 87:16, 88:11,        120:1, 127:16,                 53:25, 56:12, 56:13,       128:23, 130:14,           86:24, 88:6, 88:7,
  88:12, 88:18, 89:17,       134:5, 137:10,                 56:16, 56:18, 56:24,       142:2                     98:5, 106:10,
  119:1, 122:12              137:12, 138:12                 57:14, 57:18, 58:4,      frankly [3] - 11:24,        106:15, 106:19,
                           finely [1] - 55:17               58:6, 58:7, 58:14,         30:22, 37:18              106:21, 116:2,
FCPA [1] - 80:7
                           finish [2] - 76:9, 95:24         59:23, 60:24, 61:7,      fraud [2] - 80:13,          120:25, 122:6,
fear [1] - 38:13
                           finished [6] - 23:2,             62:9, 63:13, 66:25,        80:14                     122:9, 138:11,
featuring [2] - 109:6,
                             23:4, 23:15, 98:16,            68:21, 69:10, 70:13,     free [3] - 16:11, 58:14,    138:14, 138:18,
  126:25
                             99:17, 129:22                  72:23, 72:25, 73:4,        102:5                     140:5, 140:16
FEC [8] - 61:9, 61:12,
                           firm [1] - 69:16                 74:3, 74:13, 74:21,      freely [1] - 7:17          funnel [3] - 57:17,
  61:21, 61:24, 61:25,
                                                            80:3, 86:18, 87:17,      Friday [1] - 129:10         60:3, 60:24
  75:7, 105:17, 105:18     FIRM [1] - 1:22
                                                            87:21, 89:1, 98:1,       friend [1] - 68:7          funneled [2] - 61:15,
federal [18] - 19:13,      first [32] - 19:7, 22:10,
                                                            98:14, 98:22, 98:23,                                 62:8
  86:25, 87:21, 88:13,       29:15, 39:18, 40:13,                                    friends [2] - 31:24,
                                                            99:14, 100:16,                                      funneling [2] - 72:24,
  88:15, 88:19,              44:21, 54:4, 64:17,                                       32:19
                             69:9, 69:15, 70:2,             100:19, 104:19,                                      74:21
  100:19, 100:20,                                                                    front [6] - 7:17, 52:14,
                             75:24, 76:24, 86:5,            106:3, 106:6,                                       furtherance [3] - 21:6,
  103:1, 104:18,                                                                       52:20, 54:18, 56:21,
                             89:9, 101:4, 102:2,            106:19, 137:21,            64:23                     40:11, 65:11
  105:8, 105:11,
  105:14, 105:22,            102:10, 104:16,                139:19, 145:21           Fugees [1] - 96:7          furthered [1] - 40:4
  106:1, 106:6,              105:9, 106:5,                foreigner [2] - 96:19,     fugitive [2] - 56:18,
  106:18, 106:19             111:13, 111:17,                98:1                       56:25                                G
Federal [8] - 61:8,          112:18, 112:19,              foreperson [1] - 24:2      full [3] - 37:6, 38:6,     game [3] - 65:18,
  79:22, 89:13,              117:6, 117:13,               forfeiture [1] - 62:17       146:17                    65:23, 65:24
  104:22, 104:24,            125:13, 129:18,              forget [2] - 27:7, 27:13   fully [1] - 13:21          Gaspard [6] - 93:15,
  105:16, 105:18,            135:18, 139:15,              form [13] - 103:11,        Fund [16] - 102:23,         93:16, 94:24, 94:25,
  105:19                     140:3                          104:4, 104:6, 105:5,       102:24, 103:18,           96:5
FedEx [1] - 136:20         firsthand [1] - 87:6             105:7, 106:23,             103:20, 104:12,          gather [1] - 11:25
fedex [2] - 137:1          five [2] - 57:13, 99:19          144:3, 145:13,             104:17, 106:8,           General [3] - 40:14,
fees [1] - 64:22           fixer [15] - 63:17,              145:15, 145:19,            121:2, 121:12,            67:16, 67:17
Feigenbaum [3] -             63:18, 64:15, 65:1,            145:20, 145:25             121:23, 122:7,           general [1] - 11:20
          Case 1:19-cr-00148-CKK                       Document 322            Filed 11/07/23         Page 156 of 168                  156



generally [15] - 11:11,     101:11, 105:20,                125:20                     103:17, 107:24,            119:18, 120:22,
 11:12, 34:23, 36:23,       105:21, 111:4,                happy [3] - 52:4, 61:3,     108:16, 108:23,            134:22, 134:23,
 48:10, 79:23, 85:2,        124:19, 128:7,                 66:20                      110:20, 111:13,            134:24, 135:1,
 85:22, 85:23, 86:13,       131:25, 134:9,                hard [2] - 37:16, 65:9      113:7, 113:24,             139:19, 139:22,
 104:12, 105:25,            142:5, 144:15                 harping [2] - 32:11,        114:17, 117:9,             139:23
 106:1, 112:1, 145:15      government's [6] -              42:25                      118:20, 120:8,            home [2] - 127:11,
George [4] - 20:1,          5:23, 22:13, 23:2,            harsh [1] - 130:4           120:18, 121:6,             127:12
 20:18, 68:7, 96:20         48:7, 56:5, 64:4              Haskell [2] - 4:11, 22:8    121:19, 122:18,           Hong [2] - 66:21,
Gilbert [1] - 121:25       Government's [8] -             HASKELL [2] - 2:2,          123:8, 124:12,             69:17
given [11] - 5:24, 7:7,     101:2, 101:16,                 2:3                        125:11, 126:3,            Honor [110] - 4:5, 4:10,
 12:2, 15:4, 16:24,         103:6, 121:9,                 Hawaii [2] - 43:22,         126:8, 126:23,             4:17, 4:25, 5:1, 5:20,
 46:11, 51:22, 68:18,       121:17, 124:11,                45:4                       128:2, 128:18,             5:25, 7:5, 7:25, 8:2,
 70:9, 70:18, 92:1          124:20, 132:3                 head [2] - 11:4, 16:18      129:16, 130:15,            8:23, 9:5, 10:2, 41:7,
gleaned [1] - 35:23        graces [1] - 61:14             headquarters [1] -          131:20, 132:7,             42:7, 42:22, 43:9,
goal [3] - 57:17, 57:20,   grand [3] - 18:9,               129:21                     133:9, 134:2,              43:19, 44:11, 44:12,
 57:22                      46:10, 70:18                  hear [36] - 13:16, 14:8,    134:17, 136:4,             44:21, 45:2, 45:24,
golf [3] - 65:18, 65:23,   great [2] - 132:12,             17:17, 26:20, 29:3,        136:18, 137:8,             46:2, 46:9, 46:19,
 65:24                      132:20                         39:11, 54:5, 54:8,         138:10, 138:15,            47:17, 48:9, 48:20,
google [1] - 96:6          group [1] - 96:7                56:23, 57:2, 57:6,         139:15, 140:19,            49:25, 50:24, 51:3,
governing [1] - 9:8        guess [2] - 27:8, 44:19         57:10, 57:15, 58:16,       141:2, 142:1, 143:4,       51:14, 51:18, 53:10,
Government [41] -          guest [6] - 102:16,             58:24, 64:25, 66:8,        144:22, 145:12             54:14, 54:20, 55:3,
 77:16, 82:8, 82:13,        102:17, 112:19,                67:23, 68:4, 68:6,        HEUCHLING [2] - 3:3,        56:7, 58:17, 59:8,
 91:12, 92:15, 94:18,       113:24, 143:19,                68:13, 68:20, 68:23,       79:11                      59:17, 59:20, 63:21,
 100:13, 101:3,             143:21                         69:4, 69:9, 69:19,        hid [3] - 61:12, 64:16,     64:2, 73:18, 73:23,
 101:12, 102:8,            guests [2] - 112:17,            70:9, 71:12, 72:15,        64:17                      74:8, 75:21, 75:25,
 107:7, 107:12,             114:19                         72:16, 73:12, 73:13,      hidden [1] - 113:17         76:14, 76:22, 76:23,
 107:19, 110:21,           guidelines [1] - 103:13         76:7, 76:16, 76:18,       hide [5] - 58:8, 62:3,      76:25, 77:12, 77:14,
 111:5, 115:12,            guilt [4] - 19:10, 21:14,       83:21                      64:24, 70:15, 75:7         77:21, 78:6, 78:13,
 117:6, 119:8, 121:4,       21:15                         heard [5] - 28:24,         Higginbotham [7] -          78:14, 78:23, 79:5,
 122:17, 124:13,           guilty [5] - 27:23,             48:13, 52:23,              20:1, 20:18, 21:5,         79:9, 81:25, 82:11,
 125:17, 126:1,             27:24, 28:6, 28:11,            119:14, 132:23             44:5, 44:12, 68:7,         82:17, 82:23, 83:10,
 128:1, 128:8,              75:14                         hearing [4] - 14:6,         68:10                      83:22, 84:11, 84:20,
 131:19, 131:25,           Guo [3] - 20:22, 21:2           14:11, 30:24, 54:9        high [7] - 61:2, 66:16,     87:3, 87:5, 87:11,
 134:3, 134:10,            guy [14] - 112:16,             hearsay [1] - 44:2          67:1, 67:10, 67:15,        87:14, 87:19, 90:24,
 136:6, 136:13,             112:21, 114:20,               heart [1] - 57:3            68:14, 104:8               91:23, 92:6, 92:14,
 137:7, 139:14,             115:2, 116:21,                heavy [1] - 35:1           high-level [3] - 66:16,     92:17, 92:22, 95:21,
 140:18, 140:22,            117:1, 129:6, 130:7,          HELD [1] - 1:9              67:10, 67:15               95:22, 96:1, 98:19,
 141:25, 142:15,            130:25, 131:1,                                           highest [2] - 57:4,         99:16, 100:3, 100:5,
                                                          held [5] - 127:6, 127:8,
 142:25, 144:7,             133:5, 133:10                                             63:10                      100:10, 101:11,
                                                           127:9, 127:10,
 144:17, 144:22            GUY [1] - 130:6                                           highlight [1] - 131:6       107:4, 107:19,
                                                           127:12
government [70] - 4:4,     guys [5] - 117:1,                                         highlighted [2] -           108:6, 110:12,
                                                          hello [2] - 29:20, 31:5
 6:2, 7:19, 8:9, 8:19,      129:9, 129:10,                                            123:11, 130:24             110:18, 111:4,
                                                          help [11] - 16:9, 16:14,
 18:21, 18:23, 20:19,       132:25, 133:4                                            highly [1] - 69:17          120:4, 120:11,
                                                           17:16, 22:18, 23:21,
 21:22, 21:24, 22:10,                                                                Hilaire [1] - 140:10        121:7, 124:19,
                                                           61:3, 63:4, 63:6,
 22:22, 22:23, 23:4,                                                                 himself [8] - 59:25,        125:3, 125:7, 128:7,
                                        H                  66:19, 66:20, 72:19
                                                                                                                 136:14, 136:17,
 23:6, 23:15, 23:18,                                      helped [2] - 84:2, 84:6     60:6, 66:5, 128:19,
 27:24, 28:4, 28:8,        habit [1] - 37:19                                          131:9, 132:8,              138:5, 141:24,
                                                          helpful [1] - 45:18
 40:3, 40:7, 40:17,        half [5] - 92:25, 94:19,                                   139:24, 144:13             142:25, 146:5
                                                          hereby [1] - 146:15
 47:24, 48:3, 49:17,        117:7, 132:5, 133:15                                     hinted [1] - 25:19         honor [4] - 102:16,
                                                          HEUCH [1] - 79:18
 50:2, 51:5, 51:23,        halls [1] - 30:14                                         Hippolyte [2] - 121:25,     102:17, 143:19,
                                                          Heuchling [73] - 76:1,
 53:5, 54:1, 55:5,         Hamli [3] - 114:13,                                        122:2                      143:21
                                                           79:14, 79:18, 79:20,
 56:19, 57:5, 57:9,         114:15, 114:23                                           hit [2] - 59:2, 83:8       Honor's [5] - 5:24,
                                                           82:3, 82:13, 83:1,
 62:23, 62:25, 63:11,      hand [8] - 13:19,                                         hold [4] - 26:10, 26:17,    9:11, 44:5, 46:7,
                                                           83:11, 84:21, 86:11,
 66:16, 66:19, 67:2,        13:24, 14:5, 16:8,                                        55:11, 83:3                54:25
                                                           87:15, 87:24, 88:16,
 67:4, 67:7, 67:8,          18:6, 28:8, 36:17,                                       Holding [2] - 137:22,      HONORABLE [1] - 1:9
                                                           89:7, 91:14, 92:9,
 67:11, 67:12, 71:3,        113:21                                                    137:24                    hope [3] - 38:7,
                                                           93:3, 93:8, 94:2,
 72:20, 73:4, 75:2,        handle [1] - 133:3                                        holding [1] - 139:24        129:10, 130:10
                                                           94:22, 95:14, 96:8,
 75:22, 77:4, 77:14,       hands [6] - 115:2,                                        Holdings [14] -            hoped [1] - 44:7
                                                           96:16, 96:23, 98:21,
 82:17, 84:2, 84:3,         117:1, 125:14,                                            115:23, 115:24,           hopefully [1] - 51:2
                                                           100:12, 100:21,
 86:5, 86:10, 92:14,        125:18, 125:19,                                           119:15, 119:16,           host [1] - 80:12
                                                           101:3, 101:19,
          Case 1:19-cr-00148-CKK                      Document 322            Filed 11/07/23         Page 157 of 168                     157



House [3] - 65:22,          include [5] - 25:25,           58:15, 63:9, 63:10,      intent [1] - 88:8            86:6, 86:7, 87:6,
 66:6, 132:20                 44:9, 45:12, 47:6,           63:14, 65:4, 66:9,       intentional [1] - 25:21      87:10, 87:16, 88:11,
house [1] - 129:7             109:2                        68:4, 70:13, 75:3,       intentionally [2] -          88:20, 88:21, 89:23,
housekeeping [1] -          included [3] - 5:4,            86:4                       61:12, 113:14              90:4, 90:14, 91:5,
 76:24                        43:22, 107:5               influenced [2] - 16:17,    interchangeably [1] -        91:21, 93:10, 99:3,
human [1] - 30:9            includes [2] - 32:9,           28:12                      88:3                       99:13, 100:23,
hundred [1] - 85:13           33:18                      influencing [1] - 58:5     intercity [1] - 123:17       101:9, 110:3, 110:5,
hundreds [3] - 62:18,       including [11] - 16:25,      info [1] - 135:24          intercom [1] - 26:18         110:22, 113:9,
 88:24, 140:5                 19:25, 20:17, 31:24,       inform [2] - 19:8,         intercoms [1] - 12:16        114:3, 119:1, 119:5,
husher [1] - 26:19            34:21, 35:12, 57:9,          32:25                    interest [4] - 38:3,         120:1, 120:8,
Husseiny [9] - 114:1,         67:15, 91:5, 91:6,         information [41] -           39:8, 63:1, 94:8           122:12, 124:3,
 114:4, 114:5,                128:3                        11:25, 12:3, 17:15,      interested [2] - 96:15,      124:17, 126:10,
 114:23, 125:19,            inclusive [1] - 140:15         17:17, 17:21, 18:15,       102:6                      126:13, 127:3,
 125:23, 126:6,             income [1] - 62:2              18:16, 18:17, 18:20,     interesting [1] - 38:8       128:3, 138:2, 138:9,
 126:7, 130:20              incomplete [1] - 34:5          18:25, 19:1, 29:1,       interests [4] - 9:11,        141:19, 142:1,
                            increase [1] - 66:8            31:20, 31:25, 32:5,        40:2, 40:4, 40:11          144:13
                                                           32:14, 34:1, 34:4,                                  Investigation [1] -
              I             indeed [1] - 126:3                                      international [5] -
                            independent [5] -              34:10, 34:14, 34:25,       80:2, 80:13, 81:3,         79:22
idea [4] - 19:3, 19:7,                                     35:23, 36:15, 38:4,                                 investigations [1] -
                              17:10, 28:16, 33:13,                                    111:22, 115:22
  41:12, 129:19                                            51:7, 52:18, 55:7,                                    62:16
                              105:19, 105:20                                        Internet [6] - 17:14,
identification [10] -                                      100:1, 103:14,                                      investigative [3] -
                            Indiana [1] - 2:3                                         33:16, 33:19, 34:4,
  82:8, 82:12, 91:12,                                      105:4, 105:7,                                         88:18, 89:4, 89:17
                            indicate [5] - 26:14,                                     34:19, 35:13
  101:2, 110:21,                                           105:15, 105:16,                                     investigator [2] -
                              46:24, 79:3, 91:9,                                    interpreted [1] - 41:17
  128:1, 131:19,                                           105:24, 122:25,                                       113:15, 113:18
                              126:14                                                interrupt [3] - 6:7,
  140:18, 142:15,                                          134:5, 135:3,                                       investment [2] -
                            indicated [7] - 10:25,                                    45:9, 129:1
  144:9                                                    137:13, 142:9,                                        62:23, 70:11
                              41:13, 46:21, 52:10,                                  interrupted [1] - 49:10
identifications [1] -                                      142:13, 144:3                                       Investments [1] -
                              54:4, 75:16, 84:14                                    interrupting [3] -
  113:11                                                 informed [2] - 5:7,                                     114:5
                            indicates [1] - 8:18                                      12:13, 49:3, 129:17
identified [4] - 32:23,                                    132:19                                              invitation [9] - 102:4,
                            indicating [1] - 91:3                                   interviewed [1] - 70:17
  82:2, 85:12, 138:24                                    informs [1] - 50:8                                      102:14, 103:10,
                            indication [1] - 25:17                                  interviews [2] - 88:23,
identify [3] - 4:3,                                      initials [1] - 94:6                                     107:10, 107:11,
                            indicted [2] - 21:16,                                     91:6
  81:22, 118:11                                          innocence [3] - 23:9,                                   108:3, 108:18,
                              72:3                                                  intimate [1] - 117:1
ignoring [1] - 34:22                                       27:21, 28:2                                           143:16, 144:5
                            indictment [17] - 6:5,                                  intrigue [1] - 56:20
illegal [14] - 56:16,                                    innocent [1] - 27:21                                  invite [3] - 102:6,
                              18:9, 18:11, 19:8,                                    introduced [8] - 17:20,
  57:18, 58:8, 60:24,                                    inquiry [1] - 29:24                                     143:6, 143:18
                              19:11, 19:16, 19:24,                                    18:2, 22:5, 22:19,
  61:6, 62:6, 62:9,                                      instance [1] - 139:2                                  involve [5] - 29:5,
                              20:5, 20:16, 20:24,                                     22:24, 23:11, 59:4,
  70:16, 73:3, 73:15,                                    instances [4] - 113:9,                                  91:18, 94:12, 94:15,
                              21:4, 21:9, 21:10,                                      90:12
  74:21, 75:3, 86:22,                                      113:12, 113:13,                                       142:22
                              21:13, 22:1, 46:10                                    introducing [1] - 19:2
  126:15                                                   145:18                                              involved [13] - 17:12,
                            individual [14] - 18:7,                                 invades [1] - 51:14
images [1] - 142:12                                      instead [2] - 60:20,                                    31:4, 32:6, 33:17,
                              82:4, 82:14, 89:25,                                   invest [1] - 62:24
immediately [10] -                                         63:1                                                  38:1, 56:24, 81:6,
                              103:23, 109:11,                                       investigate [7] - 79:25,
  17:25, 22:13, 30:24,                                   institutions [4] - 21:6,                                84:13, 89:22, 90:16,
                              114:12, 116:4,                                          80:1, 80:2, 80:6,
  66:22, 66:23, 69:11,                                     89:1, 119:2                                           109:9, 126:11,
                              125:20, 125:22,                                         80:12, 80:19, 85:3
  70:25, 96:14,                                          instruct [5] - 24:13,                                   126:19
                              126:4, 127:12,                                        investigated [1] -
  117:19, 121:1                                            25:16, 26:2, 33:11,                                 involvement [1] - 75:8
                              138:3, 138:10                                           99:10
immunity [1] - 46:12                                       36:6                                                involving [21] - 85:4,
                            individual's [3] -                                      investigating [5] -
impediment [2] - 47:1,                                   instruction [3] - 8:17,                                 85:23, 85:25, 86:12,
                              102:6, 113:16,                                          85:21, 85:23, 85:25,
  47:5                                                     10:13, 15:9                                           86:15, 89:14, 91:15,
                              127:11                                                  86:13, 86:14
important [8] - 12:24,                                   instructions [15] -                                     92:10, 92:11,
                            individuals [15] -                                      investigation [72] -
  15:10, 15:16, 32:13,                                     10:17, 15:12, 15:14,                                  100:13, 101:5,
                              17:11, 19:21, 89:22,                                    17:10, 20:3, 28:16,
  38:9, 46:9, 85:9,                                        28:20, 28:25, 32:16,                                  110:23, 127:5,
                              90:19, 97:24,                                           33:13, 33:23, 57:11,
  108:13                                                   33:2, 34:17, 35:5,                                    128:4, 131:21,
                              101:23, 105:1,                                          57:12, 57:21, 62:21,
IN [5] - 1:1, 4:17, 10:7,     109:8, 121:24,               38:11, 73:13, 73:21,                                  131:22, 134:4,
                                                                                      63:9, 65:10, 68:18,
  56:11, 111:16               122:1, 138:21,               75:17, 106:1, 135:23                                  134:5, 140:19,
                                                                                      70:18, 70:22, 71:7,
inadmissible [2] -            138:23, 139:7,             insulting [1] - 43:1                                    142:19
                                                                                      71:10, 71:19, 71:22,
  43:19, 43:25                139:8, 140:9               Integrity [2] - 1:17,                                 iPhones [2] - 32:10,
                                                                                      72:9, 74:16, 74:23,
inadvertently [1] -         infer [1] - 19:9               22:3                                                  32:22
                                                                                      75:10, 80:23, 81:7,
  36:1                      influence [17] - 40:16,      intended [3] - 15:14,                                 irrelevant [1] - 87:19
                                                                                      81:12, 81:16, 82:3,
inappropriate [1] -           56:13, 56:16, 57:7,          22:18, 23:21                                        IS [1] - 137:2
                                                                                      84:24, 85:1, 85:3,
  8:13                        57:14, 58:6, 58:8,         intends [1] - 63:24                                   ISRAELY [1] - 1:21
                                                                                      85:8, 85:9, 85:11,
          Case 1:19-cr-00148-CKK                      Document 322           Filed 11/07/23          Page 158 of 168                  158



Israely [2] - 4:11, 22:8     118:22, 119:17,              58:6, 72:13, 78:7,        83:18, 87:6, 110:1,         142:8, 142:12
issue [11] - 5:15, 6:11,     119:18, 120:22,              112:21, 113:8,            112:1, 137:12,            lawfully [2] - 106:7,
  31:17, 38:10, 46:23,       121:12, 122:8,               113:19, 130:8             141:10                      106:9
  49:20, 52:3, 52:16,        123:7, 123:14,              keeping [4] - 64:13,      known [6] - 60:9,          laws [5] - 58:3, 58:5,
  53:25, 65:20, 66:8         123:16, 123:18,              78:12, 95:19, 113:10      61:19, 81:9, 83:12,         58:7, 63:12
issues [10] - 4:23,          123:19, 123:21,             Keller [6] - 4:7, 22:2,    97:1, 109:14              lawyer [12] - 17:23,
  6:15, 10:17, 11:21,        123:23, 123:24,              43:24, 44:22, 44:23,     knows [4] - 71:9,            26:4, 26:10, 26:11,
  12:8, 13:1, 32:16,         123:25, 124:1,               44:24                     74:12, 74:15, 75:10         27:5, 46:3, 64:21,
  43:11, 46:14, 110:25       126:24, 127:18,             KELLER [1] - 1:12         KOLLAR [1] - 1:9             65:1, 68:7, 74:4,
itself [5] - 25:7, 27:8,     134:25, 143:18,             KENNER [78] - 1:21,       KOLLAR-KOTELLY               74:13
  29:17, 32:17, 126:18       145:16                       1:22, 4:10, 5:20, 7:5,    [1] - 1:9                 lawyers [6] - 18:1,
                           JUROR [2] - 38:22,             7:25, 8:16, 8:23,        Kong [2] - 66:21,            25:14, 26:8, 26:17,
             J               38:24                        41:7, 42:7, 42:21,        69:17                       63:5
                           Juror [1] - 54:3               43:5, 44:11, 44:16,      KOTELLY [1] - 1:9          lawyers' [2] - 23:19,
Jason [3] - 101:20,        juror [10] - 11:3, 11:6,       44:21, 45:10, 45:24,                                  26:12
                                                                                   Kriss [2] - 4:11, 22:9
  101:21, 101:22             13:2, 30:4, 34:15,           46:2, 46:19, 46:22,                                 layered [1] - 75:4
                                                                                   Kromka [1] - 138:22
jet [1] - 122:20             39:4, 39:10, 55:5,           47:17, 47:21, 48:20,                                layers [1] - 65:5
Jho [18] - 19:12,            55:24, 56:2                  49:1, 49:25, 50:7,
  56:25, 82:5, 82:15,
                                                                                                L             leading [3] - 89:10,
                           juror's [2] - 16:17,           50:24, 51:3, 51:14,                                   107:1, 107:3
  82:16, 83:11, 83:13,       33:2                         51:18, 53:10, 53:13,     L-I-N-G [1] - 79:19        learn [1] - 93:10
  83:14, 83:24, 83:25,     jurors [21] - 4:18,            53:15, 54:14, 55:18,     L-O-O-N-G [1] -            learned [2] - 89:22,
  84:21, 95:15, 96:4,        13:14, 15:16, 15:24,         58:17, 58:23, 59:8,        109:21                     90:4
  110:6, 112:24,             16:2, 16:15, 17:7,           59:12, 59:20, 63:21,     land [1] - 66:25           least [8] - 7:1, 8:12,
  113:5, 113:6               24:5, 24:14, 24:16,          73:18, 75:21, 78:23,     landing [1] - 66:24          9:22, 42:2, 71:1,
JHO [1] - 19:13              28:22, 29:5, 31:19,          81:24, 82:20, 84:11,     language [1] - 54:4          104:3, 136:6
jho.low@gmail.com            31:21, 34:13, 34:22,         87:3, 87:19, 90:24,      large [2] - 46:10, 91:24   leave [11] - 16:23,
  [1] - 95:10                34:24, 36:2, 36:7,           91:23, 92:3, 92:7,       largely [1] - 144:22         24:1, 30:24, 39:2,
job [2] - 37:12, 38:12       36:10, 37:9                  92:17, 95:22,            larger [1] - 14:14           42:15, 51:19, 55:7,
Joel [3] - 90:1, 95:3,     JURY [3] - 1:8, 10:7,          101:14, 107:1,           largest [1] - 127:15         99:20, 99:21,
  111:11                     56:11                        107:21, 108:5,           last [13] - 5:22, 9:6,       110:15, 146:8
joel@guestlistwear.        jury [53] - 5:19, 6:10,        108:9, 108:15,             9:7, 9:16, 42:8,         leaves [2] - 115:20,
  com [1] - 95:3             6:13, 7:17, 10:4,            110:12, 111:6,             42:23, 43:25, 46:4,        123:24
JOHN [1] - 1:12              10:5, 10:6, 12:19,           113:1, 120:4,              47:18, 68:5, 105:9,      left [5] - 51:20, 117:17,
John [3] - 4:6, 22:2,        13:7, 15:6, 17:19,           120:11, 120:14,            116:25, 130:15             122:24, 125:15,
  44:25                      18:9, 18:11, 24:2,           120:16, 124:22,          lastly [3] - 78:20,          130:1
john.keller2@usdoj.          24:9, 26:22, 30:13,          125:3, 128:10,             136:5, 136:6             legal [23] - 10:17, 15:9,
  gov [1] - 1:15             31:23, 31:25, 32:2,          132:2, 134:11,           late [3] - 91:16, 92:11,     24:11, 26:21, 33:10,
joined [1] - 77:3            32:17, 33:3, 33:4,           136:15, 138:5,             100:24                     33:19, 33:20, 33:25,
joint [8] - 77:2, 77:5,      35:10, 36:6, 39:3,           140:24, 143:2,           latest [1] - 136:1           34:10, 34:17, 60:7,
  97:19, 97:22,              45:19, 46:11, 49:2,          144:19                   launder [2] - 20:11,         60:12, 64:20, 64:22,
  102:24, 102:25,            49:14, 50:3, 52:14,         Kenner [7] - 4:11,          20:13                      64:25, 65:3, 65:4,
  103:17, 103:22             52:21, 53:18, 55:10,         5:17, 22:8, 43:24,       laundered [4] - 80:4,        66:14, 83:16,
Joseph [1] - 138:22          55:22, 55:23, 55:25,         46:13, 51:17, 75:20        84:8, 84:22, 86:2          109:24, 110:13,
Jr [2] - 127:13, 127:14      56:1, 56:3, 70:18,          kept [4] - 62:10,         laundering [2] - 69:8,       120:5, 138:6
judge [4] - 24:8, 30:4,      73:21, 83:4, 83:24,          113:14, 113:16,            73:4                     legally [1] - 60:13
  55:21, 73:12               88:17, 99:23, 102:3,         129:9                    LAW [2] - 1:22, 2:2        legible [1] - 123:9
JUDGE [1] - 1:9              104:23, 108:14,             key [6] - 9:13, 41:1,     law [37] - 15:15, 18:13,   legitimate [2] - 62:2,
judges [1] - 24:17           110:14, 125:6,               41:2, 42:13, 112:16,       19:14, 19:20, 20:9,        98:11
July [4] - 128:19,           128:14, 146:9                116:22                     23:8, 23:24, 24:13,      lengthy [1] - 88:21
  130:4, 133:1, 133:3      jury's [1] - 16:3             kicked [1] - 69:20          24:14, 25:16, 28:1,      letters [5] - 71:10,
jumping [1] - 63:11        JUST [1] - 137:2              Kim [4] - 109:14,           28:25, 29:4, 33:15,        71:12, 71:13, 71:18,
June [40] - 60:2,          Justice [3] - 20:8,            109:15, 109:20,            33:17, 34:13, 69:16,       75:9
  100:21, 100:24,            22:4, 71:25                  109:21                     73:12, 73:16, 79:25,     level [3] - 66:16,
  101:20, 102:1,           JUSTICE [2] - 1:12,           KIM [1] - 109:21            86:25, 87:21, 88:15,       67:10, 67:15
  102:5, 106:25,             1:17                        kind [7] - 28:17, 29:8,     88:19, 100:19,           levels [2] - 57:5, 63:10
  107:8, 107:10,           justice [1] - 80:21            29:9, 47:11, 63:6,         104:22, 104:24,          lie [2] - 58:8, 75:6
  107:25, 108:18,                                         129:8                      105:9, 105:11,           lied [4] - 62:2, 62:7,
  111:14, 116:12,                       K                knowing [2] - 20:9,         105:14, 105:22,            64:21, 66:8
  116:15, 116:17,                                         113:20                     106:2, 106:6,            lies [1] - 56:22
                           keep [12] - 8:10, 16:24,      knowledge [7] - 18:7,
  117:10, 118:21,                                                                    106:18, 113:21,          likely [2] - 18:18,
                            38:3, 38:9, 58:4,
          Case 1:19-cr-00148-CKK                     Document 322            Filed 11/07/23         Page 159 of 168                159



  47:16                       42:22, 103:8, 115:5,        120:20, 122:13,           12:25, 24:11,            mention [3] - 6:3,
limine [1] - 7:18             122:18, 130:4,              123:14, 123:16,           100:17, 142:16            21:24, 22:6
limit [3] - 60:12, 104:3,     132:13, 135:11              123:19, 123:21,          map [1] - 48:15           mentioned [7] - 32:23,
  104:5                     looked [4] - 4:13,            124:3, 124:8,            Marc [1] - 140:10          37:8, 83:1, 83:11,
limited [2] - 19:25,          44:24, 145:19,              127:19, 128:3,           March [6] - 1:4, 9:11,     87:24, 109:10, 116:3
  20:18                       145:25                      131:4, 131:17,            39:20, 39:21, 41:2,      mentioning [1] - 32:7
limits [6] - 60:7, 60:9,    looking [21] - 17:4,          131:21, 133:12,           146:20                   merely [1] - 31:6
  97:10, 97:23,               40:23, 59:1, 61:24,         133:19, 133:22,          marked [8] - 82:7,        message [11] - 68:10,
  103:23, 103:25              93:24, 94:23, 97:25,        138:13                    91:11, 110:20,            93:14, 93:20, 94:3,
line [12] - 7:6, 13:1,        100:12, 101:3,            Low's [21] - 57:13,         127:25, 131:18,           128:22, 128:25,
  13:4, 94:3, 97:11,          101:19, 102:10,             57:17, 58:10, 60:13,      134:2, 140:18,            132:14, 141:15,
  101:25, 104:16,             102:18, 104:11,             60:20, 60:22, 61:19,      142:14                    142:19, 143:5,
  106:5, 111:15,              111:13, 118:1,              62:9, 65:12, 66:14,      mask [1] - 76:7            143:15
  129:18, 135:10              123:7, 124:23,              67:3, 68:25, 74:21,      masks [1] - 37:16         messages [5] - 33:3,
lines [3] - 23:17,            129:4, 131:8, 132:6,        75:7, 86:7, 110:7,       material [1] - 145:18      68:16, 72:8, 72:10,
  105:3, 105:23               137:11                      113:5, 113:13,           materials [1] - 17:13      72:12
LISA [1] - 146:15           looks [2] - 37:22,            114:10, 122:20,          matter [12] - 12:7,       met [11] - 11:15, 22:4,
Lisa [1] - 2:6                104:5                       123:3                     38:20, 45:4, 47:23,       22:7, 22:9, 60:12,
listed [5] - 104:19,        Loong [4] - 109:14,         Lowell [1] - 43:20          69:18, 71:17, 76:25,      65:2, 65:17, 66:3,
  113:25, 114:12,             109:15, 109:20,           lowest [1] - 104:2          84:13, 87:16, 88:12,      66:5, 66:25, 72:15
  139:7, 140:9                109:21                    Lum [9] - 5:4, 5:6,         113:16, 131:22           method [2] - 142:11,
listen [5] - 26:23,         loop [1] - 54:22              20:1, 20:18, 43:20,      matters [8] - 12:6,        142:12
  35:16, 35:17, 49:13,      looting [1] - 62:21           43:22, 43:25, 45:2,       17:11, 26:2, 26:21,      Miami [17] - 100:24,
  74:19                     louder [1] - 43:16            45:5                      37:3, 37:4, 53:16,        102:1, 102:5,
listening [3] - 31:10,      low [8] - 6:2, 19:13,       Lunch [1] - 146:11          69:16                     102:14, 109:6,
  37:23, 75:1                 19:25, 20:3, 20:11,       lunch [4] - 11:23,         maxed [1] - 60:11          116:9, 116:18,
listing [1] - 134:22          20:17, 104:6                12:23, 36:23, 146:6      McCall [3] - 101:21,       123:18, 123:19,
litigation [2] - 43:21,     Low [114] - 19:12,          lunches [1] - 11:12         101:22                    123:20, 123:21,
  69:18                       56:25, 57:3, 57:6,        lunchroom [1] - 30:15      mean [9] - 29:1, 35:8,     123:22, 123:24,
living [1] - 67:5             57:21, 57:25, 58:11,      lying [2] - 71:13, 72:17    42:10, 43:1, 45:20,       126:24, 127:17,
LLC [1] - 115:23              59:1, 59:4, 59:6,                                     49:5, 73:15, 122:6,       143:18, 145:16
loan [2] - 14:10, 71:16       59:21, 59:24, 60:2,                   M               130:4                    MICHEL [1] - 1:5
loans [1] - 71:15             60:17, 60:19, 61:2,                                  meaning [3] - 60:12,      Michel [47] - 4:13,
                              61:13, 62:5, 62:6,        ma'am [2] - 80:10,
lobby [2] - 20:2, 20:20                                                             122:4, 122:5              4:20, 6:1, 19:11,
                              62:15, 62:16, 62:19,       100:4
lobbying [3] - 20:6,                                                               means [6] - 17:9,          19:16, 19:20, 19:21,
                              62:21, 63:1, 63:4,        mailing [1] - 104:25                                  19:22, 19:24, 20:6,
  20:12, 21:1                                                                       22:23, 28:20, 33:16,
                              63:7, 63:9, 63:13,        mails [1] - 112:21                                    20:10, 20:16, 20:24,
lobbyists [1] - 104:18                                                              35:9, 142:11
                              63:19, 64:17, 64:18,      main [8] - 112:11,                                    21:4, 21:15, 21:16,
locate [1] - 85:10                                                                 meant [2] - 15:11,
                              64:22, 65:2, 65:6,         112:16, 112:21,                                      21:19, 22:7, 40:10,
located [3] - 80:24,                                                                36:14
                              65:11, 66:13, 66:18,       114:20, 115:2,                                       40:16, 45:6, 48:11,
  81:22, 142:9                                                                     meanwhile [1] - 50:20
                              68:14, 68:19, 69:2,        116:21, 117:1                                        52:3, 53:25, 56:15,
location [1] - 30:20                                                               media [1] - 35:15
                              70:16, 72:5, 73:3,        Main [1] - 116:12                                     63:22, 64:7, 81:7,
lock [1] - 130:9                                                                   medical [1] - 11:13
                              73:8, 74:21, 74:23,       mainland [1] - 66:23                                  81:9, 81:10, 81:14,
Lockhart [2] - 4:5,                                                                meet [10] - 67:19,
                              82:5, 82:15, 82:16,       maintained [1] - 135:5                                81:19, 84:12, 90:11,
  22:2                                                                              68:14, 81:16, 94:16,
                              83:1, 83:11, 83:13,       major [1] - 57:15                                     90:12, 93:13, 96:6,
LOCKHART [27] -                                                                     112:21, 114:19,
                              83:14, 83:24, 83:25,      Malay [1] - 83:25                                     118:19, 121:11,
  1:16, 4:5, 4:25, 5:4,                                                             114:20, 117:1, 129:6
                              84:6, 84:16, 84:21,       Malaysia [6] - 57:1,                                  125:15, 131:11,
  9:5, 9:24, 10:2, 43:9,                                                           Meeting [1] - 131:15
                              84:22, 85:1, 85:4,         62:20, 62:22, 62:24,                                 131:12, 134:24,
  43:15, 43:17, 48:9,                                                              meeting [10] - 65:15,
                              85:8, 85:10, 85:13,        63:3, 84:3                                           135:5, 139:18,
  54:20, 55:3, 56:7,                                                                65:25, 66:2, 66:4,
                              86:1, 86:6, 86:12,        Malaysian [13] - 20:4,                                139:23, 143:5
  56:9, 56:12, 58:22,                                                               68:9, 115:3, 116:21,
                              86:16, 87:18, 89:10,       56:25, 65:16, 65:19,                                Michelle [1] - 4:3
  58:24, 59:17, 59:21,                                                              141:5, 141:9, 141:16
                              89:21, 90:6, 90:12,        66:1, 84:1, 84:2,                                   microphone [2] -
  64:2, 64:8, 64:15,                                                               meetings [2] - 67:14,
                              90:15, 91:15, 92:10,       112:20, 112:23,                                      54:10, 76:8
  73:23, 73:25, 74:8,                                                               112:15
                              94:10, 95:9, 95:11,        112:25, 113:6,                                      microphones [1] -
  74:12                                                                            meets [2] - 46:7, 146:5
                              100:14, 107:11,            114:16, 114:19                                       14:7
long-running [2] -                                                                 member [1] - 96:10
                              107:14, 107:25,           man [5] - 63:16, 63:17,                              mid [1] - 118:21
  74:20, 85:15                                                                     members [2] - 10:6,
                              108:25, 109:9,             64:18, 129:7, 133:5                                 Mid [1] - 145:8
long-time [1] - 68:6                                                                31:24
                              110:6, 110:8,             MAN [2] - 129:13,                                    Mid-Atlantic [1] -
look [15] - 7:2, 14:13,                                                            memo [1] - 67:16
                              110:10, 112:24,            132:23                                               145:8
  16:25, 17:6, 33:19,                                                              memory [5] - 16:14,
                              113:6, 114:7,             manner [5] - 10:22,                                  middle [3] - 76:20,
  39:7, 39:10, 42:1,                                                                16:16, 25:11, 26:7
         Case 1:19-cr-00148-CKK                     Document 322           Filed 11/07/23        Page 160 of 168                      160



 94:23, 111:10            money [76] - 19:17,           128:7, 131:25, 134:9      132:2, 132:4,            136:17, 137:5,
might [7] - 16:10,         19:21, 20:11, 20:13,        moving [4] - 12:25,        133:13, 134:9,           139:13, 140:17,
 17:22, 42:5, 46:22,       56:12, 57:7, 57:8,           38:18, 130:9, 132:25      134:11, 134:15,          140:22, 141:24,
 63:23, 80:13, 95:22       57:18, 58:2, 58:4,          MR [176] - 4:10, 5:20,     135:9, 135:17,           142:25, 143:12,
Mike [1] - 123:3           58:10, 58:14, 59:3,          7:5, 7:25, 8:16, 8:23,    136:7, 136:13,           143:22, 144:7,
MILL [3] - 117:20,         59:5, 59:24, 59:25,          41:7, 42:7, 42:21,        136:15, 136:17,          144:17, 145:10,
 118:3, 118:14             60:6, 60:14, 60:24,          43:5, 44:11, 44:16,       137:5, 138:5,            146:4
million [23] - 56:15,      61:7, 61:19, 61:23,          44:21, 45:10, 45:24,      139:13, 140:17,         Mulryne [4] - 4:7, 22:2,
 60:3, 61:15, 61:20,       62:2, 62:5, 62:9,            46:2, 46:19, 46:22,       140:22, 140:24,          79:7, 79:15
 62:8, 62:12, 68:25,       62:10, 62:24, 62:25,         47:17, 47:21, 48:20,      141:24, 142:25,         Mulryne)....................
 69:1, 85:13, 86:2,        63:19, 64:21, 65:7,          49:1, 49:25, 50:7,        143:2, 143:12,           ................79 [1] - 3:4
 86:17, 93:25, 118:4,      66:13, 68:25, 69:2,          50:24, 51:3, 51:14,       143:22, 144:7,          multiple [4] - 81:18,
 118:22, 119:16,           69:8, 69:10, 69:13,          51:18, 53:10, 53:13,      144:17, 144:19,          85:5, 125:1, 130:23
 119:18, 120:21,           69:15, 69:22, 69:25,         53:15, 54:14, 55:18,      145:10, 146:4           music [2] - 58:25,
 121:14, 121:21,           70:4, 70:8, 70:10,           58:17, 58:23, 59:8,      MS [26] - 4:5, 4:25,      81:14
 122:8, 139:18, 140:1      71:8, 71:14, 71:16,          59:12, 59:20, 63:21,      5:4, 9:5, 9:24, 10:2,   musn't [4] - 21:13,
millions [6] - 62:18,      72:4, 72:25, 73:4,           73:18, 75:21, 75:25,      43:9, 43:15, 43:17,      26:10, 27:8, 28:12
 63:13, 66:17, 69:6,       73:5, 73:8, 74:21,           76:23, 77:2, 77:8,        48:9, 54:20, 55:3,      must [18] - 17:7, 17:9,
 72:24, 85:13              80:3, 80:4, 84:8,            77:11, 77:14, 77:21,      56:7, 56:9, 56:12,       23:24, 24:4, 24:5,
mind [3] - 38:9, 64:13,    87:17, 87:22, 88:13,         77:23, 78:3, 78:6,        58:22, 58:24, 59:17,     24:21, 24:22, 24:24,
 130:1                     90:7, 91:19, 97:23,          78:9, 78:13, 78:17,       59:21, 64:2, 64:8,       27:13, 28:10, 28:15,
mine [2] - 37:11, 53:14    98:14, 98:23, 109:3,         78:19, 78:23, 79:5,       64:15, 73:23, 73:25,     29:12, 31:23, 32:5,
minister [7] - 63:2,       120:23, 136:10,              79:9, 79:13, 81:24,       74:8, 74:12              33:4, 33:9, 34:15,
 65:16, 65:19, 66:1,       138:17, 139:3,               82:7, 82:11, 82:17,      MULRYNE [101] - 1:16,     130:10
 66:3, 67:1                139:4, 139:9,                82:20, 82:23, 83:10,      75:25, 76:23, 77:2,
                           139:20, 140:2,               83:22, 84:11, 84:20,      77:8, 77:11, 77:14,
minute [2] - 50:17,                                                                                                      N
 126:8                     140:3, 140:12                87:3, 87:5, 87:11,        77:21, 77:23, 78:3,
                          monies [2] - 138:24,          87:14, 87:19, 90:24,      78:6, 78:9, 78:13,      name [23] - 17:20,
minutes [5] - 39:15,
                           138:25                       91:4, 91:11, 91:23,       78:17, 78:19, 79:5,      18:3, 19:15, 19:22,
 42:8, 49:19, 51:1,
                          month [2] - 93:24,            92:3, 92:6, 92:7,         79:9, 79:13, 82:7,       79:16, 88:5, 95:3,
 99:19
                           130:6                        92:14, 92:17, 92:22,      82:11, 82:17, 82:23,     104:25, 105:9,
misidentifying [1] -
                          months [1] - 70:5             94:18, 95:7, 95:21,       83:10, 83:22, 84:20,     106:22, 109:15,
 61:9
                          Moreira [2] - 2:6,            95:22, 96:1, 96:3,        87:5, 87:11, 87:14,      110:9, 110:10,
misinterpretation [1] -
                           146:22                       98:18, 99:16, 100:3,      91:4, 91:11, 92:6,       112:21, 113:8,
 42:19
                          MOREIRA [1] - 146:15          100:10, 100:11,           92:14, 92:22, 94:18,     113:13, 113:16,
misleading [1] - 34:5
                          morning [24] - 4:8,           101:1, 101:11,            95:7, 95:21, 96:1,       119:19, 126:4,
mispronouncing [1] -
                           4:10, 4:16, 4:17,            101:14, 101:17,           96:3, 98:18, 99:16,      126:6, 135:6, 137:22
 114:13
                           4:20, 4:21, 5:5, 5:19,       102:8, 102:20,            100:3, 100:10,          named [6] - 20:5, 82:5,
missing [1] - 12:22
                           10:6, 10:7, 11:24,           103:5, 103:16,            100:11, 101:1,           89:25, 109:11,
misunderstanding [1]
                           12:11, 25:4, 36:22,          107:1, 107:4,             101:11, 101:17,          127:12, 138:21
 - 41:3
                           43:12, 56:10, 56:11,         107:12, 107:19,           102:8, 102:20,          names [4] - 56:21,
misunderstood [1] -
                           68:9, 79:14, 79:15,          107:21, 108:5,            103:5, 103:16,           64:23, 113:10,
 41:5
                           85:20, 95:23, 99:18          108:9, 108:15,            107:4, 107:12,           113:19
Mohamed [3] - 113:25,
                          MORNING [1] - 1:5             108:21, 110:12,           107:19, 108:21,         narrow [2] - 41:19,
 114:3, 126:7
                          most [3] - 85:9, 97:6,        111:4, 111:6, 111:9,      111:4, 111:9,            49:23
Moise [2] - 121:24,
                           112:4                        113:1, 115:11,            115:11, 117:5,          National [2] - 68:10,
 122:2
                          motions [2] - 7:18,           117:5, 118:6,             118:6, 118:25,           93:19
moment [16] - 39:5,
                           25:13                        118:25, 120:4,            121:4, 121:7,           national [16] - 19:12,
 39:10, 60:22, 88:16,
                          motive [3] - 39:23,           120:11, 120:14,           121:17, 122:16,          20:21, 56:25, 57:23,
 89:6, 92:9, 100:12,
                           40:5, 41:15                  120:16, 121:4,            123:5, 124:10,           58:1, 67:22, 68:11,
 106:14, 114:18,
                          move [13] - 49:21,            121:7, 121:17,            124:19, 125:1,           68:19, 86:8, 87:18,
 115:16, 119:9,
                           73:23, 77:4, 82:18,          122:16, 123:5,            125:6, 125:10,           98:1, 99:14, 100:16,
 121:19, 123:9,
                           82:23, 100:16,               124:10, 124:19,           125:16, 126:1,           100:19, 106:19,
 129:23, 136:5,
                           107:19, 115:11,              124:22, 125:1,            126:22, 127:25,          145:22
 137:17
                           131:24, 136:13,              125:3, 125:6,             128:7, 128:13,          nationals [4] - 59:23,
momentarily [1] -
                           140:22, 142:25,              125:10, 125:16,           131:3, 131:6,            87:21, 106:4, 106:6
 102:21
                           144:17                       126:1, 126:22,            131:18, 131:24,         natural [2] - 12:10,
moments [5] - 83:1,
                          moves [8] - 77:14,            127:25, 128:7,            132:4, 133:13,           30:9
 88:10, 134:18,
                           92:14, 101:11,               128:10, 128:13,           134:9, 134:15,          naturalized [1] - 114:9
 137:16, 145:12
                           111:4, 124:19,               131:3, 131:6,             135:9, 135:17,          nature [1] - 28:12
Monday [1] - 133:1
                                                        131:18, 131:24,           136:7, 136:13,
          Case 1:19-cr-00148-CKK                      Document 322            Filed 11/07/23          Page 161 of 168                  161



nearly [1] - 121:1          - 112:3                       143:21, 145:8             occasionally [6] -           130:21, 130:24,
necessarily [1] - 25:7     normal [2] - 63:11,           Obama's [10] - 19:18,       12:17, 32:13, 32:16,        130:25, 133:10,
necessary [2] - 26:25,      66:24                         90:20, 91:8, 93:16,        33:6, 34:21, 83:7           134:4, 137:11,
 58:3                      normally [1] - 10:23           94:5, 94:8, 126:17,       occupation [2] -             140:14, 142:15
neck [1] - 130:7           NOT [1] - 137:2                127:22, 128:4,             104:25, 105:10             one.. [1] - 135:3
need [35] - 12:17,         notebook [1] - 16:1            129:20                    occur [2] - 112:15,         ones [2] - 13:19, 36:19
 12:22, 13:18, 13:20,      notebooks [4] - 16:23,        object [9] - 8:6, 26:8,     116:15                     ongoing [2] - 85:6,
 14:4, 15:2, 16:20,         39:2, 99:20, 146:9            26:13, 26:17, 48:24,      occurred [3] - 31:20,        98:10
 26:22, 29:24, 31:12,      notes [14] - 16:2, 16:3,       49:5, 59:9, 63:22,         36:3, 100:22               open [6] - 17:5, 38:9,
 32:1, 32:3, 33:14,         16:5, 16:8, 16:13,            110:12                    occurring [1] - 123:24       45:3, 45:8, 47:5,
 33:21, 35:21, 36:16,       16:15, 16:17, 16:19,         objected [1] - 53:5        occurs [1] - 116:21          110:9
 36:20, 37:4, 37:21,        17:1, 17:2, 25:12,           objecting [8] - 8:10,      OF [7] - 1:1, 1:2, 1:8,     opened [2] - 84:25,
 38:19, 39:11, 42:4,        130:15, 146:17                9:21, 48:4, 48:22,         1:12, 1:17, 2:2,            110:9
 43:12, 43:16, 46:5,       noteworthy [1] - 38:8          51:8, 59:11, 74:5,         146:13                     opening [43] - 4:23,
 49:18, 73:14, 76:4,       nothing [3] - 45:6,            76:17                     offense [2] - 28:5, 28:9     5:14, 5:16, 6:21, 7:8,
 95:16, 99:25, 100:2,       52:19, 126:14                objection [46] - 8:5,      offenses [3] - 21:7,         7:9, 7:15, 8:15, 8:18,
 130:2, 130:3              notice [10] - 8:21,            27:6, 27:17, 44:2,         21:20, 73:11                9:1, 9:21, 22:11,
needed [9] - 12:9,          13:12, 13:14, 37:9,           44:24, 52:24, 58:18,      offer [1] - 23:16            22:12, 22:13, 22:15,
 57:8, 59:25, 63:4,         46:5, 46:17, 47:15,           73:18, 76:16, 76:18,      offered [1] - 87:4           22:18, 22:20, 22:21,
 63:5, 63:10, 63:18,        70:21, 77:2, 77:5             82:19, 82:20, 82:24,      offers [1] - 26:9            23:20, 38:18, 41:18,
 64:16, 73:16              noticed [3] - 15:5,            82:25, 87:19, 90:24,      office [4] - 68:5, 80:23,    41:23, 42:18, 43:8,
needing [1] - 36:14         15:6, 15:17                   92:19, 101:13,             80:25, 81:2                 43:10, 46:13, 47:3,
needs [3] - 13:22,         notwithstanding [2] -          101:14, 101:16,           OFFICES [1] - 2:2            47:13, 47:14, 48:14,
 44:17, 49:7                6:4, 49:25                    107:1, 107:21,            OFFICIAL [1] - 146:13        48:17, 49:4, 50:2,
networking [1] - 29:10     November [6] - 60:2,           107:23, 111:6,            official [9] - 20:19,        50:8, 50:16, 51:9,
never [10] - 24:6,          123:2, 129:15,                111:8, 113:1, 120:4,       66:16, 67:2, 67:4,          51:23, 53:19, 54:23,
 27:25, 40:16, 65:2,        129:23, 129:24,               120:11, 124:23,            67:14, 68:15, 102:4,        56:6, 63:25, 64:2,
 83:19, 110:2, 129:8,       129:25                        125:3, 125:5, 128:9,       114:8, 146:23               75:22
 141:12                    number [21] - 7:17,            128:10, 128:12,           Official [1] - 2:7          operate [1] - 23:17
New [6] - 1:13, 1:18,       7:19, 17:2, 65:11,            132:2, 134:11,            official's [1] - 67:10      opinion [4] - 25:17,
 80:25, 81:1, 90:8,         65:14, 65:17, 65:22,          134:13, 136:15,                                        25:19, 35:21, 55:17
                                                                                    officials [3] - 67:15,
 143:5                      66:5, 71:1, 72:23,            138:5, 140:24,                                        opinions [1] - 87:8
                                                                                     75:2, 80:3
new [1] - 50:3              73:2, 77:4, 77:8,             141:1, 143:2, 143:3,                                  opportunity [7] - 8:8,
                                                                                    often [6] - 26:24,
News [1] - 132:12           96:17, 97:23, 105:3,          144:19, 144:21                                         13:5, 22:11, 45:14,
                                                                                     103:18, 110:6,
news [1] - 132:20           115:19, 115:22,              objectionable [2] -                                     51:22, 59:5, 124:13
                                                                                     110:8, 113:19,
newspaper [1] - 35:13       123:2, 123:3, 137:8           49:6, 50:4                                            opposed [1] - 63:23
                                                                                     130:22
Next [1] - 1:25            numerous [1] - 88:23          objections [11] - 7:8,                                 order [19] - 19:17,
                                                                                    ON [1] - 137:2
next [9] - 38:18, 93:24,   NW [5] - 1:13, 1:18,           7:16, 8:6, 25:14,                                      21:11, 39:19, 39:20,
                                                                                    once [4] - 11:19, 33:7,
 95:4, 113:24, 130:6,       2:3, 2:8, 146:24              26:11, 50:2, 50:6,                                     39:21, 39:22, 40:9,
                                                                                     116:12, 116:23
 130:24, 133:3,                                           52:1, 92:16, 124:21,                                   40:18, 41:3, 41:25,
                                                                                    one [67] - 6:17, 6:24,
                                                          132:1                                                  42:12, 42:16, 44:6,
 135:10, 146:3                          O                                            7:1, 8:20, 8:21, 9:5,
NGO [5] - 111:19,                                        objectively [1] - 40:4                                  45:12, 50:11, 52:6,
                                                                                     9:16, 11:1, 12:21,
                           Obama [43] - 58:12,           objects [1] - 47:24                                     52:7, 53:24, 86:4
 111:22, 111:25,                                                                     13:14, 13:20, 14:10,
                            60:17, 60:23, 61:5,          observe [1] - 16:20                                    orderly [2] - 12:25,
 112:2, 112:3                                                                        14:15, 14:16, 16:25,
                            86:21, 94:5, 94:16,          obstruct [4] - 57:12,                                   24:11
Nickie [2] - 20:1, 20:18                                                             22:23, 29:4, 35:12,
                            96:5, 99:8, 100:25,           71:7, 71:18, 74:15                                    orders [4] - 9:7, 40:22,
Nicole [2] - 4:5, 22:2                                                               37:1, 37:14, 38:19,
                            102:1, 102:5,                obstruction [2] - 75:4,                                 52:1
NICOLE [1] - 1:16                                                                    40:11, 41:8, 43:12,
                            102:17, 102:22,               80:21                                                 organization [2] -
nicole.lockhart@                                                                     43:19, 44:20, 45:25,
                            102:23, 102:24,              obtain [5] - 17:15,                                     105:20, 112:3
 usdoj.gov [1] - 1:20                                                                46:25, 47:11, 55:11,
                            103:18, 103:20,               91:21, 101:8, 119:1,                                  organizations [1] -
night [8] - 5:22, 7:6,                                                               55:16, 55:24, 56:20,
                            104:11, 104:17,               122:12                                                 112:5
 9:6, 42:8, 42:23,                                                                   60:8, 65:14, 67:18,
                            106:8, 107:25,               obtained [5] - 110:22,                                 original [1] - 95:2
 43:25, 46:4, 47:18                                                                  67:25, 69:12, 71:1,
                            109:6, 116:17,                124:16, 128:3,
night's [1] - 42:23                                                                  71:5, 72:23, 77:6,         originally [2] - 6:17,
                            121:2, 121:12,                142:2, 144:12
NO [2] - 38:22, 38:24                                                                81:6, 82:9, 83:5,           45:6
                            121:23, 122:7,               obviously [10] - 7:17,
nobody [1] - 11:8                                                                    85:6, 85:8, 94:15,         Oriol [2] - 121:25,
                            124:1, 125:13,                12:4, 13:8, 13:22,
noise [1] - 26:19                                                                    95:24, 97:7, 100:15,        122:2
                            125:19, 126:9,                18:1, 18:20, 30:14,
none [4] - 16:4, 68:20,                                                              104:21, 112:20,            Orozco [12] - 92:6,
                            126:11, 126:25,               39:18, 55:7, 125:13
 117:21, 126:20                                                                      115:19, 116:25,             92:24, 94:19, 107:9,
                            127:5, 127:16,               occasion [2] - 80:17,
nonetheless [1] - 35:3                                                               120:25, 123:9,              108:21, 124:10,
                            138:19, 139:1,                80:19
nongovernmental [1]                                                                  124:23, 127:15,             128:15, 131:7,
                            139:4, 140:6,
         Case 1:19-cr-00148-CKK                     Document 322           Filed 11/07/23         Page 162 of 168                     162



 132:5, 134:16,          Paid [1] - 102:22             people [27] - 7:9,         135:1, 139:20,            posting [1] - 29:9
 135:20, 137:5           paper [3] - 15:5, 92:1,        13:13, 17:15, 18:1,       139:21, 139:23            potential [1] - 47:1
otherwise [3] - 11:13,    92:3                          29:16, 29:18, 30:2,      place [4] - 45:7, 85:16,   potentially [2] - 4:23,
 57:4, 86:6              paragraph [10] - 96:9,         30:10, 31:8, 31:10,       116:14, 116:23             6:19
outright [1] - 72:17      96:17, 96:23, 97:25,          31:16, 32:6, 32:8,       places [3] - 29:17,        PowerPoint [5] -
outside [4] - 17:17,      102:2, 111:17,                32:12, 32:17, 33:7,       30:16, 61:2                43:15, 43:17, 43:23,
 29:14, 30:14, 34:1       111:21, 112:1,                33:17, 37:15, 49:5,      plain [1] - 34:6            44:4, 54:24
overflow [1] - 31:9       116:19, 117:14                57:1, 62:20, 93:1,       Plaintiff [1] - 1:3        practical [1] - 36:8
overhear [1] - 31:1      Paragraph [8] - 112:6,         112:16, 116:22,          plan [5] - 52:10, 141:5,   practice [1] - 16:1
overhearing [2] -         112:11, 112:13,               129:13, 130:7             141:9, 141:16, 146:2      Practices [1] - 80:7
 30:17, 31:12             112:19, 113:25,              People's [3] - 20:19,     planner [2] - 115:25,      Prakazrel [5] - 4:3,
overnight [1] - 12:24     114:18, 116:11,               20:23, 20:25              116:8                      22:7, 56:14, 81:7,
overrule [2] - 27:17,     116:25                       perfect [1] - 128:17      planning [1] - 74:6         81:19
 120:17                  pardoned [1] - 68:5           performing [1] - 64:20    play [1] - 65:18           PRAKAZREL [1] - 1:5
overruled [1] - 87:20    parentheses [1] -             perhaps [4] - 41:5,       played [1] - 72:18         Pras [8] - 81:9, 81:10,
overseas [1] - 80:8       114:24                        85:6, 102:20, 104:21     plea [1] - 43:22            96:6, 96:10, 102:4,
OVF [5] - 103:18,        part [24] - 5:16, 6:20,       period [6] - 10:20,       plead [1] - 46:21           129:2, 132:18,
 103:20, 103:22,          9:13, 10:19, 11:15,           12:17, 30:4, 99:3,       pleadings [1] - 8:8         132:19
 104:1, 140:13            12:1, 12:5, 15:3,             127:3, 134:6             pls [1] - 112:21           prasmichel@gmail.
own [10] - 16:14,         18:10, 25:18, 27:14,         periods [1] - 57:15       pm [1] - 143:10             com [2] - 93:8, 93:12
 16:16, 28:16, 33:23,     30:7, 37:12, 45:3,           permanent [4] - 83:16,    pocketed [1] - 68:24       precis [1] - 42:16
 34:12, 35:21, 35:22,     46:10, 69:11, 70:12,          106:7, 106:10,           point [35] - 5:15, 6:16,   precluded [3] - 6:24,
 98:5, 135:6, 140:4       82:3, 85:16, 87:10,           109:24                    6:20, 6:25, 7:1, 7:23,     7:23, 51:25
owned [4] - 20:4,         119:4, 126:24,               permit [1] - 5:1           9:3, 9:7, 9:17, 9:19,     prefer [1] - 73:22
 62:23, 96:20, 99:14      142:1, 144:4                 permitted [3] - 28:18,     9:22, 10:9, 10:14,        prejudice [2] - 38:12,
owner [2] - 110:11,      partially [1] - 126:7          33:12, 40:9               45:23, 45:25, 47:6,        49:7
 120:3                   particular [6] - 11:17,       person [15] - 18:2,        48:23, 48:24, 49:8,       preliminary [4] - 8:17,
                          16:9, 28:7, 81:5,             19:15, 19:23, 21:11,      52:11, 54:13, 54:15,       10:13, 15:8, 15:14
            P             98:17, 127:10                 21:25, 60:1, 60:8,        55:4, 55:9, 64:13,        prepaid [1] - 72:6
                         particularly [1] - 31:8        88:6, 88:7, 98:14,        83:7, 87:8, 100:15,       preparation [1] - 25:5
P.A [1] - 2:3            parties [8] - 12:6,            98:23, 106:11,            108:13, 111:2,            prescribed [1] - 39:24
p.m [1] - 116:18          29:19, 30:11, 30:22,          106:16, 106:21            126:23, 130:18,           presence [1] - 36:7
PAC [19] - 61:19,         33:23, 34:2, 38:16,          personal [5] - 58:20,      146:1, 146:7              present [4] - 18:22,
 61:21, 86:22, 96:24,     77:3                          121:1, 135:5,            pointing [2] - 41:14,       23:7, 50:3, 74:7
 97:1, 97:2, 97:4,       Partners [1] - 119:20          137:21, 140:4             42:3                      presentation [4] -
 97:8, 97:12, 98:2,      parts [5] - 41:1, 41:2,       personally [1] - 129:7    points [2] - 57:2, 65:14    43:15, 43:17, 43:23,
 98:8, 98:9, 98:12,       42:14, 85:9, 108:13          persons [3] - 80:7,       policy [1] - 58:7           44:4
 98:15, 98:24, 99:4,     party [4] - 26:12, 59:2,       84:1, 97:18              political [13] - 19:14,    presented [12] - 17:8,
 99:10                    64:18, 117:23                perspective [2] - 48:7,    56:20, 61:18, 61:25,       19:4, 21:18, 24:19,
Pack [1] - 96:21         pass [2] - 98:14, 98:23        78:22                     67:6, 70:21, 75:6,         28:14, 33:10, 34:8,
package [2] - 118:15,    pass-through [1] -            pertaining [1] - 122:13    94:12, 96:24, 97:2,        34:9, 34:10, 38:5,
 136:19                   98:14                        phases [1] - 85:7          126:18, 127:20             38:14, 40:19
PACs [1] - 97:17         patience [1] - 56:5           phone [7] - 72:6, 72:7,   pools [1] - 103:1          presenting [3] - 9:16,
Page [13] - 1:25,        Patrick [5] - 93:15,           72:10, 129:2,            pops [1] - 14:21            21:25, 59:16
 92:25, 103:5,            93:23, 96:5, 96:10            129:18, 142:10           portion [21] - 58:21,      presents [2] - 18:21,
 108:16, 111:9,          Patterson [4] - 11:14,        phones [5] - 56:22,        85:21, 86:19,              23:6
 115:12, 123:5,           31:2, 31:17, 39:1             75:11, 89:2, 89:3,        103:16, 104:11,           President [34] - 19:18,
 125:16, 132:21,         pause [2] - 126:8,             142:13                    105:5, 105:7,              20:2, 20:21, 21:2,
 133:14, 133:15,          129:16                       photo [1] - 119:21         106:14, 115:12,            57:21, 57:23, 58:12,
 143:12, 143:22          Pause [1] - 55:12             Photo [1] - 125:16         117:7, 120:23,             60:17, 60:23, 63:16,
page [9] - 102:10,       pay [6] - 11:23, 16:10,       photographs [1] -          123:6, 128:16,             74:23, 74:24, 86:20,
 103:10, 111:14,          24:24, 25:9, 33:8,            124:16                    131:6, 132:5,              90:20, 91:8, 93:16,
 117:6, 132:16,           63:13                        photos [1] - 125:2         133:15, 135:19,            94:5, 94:8, 94:16,
 132:17, 135:10,
                         paying [6] - 13:21,           pick [1] - 100:8           136:6, 138:16,             99:8, 100:25,
 135:18, 145:10
                          36:18, 37:9, 37:13,          picked [1] - 32:1          139:15, 140:1              102:17, 109:6,
PAGE [1] - 3:2            69:1, 80:8                   picking [1] - 130:1       portions [2] - 41:25,       116:17, 125:13,
paid [9] - 57:9, 58:3,   payout [1] - 62:14                                       103:8
                                                       picture [1] - 125:13                                  125:19, 126:9,
 59:1, 61:4, 63:17,
                         pencil [1] - 16:1             pictures [2] - 60:21      position [1] - 9:1          126:10, 126:17,
 67:11, 68:2, 72:19,
                         pencils [1] - 16:23           PJ [7] - 134:22,          possible [3] - 31:2,        126:25, 127:22,
 74:18
                         pens [1] - 99:20               134:23, 134:24,           100:14, 123:10             128:4, 129:20
          Case 1:19-cr-00148-CKK                     Document 322            Filed 11/07/23         Page 163 of 168                 163



president [16] - 19:19,    proceedings [1] -             125:6, 125:9              RAE [1] - 1:16              64:11
 56:18, 61:14, 65:5,        146:18                      published [7] - 83:3,      raise [8] - 6:6, 18:5,     reasons [2] - 33:22,
 65:17, 65:20, 66:1,       process [7] - 6:25,           92:20, 92:21, 92:23,       36:9, 45:25, 54:3,         35:3
 66:6, 67:20, 67:21,        18:10, 29:1, 34:24,          101:17, 125:8,             65:20, 66:4, 93:25        rebuttal [1] - 23:16
 68:3, 68:5, 86:20,         35:8, 36:16, 69:12           128:13                    raised [6] - 43:12,        receipt [3] - 117:22,
 125:18, 126:14,           processes [1] - 63:11        pull [18] - 13:2, 13:5,     43:24, 44:24, 49:16,       121:14, 138:17
 143:21                    produce [2] - 23:9,           82:7, 91:11, 101:1,        49:17, 66:7               receive [11] - 31:23,
presidential [20] -         28:2                         103:3, 107:12,            raising [3] - 6:20,         69:7, 97:24, 107:8,
 56:17, 57:19, 58:11,      proffer [1] - 46:12           121:4, 122:16,             52:11, 131:16              107:10, 116:1,
 59:6, 59:22, 60:4,        proffered [1] - 48:12         124:10, 130:5,            Randall [1] - 138:21        116:13, 116:24,
 60:14, 60:25, 61:16,      profit [1] - 117:21           131:3, 131:18,            randomly [1] - 15:19        119:16, 137:1,
 62:9, 62:13, 71:9,        profited [1] - 68:23          133:13, 135:17,           ranging [1] - 123:7         137:18
 72:25, 74:22, 89:10,      program [1] - 35:17           137:6, 139:13,            ranking [2] - 67:2,        received [19] - 44:22,
 97:5, 97:19, 97:20,       progresses [2] -              141:25                     68:15                      56:15, 71:14, 71:24,
 98:2, 98:6                 11:25, 54:16                purchased [1] - 62:19      rather [3] - 6:2, 34:24,    85:12, 89:13, 101:4,
presumably [4] -           prohibited [1] - 59:23       purport [1] - 132:14        49:8                       106:25, 119:18,
 51:10, 52:21, 52:22,      prohibiting [1] - 63:12      purports [1] - 128:22      RDR [3] - 2:6, 146:15,      137:20, 138:25,
 59:16                     prohibition [3] -            purpose [11] - 20:15,       146:22                     139:5, 139:9,
presumed [1] - 27:20        106:3, 145:22                65:8, 66:11, 73:5,        re [6] - 19:18, 86:21,      139:25, 140:12,
presumption [1] -          prohibitions [1] -            73:7, 90:22, 90:23,        90:20, 91:8, 96:6,         140:16, 144:2,
 27:21                      19:14                        91:7, 106:12,              101:24                     145:20
prevent [2] - 71:19,       prohibits [3] - 87:21,        106:16, 117:22            re-election [5] - 86:21,   receives [3] - 94:25,
 72:9                       100:19, 106:6               purposes [2] - 87:15,       90:20, 91:8, 96:6,         133:25, 139:18
previous [3] - 90:10,      projects [2] - 70:1,          88:11                      101:24                    receiving [4] - 69:6,
 144:25, 145:24             81:15                       pursuant [2] - 77:2,       reach [4] - 24:4, 29:2,     120:24, 121:21,
previously [8] - 119:7,    promise [2] - 136:25          79:1                       33:7, 71:4                 122:8
 121:8, 122:17,            promoter [1] - 90:5          pursuit [1] - 65:25        reached [1] - 65:22        recent [1] - 35:6
 137:6, 139:14,            proof [1] - 27:25            push [2] - 11:2, 13:11     read [25] - 35:16,         recess [5] - 13:18,
 140:15, 143:18            properly [2] - 25:24,        put [21] - 13:18, 14:20,    40:21, 41:8, 41:25,        16:22, 29:15, 95:23,
primarily [3] - 120:10,     26:10                        15:7, 17:5, 18:22,         49:22, 91:25, 93:20,       146:11
 120:18, 120:20            proposed [2] - 114:25,        22:22, 23:10, 26:19,       96:12, 96:17, 102:2,      Recess [2] - 39:16,
primary [3] - 138:4,        115:1                        32:24, 35:17, 36:13,       104:22, 105:6,             100:6
 138:10, 138:13            proposition [1] - 39:25       36:17, 41:1, 42:12,        105:11, 106:5,            recipient [3] - 138:11,
prime [6] - 63:2, 65:16,   prosecutors [1] -             59:13, 59:18, 75:17,       106:14, 108:11,            138:13
 65:19, 66:1, 66:3          23:12                        77:11, 77:15,              112:13, 112:18,           recipients [1] - 133:11
principal [6] - 40:3,      prove [6] - 18:24,            124:24, 129:11             114:17, 116:20,           recognize [9] - 17:22,
 40:6, 40:12, 40:17,        22:16, 23:9, 27:24,         puts [1] - 70:21            117:2, 117:24,             82:14, 91:14, 101:4,
 52:4, 53:25                28:2, 28:9                  putting [4] - 5:24,         126:3, 130:16,             110:21, 128:2,
principles [1] - 33:11     proven [2] - 27:22,           13:24, 14:4, 55:14         135:14                     131:20, 134:3, 135:4
print [2] - 55:13, 55:14    28:4                                                   reading [3] - 128:25,      reconsider [1] - 41:23
private [4] - 60:22,       provide [8] - 18:15,                      Q              132:18, 141:3             record [23] - 4:4, 7:3,
 122:20, 123:3, 141:4       31:23, 32:3, 32:5,                                     reads [8] - 96:9,           7:24, 7:25, 8:7, 8:24,
                                                        questions [12] - 22:25,
privately [1] - 18:6        41:25, 103:12,                                          106:14, 108:3,             9:18, 9:23, 25:5,
                                                         23:3, 23:12, 24:12,
privilege [1] - 5:8         105:16, 111:21                                          116:12, 132:18,            27:12, 44:17, 49:18,
                                                         25:15, 26:15, 69:5,
problem [17] - 7:21,       provided [10] - 54:24,                                   134:21, 135:2,             51:3, 51:20, 51:21,
                                                         69:24, 70:6, 96:23,
 11:12, 13:3, 13:20,        77:5, 106:11,                                           135:12                     53:11, 54:23, 54:25,
                                                         98:18, 107:3
 13:23, 14:10, 14:11,       106:15, 116:9,                                         ready [2] - 10:8, 56:5      65:20, 76:7, 77:12,
                                                        questions.. [1] -                                      82:2, 109:19
 32:4, 41:15, 47:16,        139:1, 139:2, 139:3,                                   Real [1] - 119:19
                                                         117:16                                               records [16] - 70:19,
 48:21, 48:22, 49:15,       142:4, 144:14                                          reality [1] - 70:12
                                                        quick [4] - 38:19,                                     72:7, 88:24, 89:3,
 50:19, 54:17, 60:5,       provides [3] - 88:7,                                    realize [3] - 17:22,
                                                         38:20, 43:7, 135:11                                   113:20, 119:2,
 96:19                      103:13, 143:11                                          18:4, 42:25
                                                        quickly [1] - 26:19                                    119:4, 119:11,
problems [4] - 32:12,      providing [2] - 51:15,                                  realized [1] - 41:4
                                                        quietly [1] - 27:2                                     120:2, 120:9,
 34:21, 35:7, 47:4          104:14                                                 really [3] - 12:18,
                                                        quite [3] - 7:19, 50:21,                               122:13, 122:20,
procedures [3] -           province [1] - 110:13                                    64:24, 133:5
                                                         108:10                                                123:12, 138:3, 142:7
 15:15, 63:12, 66:24       proxy [1] - 110:6                                       reason [6] - 12:2, 14:7,
Proceed [1] - 135:13                                                                37:8, 53:18, 62:3,        red [1] - 125:23
                           Public [2] - 1:17, 22:3
proceed [10] - 10:8,       public [4] - 61:12,
                                                                     R              108:14                    redirect [2] - 23:5,
 21:21, 43:10, 50:19,                                   race [1] - 100:2           reasonable [7] -            23:14
                            61:21, 67:1, 75:7
 56:5, 56:7, 75:23,                                     radar [1] - 130:8           18:24, 21:19, 27:23,      refer [1] - 8:1
                           publicity [1] - 35:25
 88:17, 100:8, 113:4                                    radio [1] - 35:13           27:25, 28:5, 28:10,       reference [21] - 17:13,
                           publish [3] - 82:18,
          Case 1:19-cr-00148-CKK                      Document 322            Filed 11/07/23          Page 164 of 168                     164



 47:21, 94:2, 96:24,       relative [1] - 141:19         reread [1] - 43:2          reviewed [4] - 102:11,      34:16, 35:11, 50:1,
 102:22, 111:25,           relentless [1] - 65:25        research [8] - 17:10,        114:17, 119:15,           74:1, 74:2, 74:3,
 112:17, 112:23,           relevant [10] - 39:21,         28:17, 33:13, 33:17,        145:16                    74:12, 74:15, 74:17,
 113:7, 118:2,              87:20, 90:15, 99:3,           33:18, 34:12, 34:19,      revisit [1] - 6:8           97:8
 119:15, 129:19,            99:12, 100:22,                35:6                      revisited [1] - 8:12       ruling [5] - 8:9, 41:19,
 129:22, 130:16,            106:17, 127:3,               reserve [2] - 75:19,       reword [1] - 138:7          41:20, 43:4, 53:21
 130:24, 133:9,             129:24, 134:5                 75:22                     rich [2] - 59:4, 90:7      rulings [6] - 8:5, 9:14,
 133:21, 135:4,            reluctant [1] - 50:15         resident [3] - 83:16,      Richard [2] - 138:22,       39:7, 41:12, 45:16,
 136:4, 141:8, 145:5       rely [4] - 16:16, 25:11,       106:10, 109:24              140:10                    49:16
referenced [3] - 94:13,     26:6, 34:11                  residents [1] - 106:7      road [2] - 10:14, 48:14    run [2] - 10:16, 29:16
 101:6, 127:19             relying [4] - 34:1,           residing [2] - 20:21,      ROBERT [2] - 3:3,          running [4] - 56:24,
references [10] -           48:14, 50:18, 51:1            86:8                        79:11                     74:20, 85:15, 86:21
 43:18, 97:12, 97:25,      remain [1] - 55:6             residual [1] - 43:11       Robert [2] - 76:1,
 98:4, 99:1, 109:5,        remaining [3] - 12:15,        resolve [9] - 49:8,          79:18                                 S
 114:18, 119:15,            52:9, 52:16                   49:21, 50:6, 50:13,       role [3] - 47:23, 48:10,
 126:9, 130:23                                                                                                 sake [1] - 54:24
                           remains [1] - 27:21            51:2, 52:25, 68:17,         72:18
referencing [3] -                                                                                              sat [1] - 30:23
                           remarks [1] - 15:11            68:18, 69:17              Ronquillo [1] - 138:22
 118:22, 137:16,                                                                                               saw [16] - 47:18, 59:5,
                           remember [6] - 16:9,          resolved [5] - 4:24,       room [9] - 12:19, 13:7,
 137:17                                                                                                         66:13, 106:24,
                            16:13, 24:24, 26:6,           6:16, 12:9, 44:8,           15:6, 24:2, 36:6,
referred [5] - 17:23,                                                                                           107:7, 115:16,
                            71:3, 99:21                   63:9                        56:21, 58:11, 70:16,
 82:15, 84:4, 103:20,                                                                                           118:2, 129:18,
                           remind [2] - 18:21,           resources [3] - 103:1,       146:9
 109:16                                                                                                         130:16, 133:21,
                            18:25                         103:2, 103:3              Room [2] - 2:7, 146:24
referring [6] - 21:22,                                                                                          134:18, 137:16,
                           removed [1] - 86:9            respond [5] - 34:1,        roughly [2] - 32:2,
 21:24, 22:6, 45:13,                                                                                            140:14, 143:18,
                           repeat [1] - 79:1              47:17, 71:5, 115:18,        69:23
 81:24, 136:10                                                                                                  144:23
                           repeated [1] - 32:14           133:22                    Rousseau [52] - 90:1,
refers [1] - 26:5                                                                                              scene [2] - 59:2, 90:8
                           replace [1] - 16:14           responded [1] - 89:15        90:3, 90:4, 90:9,
reflect [1] - 82:1                                                                                             schedule [3] - 11:10,
                           replies [1] - 118:4           responding [1] - 129:4       90:10, 90:11, 90:14,
reflection [2] - 37:25,                                                                                         11:17, 65:23
                           reply [2] - 118:3, 118:8      responds [6] - 133:23,       91:15, 92:10, 94:9,
 38:2                                                                                                          scheduled [2] - 65:24,
                           report [3] - 31:2,             135:21, 135:25,             95:2, 95:4, 95:5,
reflects [1] - 123:1                                                                                            68:8
                            104:25, 105:8                 136:24, 136:25,             95:8, 95:9, 107:14,
refuse [1] - 31:15                                                                                             scheme [13] - 56:24,
                           REPORTER [1] -                 137:3                       107:24, 108:24,
refute [1] - 34:3                                                                                               57:2, 57:13, 58:9,
                            146:13                       response [6] - 94:25,        109:10, 110:23,
regard [3] - 44:11,                                                                                             60:24, 61:5, 65:12,
                           reporter [4] - 25:3,           95:1, 115:13, 118:1,        111:11, 111:14,
                                                                                                                66:10, 68:24, 74:20,
 44:21, 45:2                25:8, 79:17, 95:18            118:13, 131:10              115:6, 115:8,
                                                                                                                85:6, 85:15, 86:4
regarding [6] - 44:6,      Reporter [3] - 2:6, 2:7,      responsibilities [4] -       115:14, 117:10,
                                                                                                               schemes [1] - 85:5
 54:23, 107:14,             146:23                        24:8, 51:15, 79:24          117:13, 117:15,
 108:25, 115:16,                                                                                               screen [12] - 14:21,
                           reporting [2] - 105:12        responsibility [7] -         117:20, 118:1,
 115:22                                                                                                         15:2, 15:6, 15:7,
                           reports [2] - 35:13,           15:16, 24:10, 24:16,        118:3, 118:12,
region [1] - 145:8                                                                                              82:14, 83:4, 83:5,
                            61:8                          25:22, 26:13, 28:13,        118:13, 118:16,
                                                                                                                91:24, 93:4, 94:23,
register [2] - 20:7,       represent [2] - 26:12,         35:2                        118:18, 125:24,
                                                                                                                115:5, 118:2
 40:14                      71:23                        responsible [2] -            128:4, 131:14,
                                                                                                               screens [3] - 14:14,
registered [4] - 68:21,    representation [1] -           36:10, 105:21               131:17, 131:21,
                                                                                                                83:7
 98:13, 104:18              5:5                          rest [3] - 7:10, 35:11,      133:17, 133:19,
                                                                                      134:1, 134:4,            screenshot [1] -
registering [2] - 74:3,    Republic [3] - 20:20,          62:10
                                                                                      134:17, 135:21,           142:11
 74:13                      20:23, 20:25                 restrictions [1] - 144:3
                                                                                      135:25, 136:10,          scroll [8] - 94:18,
registration [1] - 55:16   request [2] - 37:14,          restroom [1] - 4:13
                                                                                      136:19, 137:3,            94:20, 95:7, 108:16,
regular [4] - 10:19,        67:3                         rests [1] - 75:22
                                                                                      140:20, 141:3             115:11, 118:7,
 13:19, 15:24, 36:19       requested [1] - 105:4         result [2] - 28:15,
                                                                                    Rousseau's [1] -            143:12, 143:22
related [6] - 9:17,        requesting [2] - 104:7,        34:13
                                                                                      133:22                   seal [1] - 45:4
 43:22, 70:19, 80:1,        105:7                        resulting [1] - 34:23
                                                                                    rude [1] - 31:6            Sean [2] - 4:7, 22:2
 86:15, 89:23              require [4] - 23:8,           retain [1] - 69:16
                                                                                    rudolph [1] - 121:24       SEAN [1] - 1:16
relates [2] - 77:10,        28:1, 40:23, 49:6            retrials [1] - 34:23
                                                                                    rule [7] - 24:11, 25:13,   sean.mulryne@
 106:3                     required [6] - 8:21,          return [2] - 20:21, 21:2
                                                                                      27:15, 34:22, 35:4,       usdoj.gov [1] - 1:19
relating [9] - 18:7,        16:5, 20:9, 22:16,           returned [1] - 18:9
 18:18, 39:8, 48:6,                                                                   39:10, 76:18             search [2] - 17:13,
                            23:8, 40:14                  reveal [1] - 62:5
 48:10, 52:2, 52:18,                                                                ruled [4] - 7:19, 27:12,    89:2
                           requirements [1] -            review [9] - 91:6,
 53:24, 55:16                                                                         39:21, 42:19             Seat [2] - 55:5, 55:6
                            44:13                         119:4, 119:10,
relation [1] - 48:10                                                                rules [17] - 5:24,         seat [3] - 17:2, 17:5,
                           requires [5] - 40:15,          120:2, 120:8,
relationship [1] -                                                                    10:13, 15:9, 15:15,       39:2
                            104:24, 105:12,               124:13, 138:2,
 90:11                                                                                23:24, 31:6, 33:25,      seated [1] - 76:6
                            105:14                        138:9, 138:12
         Case 1:19-cr-00148-CKK                     Document 322           Filed 11/07/23         Page 165 of 168                   165



seats [2] - 15:25,       seeking [1] - 34:25            117:1                     35:23, 56:17              SPECIAL [2] - 3:3,
 16:23                   seem [2] - 13:7, 50:14        shakedown [1] - 71:21     skipping [1] - 132:21       79:11
second [11] - 19:24,     seemingly [1] - 128:19        shaking [4] - 125:14,     sleep [1] - 42:23          special [5] - 79:21,
 45:9, 55:11, 64:19,     seizure [1] - 63:20            125:18, 125:19,          slide [1] - 44:4            79:23, 100:8, 133:5,
 69:22, 70:2, 103:10,    selected [2] - 15:19,          125:20                   slides [6] - 44:19,         133:10
 104:21, 111:21,          18:17                        shall [2] - 23:25,         44:22, 48:14, 52:17,      Special [1] - 76:1
 132:17, 145:10          selecting [1] - 18:10          106:13                    52:20, 54:24              specific [8] - 40:22,
secondly [1] - 46:9      selection [1] - 17:20         sham [2] - 71:12, 75:8    slightly [1] - 120:7        40:23, 41:12, 42:12,
secret [3] - 24:5,       send [8] - 33:3, 57:23,       shape [1] - 100:16        slow [12] - 77:20, 78:2,    45:21, 81:1, 103:8,
 56:15, 63:10             67:21, 68:11, 74:24,         share [2] - 51:4, 102:6    78:7, 80:9, 83:20,         123:6
Secretary [1] - 65:15     75:8, 135:13, 143:9          shell [1] - 65:6           87:2, 95:16, 95:20,       specifically [5] -
section [1] - 81:1       sending [2] - 133:1,          Shenzhen [1] - 66:23       99:25, 100:2, 141:22       32:24, 45:14, 45:17,
Section [4] - 1:17,       134:18                       shifted [2] - 11:19,      smaller [1] - 115:3         80:1, 106:3
 9:10, 22:3, 39:24       sends [3] - 72:8,              57:20                    smiling [1] - 126:5        specifics [1] - 51:4
security [3] - 13:1,      93:21, 117:10                shifts [1] - 27:25        social [1] - 29:10         speculate [1] - 27:9
 31:16, 67:1             senior [4] - 141:5,           shooting [1] - 132:24     sole [1] - 25:22           speculation [2] -
Security [1] - 68:10      141:9, 141:16,               short [1] - 12:23         solely [2] - 17:8, 28:14    90:25, 120:14
see [98] - 11:2, 11:4,    141:18                       shorter [5] - 11:25,      solemn [1] - 35:1          speed [1] - 141:22
 11:6, 13:13, 14:13,     sense [5] - 37:20,             41:24, 50:21, 52:5,      some-testimony-but-        spell [2] - 79:16,
 14:17, 14:25, 29:19,     42:6, 42:7, 97:6,             55:15                     not-all-of-it [1] -        109:17
 31:3, 36:11, 37:16,      97:8                         shorthand [10] - 39:7,     47:10                     spend [3] - 16:18,
 37:17, 39:11, 49:20,    sent [11] - 5:12, 65:14,       39:9, 39:19, 40:19,      someone [10] - 29:13,       45:18, 57:6
 53:18, 60:21, 68:15,     67:18, 68:19, 71:10,          42:11, 42:12, 42:20,      59:25, 63:15, 67:20,      spread [1] - 31:21
 72:11, 76:15, 81:19,     72:11, 72:12, 93:14,          52:6, 97:2, 112:8         71:23, 72:19, 88:5,       squad [1] - 81:4
 87:7, 92:7, 93:1,        109:3, 118:4, 131:2          shortly [1] - 8:18         101:22, 107:8, 107:9      staff [1] - 65:23
 93:3, 93:6, 93:8,       sentence [1] - 104:21         show [23] - 15:2,         sometime [1] - 93:24       stand [8] - 22:25,
 93:14, 95:3, 96:8,      sentencing [1] - 37:1          47:23, 59:13, 59:21,     sometimes [3] - 12:14,      23:11, 27:3, 47:2,
 97:11, 101:19,          separate [3] - 48:18,          60:6, 60:16, 61:3,        26:25, 34:22               68:1, 76:2, 76:16,
 102:22, 104:2,           50:14, 65:6                   61:11, 62:14, 63:7,      soon [6] - 31:2, 33:1,      112:2
 104:16, 105:3,          September [8] - 66:1,          63:23, 65:3, 66:12,       120:24, 121:21,           standard [2] - 88:22,
 105:24, 107:24,          127:4, 129:14,                66:18, 67:13, 69:2,       138:17, 139:25             142:12
 108:17, 111:17,          141:4, 142:23,                70:24, 71:17, 71:20,     Sorros [1] - 96:20         standing [2] - 8:5,
 111:25, 112:10,          143:16, 145:3                 72:13, 74:17, 136:5,     sorry [12] - 38:23,         52:1
 112:23, 113:8,          series [2] - 49:16,            140:17                    77:13, 77:25, 78:13,      stands [1] - 112:3
 113:25, 114:1,           86:23                        showing [8] - 14:12,       84:11, 86:20,             start [16] - 4:16, 10:15,
 114:12, 114:23,         serious [1] - 38:1             68:16, 74:9, 110:20,      105:20, 108:9,             10:23, 15:8, 15:13,
 114:24, 115:4,          seriously [1] - 35:11          119:7, 127:25,            115:8, 118:10,             19:3, 28:25, 29:2,
 115:18, 115:23,         seriousness [1] -              134:2, 142:14             129:16                     36:21, 37:5, 38:15,
 116:11, 117:9,           37:25                        shown [1] - 13:7          sort [10] - 10:13,          76:10, 130:7,
 117:14, 117:17,         serve [1] - 30:12             shuffling [1] - 65:7       32:11, 37:22, 42:16,       132:16, 143:6, 143:9
 117:19, 118:8,          served [3] - 5:9, 5:12,       side [3] - 14:16, 26:8,    47:10, 83:7, 122:22,      started [3] - 61:24,
 118:16, 118:21,          46:18                         36:11                     125:22, 132:4,             69:5, 76:17
 119:21, 121:24,                                       signatory [4] - 119:24,    141:11                    starting [5] - 4:4, 29:2,
                         service [3] - 31:25,
 121:25, 123:8,                                         119:25, 137:23,          sought [1] - 34:24          35:9, 37:10, 141:22
                          33:4, 33:5
 123:11, 124:22,                                        137:25                   sound [2] - 35:3, 130:4    starts [1] - 96:17
                         services [3] - 64:20,
 124:25, 125:17,                                       signing [1] - 106:8                                  State [1] - 65:15
                          64:25, 116:10                                          source [16] - 17:17,
 126:4, 128:18,                                        similar [8] - 71:21,
                         serving [2] - 9:10, 39:8                                 20:15, 48:15, 49:20,      state [2] - 24:15, 79:16
 128:22, 129:22,                                        84:2, 88:10, 126:17,
                         SESSION [1] - 1:5                                        51:7, 51:10, 61:9,        statement [35] - 5:14,
 130:23, 130:24,                                        143:17, 144:3,
                         set [14] - 4:19, 11:3,                                   61:22, 62:3, 62:5,         5:16, 6:21, 7:8, 7:9,
 130:25, 132:5,                                         145:18, 145:21
                          11:16, 11:17, 13:23,                                    65:8, 69:25, 70:8,         8:15, 8:19, 9:1, 9:21,
 132:7, 133:9,
                          39:25, 67:14, 84:2,          simple [2] - 33:18,        73:5, 73:7, 86:19          22:12, 22:13, 22:16,
 133:16, 134:17,
                          84:8, 115:24, 116:3,          67:5                     sources [2] - 20:11,        22:21, 26:5, 38:18,
 134:21, 135:2,
                          116:15, 117:21,              simply [3] - 21:14,        34:5                       41:18, 41:24, 43:8,
 135:3, 135:21,
                          145:3                         50:7, 52:24              sovereign [4] - 20:5,       43:10, 47:15, 48:14,
 136:18, 136:22,
                         sets [1] - 55:16              sincerely [1] - 130:10     62:22, 84:3, 114:6         50:2, 50:9, 50:16,
 138:21, 139:7,
                         settle [1] - 86:6             Singapore [2] -           space [1] - 109:21          51:10, 51:23, 54:23,
 140:9, 141:2, 141:8,
                         seven [2] - 71:7, 75:9         119:20, 123:16           span [1] - 70:5             56:6, 64:1, 64:3,
 143:4, 143:14,
                         several [1] - 121:24          sit [4] - 10:10, 27:2,    spanned [1] - 57:13         64:14, 75:18, 97:15,
 143:24, 145:2,
                         Shahrol [1] - 114:15           74:19, 100:7             speaking [4] - 34:23,       97:16
 145:4, 146:9
                         shake [2] - 115:2,            sitting [3] - 10:20,       54:3, 76:11, 84:21        statements [17] - 4:24,
          Case 1:19-cr-00148-CKK                      Document 322            Filed 11/07/23          Page 166 of 168                      166



 7:15, 21:5, 22:12,          71:1, 71:4, 71:8,           Super [22] - 61:19,          111:14, 111:18,            46:1, 46:13, 46:20,
 22:18, 22:20, 22:21,        71:11, 71:15, 71:21,         61:21, 86:22, 96:21,        115:4, 115:7, 115:8,       46:23, 47:20, 48:1,
 23:20, 25:17, 46:14,        72:4, 73:1, 75:1,            96:24, 97:1, 97:2,          115:9, 115:16              48:18, 48:23, 49:2,
 47:3, 48:17, 49:9,          75:9, 86:23, 86:24,          97:4, 97:8, 97:12,        tan's [2] - 110:9,           50:5, 50:10, 50:25,
 70:7, 73:7, 75:22           87:22, 87:25, 88:2,          97:17, 98:2, 98:8,          110:10                     51:6, 51:16, 51:19,
states [1] - 9:8             88:4, 88:5, 88:12,           98:9, 98:11, 98:15,       tasks [1] - 68:17            53:11, 53:14, 53:17,
STATES [3] - 1:1, 1:2,       88:14, 121:22,               98:21, 98:24, 99:4,       tax [2] - 80:14, 116:9       54:15, 55:2, 55:4,
 1:9                         122:2, 138:18,               99:10                     taxpayer [1] - 62:24         55:13, 55:19, 55:21,
States [44] - 1:12, 4:2,     138:19, 138:23,             superseding [1] - 6:5      team [2] - 44:23,            55:23, 55:24, 56:1,
 4:6, 6:3, 19:19,            139:3, 139:8,               support [7] - 7:3, 7:24,     132:19                     56:4, 56:8, 58:19,
 20:12, 20:14, 20:22,        139:11, 140:6,               8:13, 20:12, 21:25,       tempted [1] - 35:15          59:10, 59:15, 59:18,
 56:16, 56:17, 57:5,         140:11, 140:15               48:16, 48:19              ten [1] - 42:8               64:6, 64:12, 73:20,
 57:18, 57:24, 58:13,       stream [1] - 70:14           supposed [3] - 11:8,       tendency [1] - 30:9          73:24, 74:5, 74:11,
 59:2, 59:24, 60:4,         stretch [1] - 27:3            62:24, 97:7               tens [3] - 66:17, 69:5,      75:16, 75:23, 76:3,
 61:14, 62:17, 62:19,       stricken [2] - 27:12,        supposedly [2] -             85:12                      76:6, 76:14, 76:15,
 63:11, 65:5, 65:10,         27:14                        50:14, 51:8               term [2] - 33:19, 88:2       76:22, 77:1, 77:7,
 65:18, 67:6, 72:25,        strictly [2] - 18:3,         surprised [1] - 46:6       terms [35] - 7:14, 9:15,     77:10, 77:13, 77:20,
 74:22, 76:1, 80:5,          84:15                       suspicious [1] - 69:7        9:20, 10:17, 11:13,        77:22, 78:2, 78:5,
 83:14, 83:16, 84:9,        string [1] - 64:22           sustain [2] - 27:6,          11:16, 11:18, 11:20,       78:7, 78:11, 78:16,
 84:23, 86:3, 86:8,         strings [1] - 130:5           58:20                       12:15, 14:4, 19:2,         78:18, 78:21, 78:25,
 86:9, 86:17, 100:18,       stuff [1] - 129:8            swear [1] - 76:4             19:20, 25:22, 33:20,       79:6, 79:7, 79:10,
 109:3, 109:22,             subject [8] - 63:19,         sweat.. [1] - 137:4          38:2, 40:19, 41:15,        80:9, 80:10, 80:11,
 109:24, 112:8,              94:3, 101:25,               Sworn [1] - 79:11            45:20, 47:3, 49:3,         82:1, 82:9, 82:19,
 146:23                      111:15, 111:16,             sworn [4] - 10:11,           49:14, 51:23, 52:3,        82:21, 82:24, 83:3,
stating [1] - 70:1           131:15, 131:22,              24:14, 26:1, 76:5           52:14, 53:25, 55:20,       83:20, 83:23, 84:14,
statute [1] - 40:15          132:11                      sympathy [1] - 38:13         59:13, 59:19, 64:6,        87:2, 87:7, 87:12,
statutes [1] - 40:6         subjective [1] - 40:1                                     73:21, 78:11, 91:2,        87:20, 91:1, 92:1,
                                                         system [2] - 84:9, 86:3
stay [2] - 31:12, 73:20     submit [4] - 36:5,                                        107:2, 110:16,             92:5, 92:8, 92:16,
                                                         systems [1] - 69:8
staying [1] - 37:24          38:10, 47:25, 54:23                                      137:18                     92:18, 92:20, 92:21,
steal [1] - 84:7            submitted [2] - 28:19,                                  testified [4] - 120:21,      93:1, 95:16, 95:24,
                                                                      T                                          96:2, 98:16, 98:20,
stealing [2] - 57:1,         28:21                                                    121:19, 130:18,
 63:2                       subpoena [2] - 46:20,        Taek [6] - 19:12,            145:12                     99:18, 99:24, 100:5,
stenographic [1] -           70:18                         56:25, 82:5, 82:15,      testify [9] - 5:9, 16:21,    100:7, 101:13,
 146:17                     subsequently [6] -             83:2, 83:11                28:2, 46:17, 47:12,        101:15, 107:2,
step [5] - 22:10, 39:1,      84:6, 86:18, 121:23,        tag [2] - 126:4, 126:6       48:16, 52:15, 52:19,       107:22, 108:8,
 71:18, 76:3                 122:7, 138:19, 140:6        tail [1] - 123:3             64:9                       108:12, 109:17,
stepping [1] - 88:16                                     talks [1] - 52:17                                       109:18, 109:19,
                            substantive [1] -                                       testifying [4] - 6:18,
                                                         tamper [1] - 75:11                                      109:20, 110:15,
steps [3] - 88:18,           73:10                                                    18:5, 44:1, 111:1
                                                         tampering [2] - 75:4,                                   110:18, 110:19,
 88:22, 89:4                substitute [1] - 15:11                                  testimony [20] - 12:9,
                                                           80:21                                                 111:7, 113:2, 120:6,
still [4] - 47:24, 50:12,   successful [2] - 58:25,                                   16:7, 16:9, 17:23,
                                                         Tan [35] - 109:12,                                      120:13, 120:15,
 100:9, 100:21               81:14                                                    19:5, 24:21, 24:25,
                                                           109:14, 109:15,                                       120:17, 124:21,
stipulate [1] - 81:24       suddenly [1] - 17:22                                      25:1, 26:1, 26:15,
                                                           109:16, 109:20,                                       124:24, 125:4,
stipulated [1] - 78:23      sue [2] - 71:11, 72:1                                     46:11, 47:10, 47:22,
                                                           110:4, 110:5, 117:7,                                  125:9, 128:9,
stipulation [2] - 79:1,     sufficient [1] - 122:9                                    48:19, 76:24, 85:20,
                                                           117:10, 118:3,                                        128:11, 132:1,
 82:2                       Sugarman [1] - 140:10                                     87:5, 100:9, 110:13,
                                                           118:4, 118:8,                                         132:3, 134:12,
stipulations [1] - 77:3     suggest [2] - 50:12,                                      124:12
                                                           118:10, 118:12,                                       136:16, 138:7,
stolen [3] - 80:3,           85:6                                                   text [3] - 68:15, 72:8,
                                                           119:21, 119:25,                                       140:25, 141:22,
 84:22, 85:10               suggesting [5] - 6:11,                                    72:9
                                                           134:4, 134:18,                                        143:3, 144:20,
stop [4] - 29:21, 36:25,     40:20, 40:21, 41:9,                                    THAT [1] - 137:2
                                                           135:21, 135:22,                                       146:1, 146:6
 76:20, 129:1                53:17                                                  THE [169] - 1:1, 1:1,
                                                           135:23, 135:25,                                      theft [3] - 20:4, 84:25,
stopping [3] - 11:11,       suite [1] - 117:2                                         1:9, 4:2, 4:8, 4:15,
                                                           136:9, 136:24,                                        114:7
 37:2, 37:7                 Suite [1] - 1:13                                          4:18, 4:21, 4:22, 5:3,
                                                           136:25, 137:25,                                      them.. [1] - 137:4
stops [1] - 123:17          summaries [3] - 25:1,                                     5:11, 6:7, 7:11, 8:4,
                                                           140:20, 141:3,                                       theme [1] - 57:14
stories [1] - 72:17          73:22, 137:12                                            8:17, 9:4, 9:12, 10:1,
                                                           141:10, 141:12,                                      themself [2] - 108:7,
straight [1] - 129:9        summarized [1] - 21:9                                     10:3, 10:6, 10:8,
                                                           141:14, 141:16,                                       108:10
strategist [1] - 96:6       summarizing [1] - 9:7                                     38:23, 38:25, 39:4,
                                                           141:19                                               themselves [3] - 4:4,
strategy [1] - 52:22        summer [1] - 72:2                                         39:17, 41:9, 42:10,
                                                         TAN [1] - 109:20             42:25, 43:6, 43:14,        73:11, 122:23
straw [38] - 19:20,         sums [1] - 59:3
                                                         tan [10] - 109:22,           43:16, 44:7, 44:15,       then-president [3] -
 60:10, 60:14, 60:25,       Sunday [1] - 68:9
                                                           110:8, 110:23,             44:17, 45:9, 45:11,        86:20, 102:17,
 61:16, 64:18, 70:20,       super [2] - 61:18, 97:2
          Case 1:19-cr-00148-CKK                       Document 322            Filed 11/07/23         Page 167 of 168                     167



  143:21                     69:7, 110:7, 118:24,           123:9                    undoubtedly [1] - 35:1      118:6, 121:4,
then-prime [1] - 63:2        119:12, 120:9,               Tuesday [1] - 116:12       unfair [1] - 34:2           122:16, 124:10,
they've [8] - 11:3,          120:19, 122:10,              turn [8] - 11:2, 11:6,     unfortunately [5] -         124:24, 126:23,
  22:4, 29:21, 30:21,        137:10, 138:12                 14:16, 31:4, 35:17,       11:3, 34:4, 34:20,         129:9, 130:1,
  34:25, 41:10, 47:7,      TRANSCRIPT [1] - 1:8             47:5, 69:3, 137:9         132:23, 142:10             131:16, 131:18,
  79:4                     transcript [5] - 25:1,         turned [1] - 14:15         unfriendly [1] - 29:21      133:1, 133:12,
thinking [4] - 53:23,        25:6, 25:10, 146:17,         turning [1] - 81:5         UNISON [3] - 4:17,          135:19, 137:6,
  54:2, 93:23, 136:20        146:18                       TV [1] - 35:13              10:7, 56:11                139:13, 141:22,
thinks [1] - 63:23         transfer [1] - 111:22          two [14] - 6:4, 19:17,     unit [1] - 81:1             141:25
third [6] - 20:16,         transferred [3] - 60:3,          29:4, 39:17, 40:6,       UNITED [3] - 1:1, 1:2,     upcoming [1] - 108:25
  64:18, 70:4, 96:9,         69:11, 120:25                  40:13, 49:19, 50:17,      1:9                       upper [3] - 94:19,
  104:21, 111:25           transfers [2] - 138:18,          50:25, 57:15, 65:17,     United [44] - 1:12, 4:2,    131:6, 133:15
third-party [1] - 64:18      140:4                          72:8, 73:2, 99:25         4:6, 6:2, 19:19,          US [1] - 96:20
thoughts [2] - 8:3,        travel [1] - 122:12            two-minute [1] - 50:17      20:12, 20:14, 20:22,      USA [1] - 111:16
  33:4                     traveled [2] - 66:21,          type [2] - 100:17,          56:16, 56:17, 57:5,       USC [1] - 39:24
thousands [2] - 88:24,       68:13                          100:18                    57:18, 57:24, 58:13,      USD [3] - 111:22,
  140:5                    trial [39] - 7:20, 12:10,      Tysa [1] - 140:10           59:2, 59:24, 60:4,         112:7, 112:8
threatening [1] - 71:11      12:13, 13:17, 15:1,                                      61:14, 62:17, 62:18,      useful [2] - 49:2, 49:3
three [10] - 15:18,          15:10, 15:13, 15:20,                      U              63:10, 65:5, 65:10,       uses [1] - 142:13
  54:17, 65:22, 72:21,       15:22, 16:2, 16:11,                                      65:18, 67:5, 72:25,
                                                          U.S [27] - 1:12, 1:17,
  73:6, 89:7, 112:17,        16:22, 17:9, 17:19,
                                                           2:7, 22:3, 39:25,
                                                                                      74:22, 75:25, 80:5,                    V
  114:19, 121:13,            17:22, 21:11, 21:17,                                     83:14, 83:16, 84:9,
                             21:21, 22:2, 22:10,           44:13, 65:15, 67:15,       84:23, 86:3, 86:8,        vacation [1] - 129:13
  121:22
                             24:10, 24:12, 25:5,           80:7, 86:3, 86:4,          86:9, 86:17, 100:18,      value [3] - 24:19,
throughout [6] -
                             25:7, 25:13, 26:4,            87:22, 97:18, 98:4,        109:3, 109:22,             135:23, 135:24
  15:22, 27:22, 28:1,
                             27:22, 28:1, 28:3,            98:5, 98:8, 98:10,         109:24, 112:8,            various [5] - 32:22,
  84:23, 84:24, 86:3
                             31:10, 33:12, 35:14,          98:13, 98:21,              146:23                     67:9, 89:3, 103:1,
Thursday [2] - 1:4,
                             35:24, 36:1, 37:3,            105:20, 105:21,           unknown [1] - 71:1          123:17
  136:1
                             37:5, 38:5, 54:7,             105:22, 106:7,            unlawful [1] - 18:12       Ventura [1] - 1:22
tie [2] - 117:2, 125:23
                             54:12                         106:9, 106:10,            unlawfully [1] - 19:12     verdict [3] - 23:25,
timely [1] - 10:22
                           TRIAL [1] - 1:8                 112:8, 114:9                                          24:3, 25:21
Today [1] - 130:3                                                                    unless [4] - 27:22,
                           trials [2] - 32:12, 38:4       UAE [1] - 130:21                                      verdicts [2] - 24:6,
today [9] - 7:7, 37:1,                                                                46:23, 50:15, 91:1
                           tried [9] - 57:11, 60:17,      ugly [1] - 129:5                                       28:13
  37:6, 43:11, 81:20,                                                                unlikely [1] - 31:14
                             67:14, 67:16, 70:25,         ultimately [8] - 123:17,                              version [4] - 50:21,
  124:12, 129:10,                                                                    unlimited [3] - 96:22,
                             71:20, 74:2, 74:15,           127:6, 131:2, 131:4,                                  52:5, 52:6, 55:15
  132:25, 135:23                                                                      97:13, 97:17
                             142:9                         133:10, 133:24,                                      vice [1] - 67:1
TODAY [1] - 130:10                                                                   unregistered [1] - 73:2
                           tries [1] - 71:4                133:25, 134:18                                       victory [1] - 139:5
today.. [1] - 118:15                                                                 unwittingly [1] - 61:6
                           trouble [3] - 14:6,            unanimous [1] - 24:4                                  Victory [16] - 102:23,
together [3] - 10:18,                                                                up [85] - 5:14, 6:12,
                             63:4, 95:19                  unavailable [1] -                                      102:24, 103:18,
  24:1, 129:12                                                                        6:17, 8:6, 8:11, 11:3,
                           troubles [1] - 66:14            129:14                                                103:20, 104:12,
toll [1] - 89:3                                                                       11:16, 12:6, 12:10,
                           true [9] - 19:23, 20:15,       unaware [1] - 60:23                                    104:17, 106:8,
tomorrow [4] - 37:1,                                                                  12:19, 13:19, 13:23,
                             61:9, 65:8, 70:8,            uncovered [1] -             13:24, 14:5, 14:21,        121:2, 121:12,
  37:7, 132:23, 136:1
                             70:10, 110:10,                126:13                     17:5, 24:12, 27:3,         121:23, 122:7,
took [8] - 15:25, 35:10,
                             146:16, 146:18               under [18] - 8:25, 9:10,    31:14, 32:17, 33:19,       138:20, 139:1,
  43:3, 68:25, 69:22,
                           Trump [9] - 20:3, 20:7,         34:16, 34:17, 40:16,       34:7, 36:13, 36:17,        139:4, 140:7
  70:4, 88:19, 88:22
                             20:21, 21:2, 57:21,           45:4, 46:11, 57:11,        41:2, 41:21, 46:15,       view [3] - 35:1, 36:19,
tools [1] - 17:14
                             57:23, 63:16, 74:23,          62:21, 70:22, 71:9,        47:2, 47:5, 49:9,          39:19
top [16] - 75:4, 95:14,
                             74:24                         71:22, 75:10,              51:25, 52:13, 52:20,      viewed [1] - 144:10
  96:5, 96:6, 96:7,
                           trusted [1] - 129:8             112:19, 113:25,            53:1, 53:5, 54:18,        violate [1] - 19:13
  96:10, 103:16,
                           truth [3] - 69:14,              114:12, 114:18,            57:11, 64:22, 67:14,      violating [1] - 63:12
  115:5, 115:12,
                             71:19, 72:14                  117:19                     70:15, 70:25, 72:18,      violation [3] - 33:2,
  118:2, 118:7,
                           try [15] - 10:19, 11:16,       Understood [1] -            74:16, 76:3, 78:12,        86:25, 88:15
  122:22, 135:19,
                             12:5, 12:7, 12:11,            95:21                      82:7, 84:2, 84:8,         violations [4] - 18:12,
  139:15, 143:4
                             17:16, 37:20, 51:4,          understood [6] - 9:24,      85:11, 89:10, 90:9,        79:25, 80:1, 80:6
total [1] - 62:8
                             65:10, 65:23, 72:8,           42:2, 42:23, 58:22,        91:11, 94:18, 95:7,       visible [1] - 126:7
touch [1] - 110:25
                             72:17, 78:14, 113:19          64:10, 114:10              95:19, 100:8, 101:1,      vocal [1] - 67:6
Toussaint [1] - 138:22
                           trying [12] - 9:19, 11:7,      undertaken [2] -            102:20, 107:12,           voir [1] - 19:1
toxic [1] - 63:19
                             25:4, 32:18, 45:11,           89:17, 113:23              115:5, 115:11,            vs [2] - 1:4, 4:2
traced [1] - 72:7
                             50:5, 61:13, 72:19,          undisclosed [1] -           115:24, 116:3,
track [1] - 78:7
                             74:22, 74:24, 85:9,           63:12                      117:7, 117:21,
transactions [9] -
         Case 1:19-cr-00148-CKK                      Document 322             Filed 11/07/23   Page 168 of 168   168



            W             wind [1] - 12:19              yesterday [3] - 5:6,
                          wire [3] - 80:14,              10:12, 44:22
w/5:30 [1] - 143:6         111:21, 115:23               York [5] - 1:13, 1:18,
wait [8] - 4:15, 7:22,    wired [1] - 117:21             80:25, 81:1, 90:8
 8:19, 22:14, 39:14,      wires [1] - 111:22            yourself [3] - 10:15,
 49:6, 55:9, 76:17        wish [5] - 30:7, 50:10,        30:19, 70:9
waiting [1] - 16:1         53:7, 53:8, 55:2             yourselves [2] - 15:23,
waits [1] - 45:19         withdraw [2] - 43:18,          27:3
walk [1] - 31:4            44:25
walls [1] - 17:8          witness [21] - 6:18,                      Z
wants [2] - 14:13,         17:23, 18:5, 22:25,
 96:15                                                  zoom [4] - 92:24,
                           24:23, 27:6, 27:18,
warn [1] - 32:8                                          107:13, 122:22,
                           47:16, 68:1, 71:21,
warrants [1] - 89:2                                      136:7
                           71:23, 71:24, 75:4,
Washington [6] - 1:14,                                  zooming [1] - 126:2
                           75:24, 76:5, 80:21,
 1:18, 2:4, 2:8, 127:9,    87:4, 91:5, 108:10
 146:25                   WITNESS [9] - 3:2,
watch [3] - 16:20,         76:14, 76:22, 79:7,
 35:16, 37:20              80:10, 100:5,
water [1] - 79:8           109:18, 109:20,
way.. [1] - 136:20         110:18
ways [2] - 32:14, 59:1    witness's [1] - 27:19
wealth [4] - 20:5,        witnessed [1] - 75:2
 62:22, 84:3, 114:6       witnesses [28] - 6:18,
websites [1] - 17:14       11:16, 11:17, 16:7,
Wednesday.. [1] -          16:10, 16:20, 17:21,
 135:13                    19:5, 22:25, 23:11,
week [1] - 133:3           24:20, 24:21, 24:25,
weeks [1] - 129:11         25:15, 26:1, 26:16,
weigh [1] - 24:21          30:12, 30:22, 31:3,
weight [1] - 24:18         32:7, 46:25, 52:10,
welcome [1] - 27:2         71:13, 71:19, 72:8,
Wells [1] - 134:22         72:13, 75:12, 88:23
Wengui [1] - 20:22        word [4] - 29:23,
whisked [1] - 66:22        76:16, 129:8, 136:21
Whiskey [1] - 123:2       words [2] - 17:12, 40:1
White [25] - 46:11,       workers [1] - 31:24
 46:16, 48:6, 48:11,      world [1] - 84:24
 48:16, 51:8, 51:13,      worried [1] - 44:14
 52:18, 53:6, 65:22,      worry [1] - 25:9
 66:6, 127:13,            Wright [1] - 140:10
 127:14, 127:15,          write [5] - 29:8, 32:9,
 128:23, 132:14,           117:13, 131:10,
 142:2, 142:4, 142:8,      143:8
 142:19, 143:5,           writes [9] - 117:15,
 143:8, 143:9,             117:20, 121:20,
 144:24, 145:21            131:11, 132:10,
White's [5] - 46:3,        135:22, 135:23,
 47:21, 47:23, 48:10,      136:19, 143:9
 142:10                   writing [3] - 8:7, 8:9,
whole [7] - 16:18,         32:3
 35:8, 35:21, 49:16,      written [2] - 35:19,
 55:25, 56:1, 136:7        52:1
wife [2] - 64:20, 65:1    wrote [1] - 39:8
willfulness [2] - 74:9,
 74:10                                 Y
willing [10] - 50:15,
                          yacht [1] - 67:21
 52:20, 52:22, 53:6,
 53:18, 57:6, 57:8,       years [4] - 57:13, 71:7,
 58:2, 63:13, 69:3         75:9, 80:16
